Case 1:25-cv-00002-JAO-RT Document 1

MIKE YELLEN
CHRISTY K. ALBINSON
SHELBY HOSANA
SARAH BOWES
DEVON BOWES
GRALE P. DeKNEEF
DUSTIN I. DeKNEEF
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In Pro Se

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Nathan Ochsner, Clerk of Court

IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF TEXAS

GALVESTON DIVISION

MIKE YELLEN; CHRISTY KHARISMA
ALBINSON; SHELBY HOSANA; SARAH
BOWES; DEVON BOWES, GRALE P.
DeKNEEF; DUSTIN I. DeKNEEF,

Plaintiffs,
VS,

JOE BIDEN!/, PRESIDENT UNITED STATES
OF AMERICA; KAMALA HARRIS’, US VP;
GOVERNOR JOSH GREEN, HAWAIL
ANTONY BLINKEN, US SECURITY OF

STATE; LLOYD AUSTIN IIL US SECRETARY

OF DEFENSE; UNITED STATES MILITARY,
ARM FORCES; JANE/JOHN DOES 1-1000
EMPLOYEES FOR DEPARTMENT OF
DEFENSE; JANE/JOHN DOES 1-1000 ARE

Case No.

PLAINTIFFS’ CIVIL RIGHTS
COMPLAINT WITH JURY
DEMAND

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' Plaintiffs do not view this Defendant as President of the United States as the election was rigged placing him in

office.

2 Plaintiffs do not view this Defendant as Vice President of the United States as the election was rigged placing her

in office.

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CIVILIANS AND/OR ENLISTED PERSONAL
FOR UNITED STATES MILITARY, ARMED
FORCES, AIR FORCE, NAVY, MARINES,
ARMY, SPACE FORCE; UNITED STATES
MILITARY; FEDERAL EMERGENCY
MANAGEMENT AGENCY (FEMA);
JANE/JOHN DOES 1-1000 EMPLOYEES FOR
(FEMA); FEDERAL BUREAU OF
INVESTIGATION, (FBI; JANE/JOHN DOES
1-1000 EMPLOYEES FOR THE FBI;
ALEJANDRO MAYORKAS, SECURITY OF
HOMELAND SECURITY; FEDERAL
AVIATION ADMINISTRATION (FAA);
JANE/JOHN DOES 1-1000 EMPLOYEES FOR
FEDERAL AVIATION ADMINISTRATION;
MANDY COHEN, DIRECTOR AND
ROCHELLE WALENSKY FORMER
DIRECTOR FOR CENTERS FOR DISEASE
CONTROL AND PREVENTION (CDC);
JANEF/JOHN DOES 1-1000 EMPLOYEES FOR
CENTER FOR DISEASE CONTROL AND
PREVENTION; WORLD HEALTH
ORGANIZATION (WHO); JANE/IOHN DOES
1-1000 EMPLOYEES FOR (WHO); US
ENVIRONMENTAL PROTECTION AGENCY
(EPA); JANE/JOHN DOES 1-1000
EMPLOYEES FOR US ENVIRONMENTAL
PROTECTION AGENCY; MERRICK
GARLAND, ATTORNEY GENERAL FOR
DEPARTMENT OF JUSTICE (DOD);
JANE/JOHN DOES 1-1000 EMPLOYEES FOR
DEPARTMENT OF JUSTICE; UNITED
STATES FOOD AND DRUG
ADMINISTRATION (FDA); JANE/IOHN DOES
1-1000 EMPLOYEES FOR UNITED STATES
FOOD AND DRUG ADMINISTRATION;
FEDERAL COMMUNICATIONS COMMISSION§
JANE/JOHN DOES 1-1000 EMPLOYEES FOR
FEDERAL COMMUNICATIONS COMMISSION§
UNITED STATES SENATE; UNITED STATES
HOUSE OF REPRESENTATIVE; ANTHONY
FAUCI, FORMER DIRECTOR OF THE
NATIONAL INSTITUTE OF ALLERGY AND
INFECTIOUS DISEASES; NATIONAL
INSTITUTE OF ALLERGY AND INFECTIOUS
DISEASES; JANE/JOHN DOES 1-1000

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EMPLOYEES FOR NATIONAL INSTITUTE OF
ALLERGY AND INFECTIOUS DISEASES;
ALASKA AIRLINE; AMERICAN AIRLINE;
DELTA AIRLINES; HAWAIIAN AIRLINES;
SOUTHWEST AIRLINES; UNITED AIRLINES;
GO MOKULELE AIRLINES; FEDEX EXPRESS;§
UPS AIRLINES; WESTJET AIRLINES; JAPAN
AIRLINES; AIR CANADA; US AIRWAYS;
VIRGIN AMERICAN; SOUTHERN AIRWAYS;
PFIZER INC.; PROJECT VERITAS;

JOHNSON & JOHNSON; MERCK & CO.,

INC.; MODERNA; AMERICAN MEDICAL
ASSOCIATION; STATE OF HAWAIL
JANE/JOHN DOES 1-1000 EMPLOYEE FOR
STATE OF HAWAIL RICHARD T. BISSEN,
JR.; MAYOR MAUI; MITCH ROTH, MAYOR
HAWAII DEREK KAWAKAMI, MAYOR
KAUAL RICK BLANGIARDI, MAYOR
HONOLULU; DAVID IGE, FORMER
GOVERNOR HAWAII: DEPARTMENT OF
LAND AND NATURAL RESOURCES, STATE
OF HAWAII, (DLNR); JANE/JOHN DOES
1-1000 EMPLOYEES FOR DEPARTMENT OF
LAND AND NATURAL RESOURCES, STATE
OF HAWAII; BOARD OF LAND AND
NATURAL RESOURCES, STATE OF HAWAII
(BLNR); HAWAII STATE DEPARTMENT OF
EDUCATIONAL BOARD; JANE/JOHN DOES
1-1000 EMPLOYEES FOR HAWAII STATE
DEPARTMENT OF EDUCATIONAL BOARD,

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Defendants.

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JURISDICTION

1. Jurisdiction is invoked pursuant to Title 28 U.S.C. Section(s) 1330; 1331;
1332(a)(2); 1340; 1343(a)(1)(2)(3)(4); 1346; 1355(a); 1357; 1367(a); 1369; 1391(a)(1); (b)(1);
(c)(2); (e)(1); 1396; 1603; 1605A; 1606; 1657(a); 1732; 1733(a); 2201 et seq; 2202; 2403(a);
Title 42 U.S.C. Section(s) 1981; 1983; 1985; 1986; 1988. Plaintiffs further seeks pendent

jurisdiction of the Court to adjudicate any and all State Law claims arising from this Federal

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cause of action. Further Plaintiffs would request that this Court take jurisdiction pursuant to 18
U.S. Code §1411 —Murder; 18 U.S, Code §2381 Treason; 18 U.S. Code Section(s) 2382; 2383;
2384; 2386.

2. This Court has jurisdiction since the contentions herein rest primarily on
federal law, or to be interwoven with the federal laws. Michigan v. Long, 463 U.S. 1032, 1040-
1041, 103 S. Ct. 3469, 77 L.Ed. 2d 1201 (1983). Other relevant authorities to enforce state and
federal laws including, and not limited to Biological Weapons 18 USC § 175; Federal Crime of

Treason 18 USC § 2381; Domestic Terrorism, 18 USC § 2331; and Genocide 18 USC §1091.

3. Plaintiffs seeks an order, requiring Defendants to immediately prohibit the
distribution, promotion, access and administration of COVID-19 injections, mRNA nanoparticle
injections, and all mRNA products in the United States; prohibit releasing poisonous heavy
metals, chemicals and other dangerous ingredients into the sky throughout the United States;
prohibit releasing deadly mosquitos; enjoin Defendants from giving other countries tax payers
money; secure the boarders around the United States, by stopping illegal migrants and terrorist

groups from entering the United States; and prohibit radiofrequency from being released, 5G.

ii.
PARTIES
4, Plaintiffs, Mike Yellen, Christy K. Albinson, Shelby Hosana are residents of
State of Hawaii. They are citizens and pay taxes in the State of Hawaii and have been targeted
with biological and technological weapons of mass destruction, and have lost and will continue

to loss friends and family to these same weapons of mass destruction.

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5. Some Plaintiffs, such as Mike Yellen and Shelby Hosana have traveled from
Hawaii to the mainland, California, Arizona, Nevada, Florida and have been subjected to the
threat of harm by illegal migrants and terrorist groups.

6. Plaintiff, Sarah Bowes is a citizen and taxpayer in the State of Idaho and has
been targeted with biological and technological weapons of mass destruction, and has lost and
will continue to lose friends and family to these same weapons of mass destruction.

7. Plaintiff, Devon Bowes is a citizen and taxpayer in the State of Santa Fe New
Mexico and has been targeted with biological and technological weapons of mass destruction,
and has lost and will continue to lose friends and family to these same weapons of mass
destruction.

8. Plaintiff, Grale P. DeKneef and Dustin I, DeKneef are are residents of State of
Hawaii. They are citizens and pay taxes in the State of Hawaii and have been targeted with
biological and technological weapons of mass destruction, and have lost and will continue to loss
friends and family to these same weapons of mass destruction, Further have suffered severe
medical issues after taking the COVID-19 shot.

9. Defendants Joe Biden/ Predecessor (hereinafter as Biden) is the United States
President, United States of America has overall responsibility for all of the lands, military, and
employees that are employed by the United States of America. The executive Power shall be
vested in a President of the United States of America, but limited to the United States
Constitution. As such much ensure that all individuals who are citizens of the United States
rights are not violated and further not to deliberately commit or cause to commit the acts, actions
of murder and attempted murder. Defendant is being sued in his individual and official capacity

also for injunctive and declaratory relief in their official capacity.

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10. Defendant Kamala Harris, (hereinafter as Harris) United States Vice
President, in Case of the Removal of the President from Office, or of his Death, Resignation, or
Inability to discharge the Powers and Duties of the said Office, the Same shall devolve on the
Vice President, and the Congress may by law provide for the Case of Removal, Death,
Resignation or Inability, both of the President and Vice President, declaring what Officer shall
then act as President, and such Officer shall act accordingly, until the Disability be removed, or a
President shall be elected. Defendant Harris was appointed Boarder Czar. As such much ensure
that all individuals who are citizens of the United States rights are not violated and further not to
deliberately commit or cause to commit the acts, actions of murder and attempted murder.
Defendant is being sued in his individual and official capacity also for injunctive and declaratory
relief in their official capacity.

11. Defendant Josh Green (hereinafter as Green) is the Governor of the State of
Hawaii, as such are required to obey all state and federal laws. Defendant Green has overall
responsibility of the State of Hawaii, ensuring that all state and federal laws are obeyed,
specifically prohibited from the act of murdering or causing the murdering of residence of
Hawaii, in direct violation of the laws for the State of Hawaii and the United States Constitution.
Defendant is being sued in his individual and official capacity.

12. Defendant Antony Blinken, (hereinafter as Blinken) Secretary of State is a
member of the executive branch of the federal government and the head of the Department of
State. The office holder is the second-highest-ranking member of the president's Cabinet, after
the vice president, and ranks fourth in the presidential line of succession; first amongst cabinet
secretaries. As such must ensure that all individuals who are citizens of the United States rights

are not violated and further not to deliberately commit or cause to commit the acts, actions of

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murder and attempted murder. Defendant is being sued in his individual and official capacity
also for injunctive and declaratory relief in their official capacity.

13, Defendant Lloyd Austin, (hereinafter as Austin) Secretary United States
Department of Defense (DOD) is an executive branch department of the federal government of
the United States charged with coordinating and supervising all agencies and functions of the
U.S. government directly related to national security and the United States Armed Forces. As of
June 2022, the U.S. Department of Defense is the largest employer in the world, with over
1.34 million active-duty service members, including soldiers, marines, sailors, airmen, and
guardians. ‘The Department of Defense also maintains over 778,000 National Guard and
reservists, and over 747,000 civilians bringing the total to over 2.87 million employees.
Headquartered at the Pentagon in Arlington County, Virginia, just outside Washington, D.C., the
Department of Defense's stated mission is to provide "the military forces needed to deter war and
ensure our nation's security." Defendants are being sued in its individual and official capacity
and for injunctive and declaratory relief.

14. Defendants Jane/John Does 1-1000 are employees for the United States
Department of Defense (DOD) which is an executive branch department of the federal
government of the United States charged with coordinating and supervising all agencies and
functions of the U.S. government directly related to national security and the United States
Armed Forces. Defendants Jane/John Does 1-1000 are being sued in their individual and official
capacity and for injunctive and declaratory relief. Defendant Jane/John Does 1-1000 are
unknown to Plaintiffs at this time and will be added to the complaint once discovered.

15. Defendants United States Military, (hereinafter as US Military) the United

States Armed Forces are the military forces of the United States, The armed forces consists of

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six service branches: the Army, Marine Corps, Navy, Air Force, Space Force, and Coast
Guard. All six armed services are among the eight uniformed services of the United States.
Each of the different military services is assigned a role and domain. The Army conducts land
operations, while the Navy and Marine Corps conduct maritime operations, with the Marine
Corps specializing in amphibious and maritime littoral operations in support of the Navy. The
Air Force conducts air operations, while the Space Force conducts space operations. The Coast
Guard is unique in that it specializes in maritime operations and is also a law

enforcement agency.

16. Defendants Jane/John Does 1-1000 are civilian employees and enlisted
military personal for United States Military, the United States Armed Forces are the military
forces of the United States. These Jane/John Does are employed as civilians or enlisted with the
armed forces consists of six service branches: the Army, Marine Corps, Navy, Air Force, Space
Force, and Coast Guard. Defendants Jane/John Does 1-1000 are being sued in their individual
and official capacity and for injunctive and declaratory relief. Defendant Jane/John Does 1-1000
are unknown to Plaintiffs at this time and will be added to the complaint once discovered.

17. Defendant Federal Emergency Management Agency (hereinafter as FEMAY
was officially created in 1979 through an executive order by President Jimmy Carter. Defendant
FEMA is an illegal organization wherein it was created by executive order, which is
unconstitutional and in direct violation of the United States Constitution. Defendant FEMA
employs more than 20,000 people nationwide. Headquartered in Washington, D.C., we have 10
regional offices located across the country. Defendant FEMA is supposedly leveraging a

tremendous capacity to coordinate within the federal government to make sure America is

> FEMA is an illegal organization that was created by executive order on April 1, 1979, in violation of Article H,
Section 2, Clause 2.

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equipped to prepare for and respond to disasters, yet have failed to do so. Defendant FEMA was
at Lahaina on August 8, 2023. Defendant is being sued in its individual and official capacity and
for injunctive and declaratory relief.

18. Defendant Jane/John Does 1-1000 are employees for the Federal Emergency
Management Agency (FEMA), as such is illegally employed with Defendant FEMA is an illegal
organization wherein it was created by executive order, which is unconstitutional and in direct
violation of the United States Constitution. Defendant Jane/John Does 1-1000 was at Lahaina on
August 8, 2023. Defendants Jane/John Does 1-1000 are being sued in their individual and
official capacity and for injunctive and declaratory relief. Defendant Jane/John Does 1-1000 are
unknown to Plaintiffs at this time and will be added to the complaint once discovered.

19. Defendant Federal Bureau of Investigation (hereinafter as FBI)* is the
domestic intelligence and security service of the United States and its principal federal law
enforcement agency. Operating under the jurisdiction of the United States Department of
Justice, the FBI is also a member of the U.S. Intelligence Community and reports to both
the Attorney General and the Director of National Intelligence. A leading
U.S. counterterrorism, counterintelligence, and criminal investigative organization, the FBI
has jurisdiction over violations of more than 200 categories of federal crimes. In 1933, the
Bureau of Investigation (BOD was linked to the Bureau of Prohibition and rechristened the
Division of Investigation (DO}); it became an independent service within the Department of
Justice in 1935. In the same year, its name was officially changed from the Division of
Investigation to the Federal Bureau of Investigation (FBI). Defendant FBI is an illegal

organization wherein it was created by executive order, which is unconstitutional and in direct

4 FBI is an illegal organization that was created by executive order on of the Attorney General in 1908 in violation
of Article {], Section 2, Clause 2.

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violation of the United States Constitution. Defendant is being sued in its individual and official
capacity and for injunctive and declaratory relief.

20. Defendants Jane/John Does 1-1000 are employees for Federal Bureau of
Investigation (FBI) which is the domestic intelligence and security service of the United
States and its principal federal law enforcement agency. Operating under the jurisdiction of
the United States Department of Justice, the FB] is also a member of the U.S. Intelligence
Community and reports to both the Attorney General and the Director of National Intelligence.
Defendants Jane/John Does 1-1000 are being sued in their individual and official capacity and
for injunctive and declaratory relief. Defendant Jane/John Does 1-1000 are unknown to
Plaintiffs at this time and will be added to the complaint once discovered.

21. Defendant Alejandro Mayorkas, (hereinafter as Mayorkas) Secretary of
Homeland Security, is an American national security term for "the national effort to ensure a
homeland that is safe, secure, and resilient against terrorism and other hazards where American
interests, aspirations, and ways of life can thrive" to the "national effort to prevent terrorist
attacks within the United States, reduce the vulnerability of the U.S. to terrorism, and minimize
the damage from attacks that do occur." According to an official work published by
the Congressional Research Service in 2013, the "Homeland security" term's definition has
varied over time. Homeland security is not constrained to terrorist incidents. Terrorism is
violent, criminal acts committed by individuals and/or groups to further ideological goals
stemming from influences, such as those of a political, religious, social, racial, or environmental
nature. Defendant is being sued in their individual and official capacity and for injunctive and

declaratory relief.

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22, Defendant Federal Aviation Administration (hereinafter as FAA) is the largest
transportation agency of the U.S. government and regulates all aspects of civil aviation in the
country as well as over surrounding international waters. Its powers include air traffic control,
certification of personnel and aircraft, setting standards for airports, and protection of U.S, assets
during the launch or re-entry of commercial space vehicles. Powers over neighboring
international waters were delegated to the FAA by authority of the International Civil Aviation
Organization. Defendant is being sued in their individual and official capacity and for injunctive
and declaratory relief.

23. Defendants Jane/John Does 1-1000 are employees for Federal Aviation
Administration (FAA) is the largest transportation agency of the U.S. government and regulates
all aspects of civil aviation in the country as well as over surrounding international waters. Its
powers include air traffic control, certification of personnel and aircraft, setting standards for
airports, and protection of U.S. assets during the launch or re-entry of commercial space
vehicles. Powers over neighboring international waters were delegated to the FAA by authority
of the International Civil Aviation Organization. Defendants Jane/John Does 1-1000 are being
sued in their individual and official capacity and for injunctive and declaratory relief. Defendant
Jane/John Does 1-1000 are unknown to Plaintiffs at this time and will be added to the complaint
once discovered.

24. Defendant Centers for Disease Control and Prevention (CDC); Mandy Cohen,
Current Director and Rochelle Walensky, Former Director of Centers for Disease Control and
Prevention (CDC) is the national public health agency of the United States. It is a United States
federal agency under the Department of Health and Human Services, and is headquartered

in Atlanta, Georgia, The agency's main goal is the protection of public health and safety through

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the control and prevention of disease, injury, and disability in the US and worldwide. The CDC
focuses national attention on developing and applying disease control and prevention. It
especially focuses its attention on infectious disease, food borne pathogens, environmental
health, occupational safety and health, health promotion, injury prevention, and educational
activities designed to improve the health of United States citizens. The CDC also conducts
research and provides information on non-infectious diseases, such as obesity and diabetes, and
is a founding member of the International Association of National Public Health Institutes.
Defendant is being sued in their individual and official capacity and for injunctive and
declaratory relief.

25. Defendants Jane/John Does 1-1000 are employees for Defendant Centers for
Disease Control and Prevention which is the national public health agency of the United States.
It is a United States federal agency under the Department of Health and Human Services, and is
headquartered in Atlanta, Georgia. The agency's main goal is the protection of public health and
safety through the control and prevention of disease, injury, and disability in the US and
worldwide. The CDC focuses national attention on developing and applying disease control and
prevention, It especially focuses its attention on infectious disease, food borne pathogens,
environmental health, occupational safety and health, health promotion, injury prevention, and
educational activities designed to improve the health of United States citizens. The CDC also
conducts research and provides information on non-infectious diseases, such as obesity and
diabetes, and is a founding member of the International Association of National Public Health
Institutes, Defendants Jane/John Does 1-1000 are being sued in their individual and official
capacity and for injunctive and declaratory relief. Defendant Jane/John Does 1-1000 are

unknown to Plaintiffs at this time and will be added to the complaint once discovered.

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26. Defendant World Health Organization (hereinafter as WHO) is a specialized
agency of the United Nations responsible for international public health. It is headquartered
in Geneva, Switzerland, and has six regional offices and 150 field offices worldwide, The WHO
was established on April 7, 1948, and formally began its work on September 1, 1948. It
incorporated the assets, personnel, and duties of the League of Nations' Health Organization and
the Paris-based Office International d'Hygiéne Publique, including the International
Classification of Diseases (ICD). The agency's work began in earnest in 1951 after a significant
infusion of financial and technical resources. Defendant is being sued in their individual and
official capacity and for injunctive and declaratory relief.

27. Defendants Jane/John Does 1-1000 are employees for Defendant World
Health Organization (WHO) is a specialized agency of the United Nations responsible for
international public health. It is headquartered in Geneva, Switzerland, and has six regional
offices and 150 field offices worldwide. The WHO was established on April 7, 1948, and
formally began its work on September 1, 1948. It incorporated the assets, personnel, and duties
of the League of Nations’ Health Organization and the Paris-based Office International
d'Hygiéne Publique, including the International Classification of Diseases (ICD). The agency's
work began in earnest in 1951 after a significant infusion of financial and technical resources.
Defendant is being sued in their individual and official capacity and for injunctive and
declaratory relief. Defendants Jane/John Does 1-1000 are being sued in their individual and
official capacity and for injunctive and declaratory relief. Defendant Jane/John Does 1-1000 are

unknown to Plaintiffs at this time and will be added to the complaint once discovered.

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28. Defendant Environmental Protection Agency (hereinafter as EPA) is
an independent agency of the United States government tasked with environmental
protection matters, President Richard Nixon proposed the establishment of EPA on July 9, 1970;
it began operation on December 2, 1970, after Nixon signed an executive order. The order
establishing the EPA was ratified by committee hearings in the House and Senate. The agency is
led by its administrator, who is appointed by the president and approved by the Senate. The
current administrator is Michael 8. Regan. The EPA is not a Cabinet department, but the
administrator is normally given cabinet rank. The EPA has its headquarters in Washington,
D.C.. There are regional offices for each of the agency's ten regions, as well as 27 laboratories
around the country. The agency conducts environmental assessment, research, and education. It
has the responsibility of maintaining and enforcing national standards under a variety
of environmental laws, in consultation with state, tribal, and local governments. EPA
enforcement powers include fines, sanctions, and other measures. Defendant is being sued in
their individual and official capacity and for injunctive and declaratory relief.

29. Defendants Jane/John Does 1-1000 are employees for Environmental
Protection Agency (EPA) an independent agency of the United States government tasked with
environmental protection matters. President Richard Nixon proposed the establishment of EPA
on July 9, 1970; it began operation on December 2, 1970, after Nixon signed an executive
order. The order establishing the EPA was ratified by committee hearings in the House and
Senate. The agency is led by its administrator, who is appointed by the president and approved
by the Senate. The current administrator is Michael 8. Regan. The EPA is not a Cabinet

department, but the administrator is normally given cabinet rank. The EPA has its headquarters

> EPA is an illegal organization that was created by executive order on December 2, 1970, in violation of Article HI,
Section 2, Clause 2.

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in Washington, D.C.. There are regional offices for each of the agency's ten regions, as well as
27 laboratories around the country. The agency conducts environmental assessment, research,
and education, It has the responsibility of maintaining and enforcing national standards under a
variety of environmental laws, in consultation with state, tribal, and local governments, EPA
enforcement powers include fines, sanctions, and other measures. Defendant is being sued in
their individual and official capacity and for injunctive and declaratory relief. Defendants
Jane/John Does 1-1000 are being sued in their individual and official capacity and for injunctive
and declaratory relief. Defendant Jane/John Does 1-1000 are unknown to Plaintiffs at this time
and will be added to the complaint once discovered.

30. Defendant Merrick Garland, (hereinafter as Gerland) United States
Department of Justice (DOJ), also known as the Justice Department, is a federal executive
department of the United States government tasked with the enforcement of federal law and
administration of justice in the United States. It is equivalent to the justice or interior
ministries of other countries. The department is headed by the U.S. attorney general, who reports
directly to the president of the United States and is a member of the president's Cabinet. The
Justice Department contains most of the United States' federal law enforcement agencies,
including the Federal Bureau of Investigation, the U.S. Marshals Service, the Bureau of Alcohol,
Tobacco, Firearms and Explosives, the Drug Enforcement Administration, and the Federal
Bureau of Prisons. The department also has eight divisions of lawyers who represent the U.S.
federal government in litigation: the Criminal, Civil, Antitrust, Tax, Civil Rights, Environment
and Natural Resources, National Security, and Justice Management Divisions. The department

also includes the U.S. Attorneys! Offices for each of the 94 U.S, federal judicial districts.

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31. Defendants Jane/John Does 1-1000 are employees for United States
Department of Justice (DOJ), also known as the Justice Department, is a federal executive
department of the United States government tasked with the enforcement of federal law and
administration of justice in the United States. It is equivalent to the justice or interior ministries
of other countries. The department is headed by the U.S. attorney general, who reports directly to
the president of the United States and is a member of the president's Cabinet. The Justice
Department contains most of the United States’ federal law enforcement agencies, including
the Federal Bureau of Investigation, the U.S. Marshals Service, the Bureau of Alcohol, Tobacco,
Firearms and Explosives, the Drug Enforcement Administration, and the Federal Bureau of
Prisons, The department also has eight divisions of lawyers who represent the U.S. federal
government in litigation: the Criminal, Civil, Antitrust, Tax, Civil Rights, Environment and
Natural Resources, National Security, and Justice Management Divisions. The department also
includes the U.S. Attorneys' Offices for each of the 94 U.S. federal judicial districts. Defendants
Jane/John Does 1-1000 are being sued in their individual and official capacity and for injunctive
and declaratory relief. Defendant Jane/John Does 1-1000 are unknown to Plaintiffs at this time
and will be added to the complaint once discovered.

32. Defendant United States Food and Drug Administration (hereinafter as
FDA or US FDA) is a federal agency of the Department of Health and Human Services. The
FDA is responsible for protecting and promoting public health through the control and
supervision of food safety, tobacco products, caffeine products, dictary supplements,
prescription and over-the-counter pharmaceutical drug (medications), vaccines,
biopharmaceuticals, blood transfusions, medical devices, electromagnetic radiation emitting

devices (ERED), cosmetics, animal foods & feed and veterinary products. Defendant FDA's

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primary focus is enforcement of the Federal Food, Drug, and Cosmetic Act (FD&C). However,
the agency also enforces other laws, notably Section 361 of the Public Health Service Act as well
as associated regulations, Much of this regulatory-enforcement work is not directly related to
food or drugs but involves other factors like regulating lasers, cellular phones, and condoms. In
addition, the Defendant FDA takes control of diseases in the contexts varying from household
pets to human sperm donated for use in assisted reproduction.

33. Defendants Jane/John Does 1-1000 are employees for Defendant United
States Food and Drug Administration (FDA or US FDA) is a federal agency of the Department
of Health and Human Services. Defendant FDA is responsible for protecting and promoting
public health through the control and supervision of food safety, tobacco products, caffeine
products, dietary supplements, prescription and over-the-counter pharmaceutical drug
(medications), vaccines, biopharmaceuticals, blood transfusions, medical devices,
electromagnetic radiation emitting devices (ERED), cosmetics, animal foods &
feed and veterinary products. Defendant FDA's primary focus is enforcement of the Federal
Food, Drug, and Cosmetic Act (FD&C). However, the agency also enforces other laws, notably
Section 361 of the Public Health Service Act as well as associated regulations. Much of this
regulatory-enforcement work is not directly related to food or drugs but involves other factors
like regulating lasers, cellular phones, and condoms. In addition, Defendant FDA takes control of
diseases in the contexts varying from household pets to human sperm donated for use in assisted
reproduction, Defendants Jane/John Does 1-1000 are being sued in their individual and official
capacity and for injunctive and declaratory relief. Defendant Jane/John Does 1-1000 are

unknown to Plaintiffs at this time and will be added to the complaint once discovered.

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34, Defendant Federal Communications Commission (hereinafter as FCC) is
an independent agency of the United States government that regulates communications
by radio, television, wire, satellite, and cable across the United States. The FCC maintains
jurisdiction over the areas of broadband access, fair competition, radio frequency use, media
responsibility, public safety, and homeland security. The FCC was formed by the
Communications Act of 1934 to replace the radio regulation functions of the previous Federal
Radio Commission. The FCC took over wire communication regulation from the Interstate
Commerce Commission. The FCC's mandated jurisdiction covers the 50 states, the District of
Columbia, and the territories of the United States. The FCC also provides varied degrees of
cooperation, oversight, and leadership for similar communications bodies in other countries in
North America, The FCC is funded entirely by regulatory fees, It has an estimated fiscal-2022
budget of US $388 million. It has 1,482 federal employees as of July 2020.

35. Defendants Jane/John Does 1-1000 are employees for Federal
Communications Commission (FCC) is an independent agency of the United States
government that regulates communications by radio, television, wire, satellite, and cable across
the United States, The FCC maintains jurisdiction over the areas of broadband access, fair
competition, radio frequency use, media responsibility, public safety, and homeland security.
Defendants Jane/John Does 1-1000 are being sued in their individual and official capacity and
for injunctive and declaratory relief. Defendant Jane/John Does |-1000 are unknown to
Plaintiffs at this time and will be added to the complaint once discovered.

36, Defendants United States Senate (hereinafter as Senate) is the upper
chamber of the United States Congress. The United States Senate and the lower chamber of

Congress, the United States House of Representatives, comprise the federal bicameral

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legislature of the United States. Together, the Senate and the House have the authority
under Article One of the U.S. Constitution to pass or defeat federal legislation. The Senate has
exclusive power to confirm U.S. presidential appointments to high offices, approve or reject
treaties, and try cases of impeachment brought by the House. The Senate and the House provide
a check and balance on the powers of the executive and judicial branches of government, of
which the members are: Tammy Baldwin; Michael Bennet; Richard Blumenthal; Cory Booker,
John Boozman; Katie Britt; Sherrod Brown; Laphonza Butler; Maria Cantwell; Shelley Moore
Capito; Ben Cardin; Tom Carper; Bob Casey Jr.; Bill Cassidy; Susan Collins; Christopher
Coons; Cortez Masto; Cortez Masto; Susan Otton; Kevin Cramer; Mike Crapo; Steve Daines;
Tammy Duckworth; Dick Durbin; Joni Ernst; John Fetterman; Deb Fischer; Kirsten Gillibrand;
Kirsten Graham; Chuck Grassley; Maggie Hassan; Martin Heinrich; John Hickenlooper; John
Hoeven; Cindy Hyde-Smith; Tim Kaine; Mike Kelly; Timothy M. Kennedy; Angus King; Amy
Klobuchar; James Lankford; Joe Manchin lii; Edward J, Markey; Mitch Mcconnell; Robert
Menendez, Jr.; Jerry Moran; Markwayne Mullin; Lisa Murkowski; Christopher Murphy; Patty
Murray; Jon Ossoff; Alex Padilla; Gary Peters; Jack Reed; Pete Ricketts; Jim Risch; Mitt
Romney; Jacky Rosen; Mike Rounds; Brian E. Schatz; Chuck Schumer; Jeanne Shaheen;
Kyrsten Sinema; Tina Smith; Debbie Stabenow; Daniel S. Sullivan; Jon Tester; John Thune;
Thom Tillis; Chris Van Hollen; Mark Warner; Raphael Warnock; Elizabeth Warren; Sheldon
Whitehouse; Roger Wicker; Ron Wyden; Todd C. Young.

37, Defendant United States House of Representative (hereinafter as
Representative) is the lower chamber of the United States Congress, with the Senate being
the upper chamber. Together, they comprise the national bicameral legislature of the United

States. The House is charged with the passage of federal legislation, known as bills; those that

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are also passed by the Senate are sent to the president for signature or veto, The House's
exclusive powers include initiating all revenue bills, impeaching federal officers, and electing the
president if no candidate receives a majority of votes in the Electoral College of which the
members are: Robert Aderholt; Don Bacon; Garland “Andy” Barr; Cliff Bentz; Stephanie Bice;
Vern Buchanan; Larry Bucshon; Michael Burgess; Ken Calvert; Mike Carey; Thomas Carter;
John R. Carter; Lori Chavez-Deremer; Juan Ciscomani; Tom Cole; Dan Crenshaw; John Curtis;
Anthony D'esposito; Mario Diaz-Balart; John Duarte; Neal Dunn; Charles Edwards; Jake Ellzey;
Tom Emmer; Randy Feenstra; Drew Ferguson; Scott Fitzpatrick; Charles Fleischmann; Mike
Flood; Virginia Foxx; Andrew Garbarino; Mike Garcia; Carlos Gimenez; Ernest Gonzales; Kay
Granger; Sam Graves; Morgan Griffith; Brett Guthrie; French Hill; Ashley Hinson; Erin
Houchin; Richard Hudson; Darrell Issa; John James; Henry C. Johnson; Dusty Johnson; David
Joyce; Thomas Kean Jr.; Mike Kelly; Jennifer Kiggans; Kevin Kiley; Young Kim; David
Kustoff; Darin Lahood; Nicolas Lalota; Doug Lamborn; Robert Latta; Jacob Laturner; Michael
Lawler; Frank Lucas; Michael Mccaul; Tom Meclintock; Rich Mccormick; Patrick Mchenry;
Daniel Meuser; Max Miller; Mariannette Meeks Miller; Miller-Meeks; Marcus Molinaro; Barry
Moore; Nathaniel Moran; Gregory Murphy; Dan Newhouse; Zachary Nunn; Greg Pence; Guy
Reschenthaler; Mcmorris Rodgers; Mike Rogers; Harold Rogers; David Rouzer; John
Rutherford; Maria Salazar; Steve Scalise; David Schweikert; Austin Scott; Pete Sessions;
Michael Simpson; Adrian Smith; Christopher Smith; Lloyd Smucker; Michelle Steel; Glenn
Thompson; Michael Turner; David Valadao; Ann Wagner; Brad Wenstrup; Bruce Westerman;
Joe Wilson; Robert Wittman; Steve Womack; Rudy Yakym; Alma Adams; Pete Aguilar; Colin
Allred; Gabe Amo Jake Auchincloss; Becca Balint; Nanette Barragan; Joyce Beatty; Ami Bera;

Donald Beyer Jr.; Sanford Bishop; Earl Blumenauer; Lisa Blunt Rochester; Suzanne Bonamici;

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Jamaal Bowman; Brendan Boyle; Shontel Brown; Julia Brownley; Nicole Budzinski; Cori Bush;
Yadira Caraveo; Salud Carbajal; Tony Cardenas; Andre Carson; Troy Carter, Matthew
Cartwright; Gregorio Casar; Ed Case; Sean Casten; Kathy Castor; Joaquin Castro; Sheila
Cherfilus-Mccormick; Judy Chu; Katherine Clark; Yvette Clarke; Emanuel Cleaver Ii; James
Clyburn; Steve Cohen; Gerald Connolly; Luis Correa; Jim Costa; Joe Courtney; Angie Craig;
Jasmine Crockett; Jason Crow; Henry Cuellar; Sharice Davids; Danny Davis; Donald Davis;
Madeleine Dean; Degette Degette; Rosa Delauro; Suzan Delbene; Chris Deluzio; Mark
Desaulnier; Debbie Dingell; Lloyd Doggett; Veronica Escobar; Anna Eshoo; Adriano Espaillat;
Dwight Evans; Lizzie Fletcher; Bill Foster; Valerie Foushee; Lois Frankel; Maxwell Frost;
Ruben Gallego; John Garamendi; Jesus Garcia; Sylvia Garcia; Julio Garcia; Jared Golden; Dan
Goldman; Jimmy Gomez; Ernest Gonzalez; Josh Gottheimer; Al Green; Raul Grijalva; Josh
Harder; Jahana Hayes; James Himes; Steven Horsford; Chrissy Houlahan; Steny Hoyer; Valerie
Hoyle; Jared Huffman; Glenn Ivey; Jonathan Jackson; Jeffrey Jackson; Sheila Jackson Lee; Sara
Jacobs; Pramila Jayapal; Hakeem Jeffries; Henry Johnson; Sydney Kamlager-Dove; Marcy
Kaptur; William Keating; Robin Kelly; Ro Khanna; Daniel Kildee; Derek Kilmer; Andy Kim;
Raja Krishnamoorthi; Ann Mclane Kuster; Greg Landsman; Rick Larsen; John Larson; Laurel
Lee; Susie Lec; Barbara Lee; Leger Fernandez; Mike Levin; Ted Lieu; Zoe Lofgren; Stephen
Lynch; Seth Magaziner; Kathy Manning; Doris Matsui; Lucy Mcbath; Jennifer Mcclellan; Betty
Mccoilum; Morgan Megarvey; James Mcgovern; Gregory Meeks; Jacobsen Menendez Jr.; Grace
Meng; Kweisi Mfume; Gwen Moore; Joseph Morelle; Jared Moskowitz; Seth Moulton; Frank
Mrvan; Kevin Mullin; Jerrold Nadler; Grace Napolitano; Richard Neal; Joe Neguse; Wiley
Nickel; Donald Norcross; Alexandria Ocasio-Cortez; Ilhan Omar; Frank Pallone; Jimmy Panetta;

Chris Pappas; Bill Pascrell; Nancy Pelosi; Mary Peltola; Marie Gluesenkamp Perez; Scott Peters;

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Brittany Pettersen; Dean Phillips; Chellie Pingree; Mark Pocan; Katie Porter; Ayanna Pressley;
Mike Quigley; Delia Ramirez; Jamie Raskin; Deborah Ross; Raul Ruiz; Dutch A.
Ruppersberger; Patrick Ryan; Andrea Salinas; Linda Sanchez; John Sarbanes; Mary Scanlon;
Janice Schakowsky; Adam Schiff; Bradley Schneider; Hillary Scholten; Kim Schrier; Robert
Scott; David Scott; Terri Sewell; Brad Sherman; Mikie Sherrill; Elissa Slotkin, Adam Smith;
Eric Sorensen; Darren Soto; Abigail Spanberger; Melanie Stansbury; Greg Stanton; Haley
Stevens; Marilyn Strickland; Thomas Suozzi; Eric Swalwell; Emilia Sykes; Mark Takano; Shri
Thanedar; Mike Thompson; Bennie Thompson; Dina Titus; Rashida Tlaib; Jill Tokuda; Paul
Tonko; NormaTorres; Ritchie Torres; Lori Trahan; David Trone; Lauren Underwood; Juan
Vargas; Gabriel Vasquez; Mare Veasey; Nydia Velazquez, Debbie Wasserman Schultz; Maxine
Waters; Bonnie Watson Coleman; Jennifer Wexton; Susan Wild; Nikema Williams; Frederica
Wilson.

38. Defendant Anthony Fauci (hereinafter as Fauci) served as NIAID Director
from 1984 to 2022, He oversaw an extensive research portfolio of basic and applied research to
prevent, diagnose, and treat established infectious diseases such as HIV/AIDS, respiratory
infections, diarrheal diseases, tuberculosis, and malaria as well as emerging diseases such as
Ebola, Zika and COVID-19. Defendant Fauci also led the NIAID research effort on
transplantation and immune-related illnesses, including autoimmune disorders, asthma, and
allergies. Defendant Fauci advised seven Presidents on HIV/AIDS and many other domestic and
global health issues. He was one of the principal architects of the President’s Emergency Plan for
AIDS Relief (PEPFAR), a program. Defendant Fauci was a key advisor to seven Presidents and
their administrations on global HIV/AIDS issues, and on initiatives to bolster medical and public

health preparedness against emerging infectious disease threats such as pandemic influenza and

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COVID-19, As an HIV/AIDS researcher he was involved in the scientific effort since AIDS was
recognized in 1981, conducting pivotal studies that underpin the current understanding of the
disease and efforts to develop therapies and tools of prevention.

39, Defendant National Institute of Allergy and Infectious Diseases (hereinafter as
NIAID) is one of the 27 institutes and centers that make up the National Institutes of Health
(NIH), an agency of the United States Department of Health and Human Services (HHS).
NIAID's mission is to conduct basic and applied research to better understand, treat, and prevent
infectious, immunologic, and allergic diseases. NIAID has on-campus laboratories in Maryland
and Hamilton, Montana, and funds research conducted by scientists at institutions in the United
States and throughout the world. NIAID also works closely with partners in academia, industry,
government, and non-governmental organizations in multifaceted and multidisciplinary efforts to
address emerging health challenges such as the HIN1/09 pandemic and the COVID-19
pandemic.

40. Defendants Jane/John Does 1-1000 are employees for National Institute of
Allergy and Infectious Diseases (NIAID) is one of the 27 institutes and centers that make up
the National Institutes of Health (NIH), an agency of the United States Department of Health and
Human Services (HHS). NIAID's mission is to conduct basic and applied research to better
understand, treat, and prevent infectious, immunologic, and allergic diseases. NIAID has on-
campus laboratories in Maryland and Hamilton, Montana, and funds research conducted by
scientists at institutions in the United States and throughout the world, NIAID also works closely
with partners in academia, industry, government, and non-governmental organizations in
multifaceted and multidisciplinary efforts to address emerging health challenges such as

the H1IN1/09 pandemic and the COVID-19 pandemic. Defendants Jane/John Does 1-1000 are

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being sued in their individual and official capacity and for injunctive and declaratory relief.
Defendant Jane/John Does 1-1000 are unknown to Plaintiffs at this time and will be added to the
complaint once discovered.

41, Defendant Alaska Airlines is a major American airline headquartered in
SeaTac, Washington, within the Seattle metropolitan area. It is the fifth-largest airline in North
America when measured by scheduled passengers carried. Defendant Alaska, together with its
regional partners Horizon Air and Sky West Airlines operates a route network primarily focused
on connecting cities along the West Coast of the United States to over 100 destinations in the
contiguous United States, Bahamas, Belize, Canada, Costa Rica, Guatemala and Mexico. The
airline operates out of five hubs. Its primary hub is Seattle-Tacoma International Airport. Alaska
Airlines is a member of Oneworld, the third-largest airline alliance in the world. As of 2020, the
airline employs over 16,000 people and has been ranked by J. D. Power and Associates as having
the highest customer satisfaction of the traditional airlines for twelve consecutive years. In
December 2023, Alaska Airlines announced plans to buy Hawaiian Airlines in a $1.9 billion
deal.

42, Defendant American Airlines is a major airline in the United States
headquartered in Fort Worth, Texas, within the Dallas-Fort Worth metroplex, it is the largest
airline in the world when measured by scheduled passengers carried, revenue passenger mile.
American, together with its regional partners and affiliates, operates an extensive international
and domestic network with almost 6,800 flights per day to nearly 350 destinations in 48
countries. American Airlines is a founding member of the Oneworld alliance. Regional service
is operated by independent and subsidiary carriers under the brand name American Eagle.

American Airlines and American Eagle operate out of 10 hubs, with Dallas/Fort Worth

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International Airport (DFW) being its largest. The airline handles more than 200 million
passengers annually with an average of more than 500,000 passengers daily. As of 2023, the
company employs 103,200 staff members,

43. Defendant Delta Air Lines is one of the major airlines of the United States and
a legacy carrier headquartered in Atlanta, Georgia. It is the United States' oldest operating
airline and the seventh-oldest operating worldwide, Delta along with its subsidiaries and
regional affiliates, including Delta Connection, operates over 5,400 flights daily and serves 325
destinations in 52 countries on six continents. Delta is a founding member of the Sky Team
airline alliance. As of the end of 2023, it had 100,000 employees. Delta has nine hubs,
with Hartsfield-Jackson Atlanta International Airport being its largest in terms of total
passengers and number of departures. It is ranked second among the world's largest airlines by
number of passenger's carried, passenger-miles flown, and fleet size. It is ranked first by revenue
for commercially owned airline companies as well as in brand value, and 113th on
the Fortune 500.

44, Defendant Hawaiian Airlines is a commercial U.S, airline, headquartered
at Honolulu, Hawaii. It is the largest operator of commercial flights to and from the island state
of Hawaii, and the tenth largest commercial airline in the United States by passengers carried.
The airline operates its main hub at Daniel K. Inouye International Airport on the island
of O‘ahu and a secondary hub out of Kahului Airport on the island of Maui. The airline also
maintained a crew base at Los Angeles International Airport.

45. Defendant Southwest Airlines Co. is a major airline in the United States that
operates on a low-cost carrier model. It is headquartered in Love Field, Dallas, in the Dallas—

Fort Worth metroplex, and has scheduled service to 121 destinations in the United States and ten

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other countries. As of 2018, Southwest carried more domestic passengers than any other United
States airline. It is currently the third largest airline in North America based on passengers
flown. The airline was established on March 9, 1967, by Herb Kelleher and Rollin King as Air
Southwest Co. and adopted its current name, Southwest Airlines Co., in 1971, when it began
operating as an intrastate airline wholly within the state of Texas, first flying between

Dallas, Houston, and San Antonio. It began regional interstate service in 1979, expanding
nationwide in the following decades, Southwest currently serves airports in 42 states and
multiple Central American destinations.

46. Defendant United Airlines, Inc. is a major American airline headquartered at
the Willis Tower in Chicago, Illinois. United operates an extensive domestic and international
route network across the United States and all six inhabited continents primarily out of its eight
hubs, with Chicago—O’ Hare having the largest number of daily flights and Denver carrying the
most passengers in 2023. Regional service is operated by independent carriers under the brand
name United Express. United was formed by the amalgamation of several airlines in the late
1920s, the oldest of these being Varney Air Lines, created in 1926 by Walter Varney who later
co-founded the predecessor to Continental Airlines. In 1997, United became one of the five
founding airlines of Star Alliance, of which it remains a member today. Since its merger with
Continental in 2010, United consistently ranks as one of the world's largest airlines; it is
currently first by the number of destinations served and third in terms of revenue and fleet size.

47. Defendant Go Mokulele Airlines is a regional airline operating in Hawaii. The
airline scheduled inter-island and charter flights, primarily between smaller airports and its hubs
at Kahului Airport on the island of Maui and Daniel K. Inouye International Airport in

Honolulu on the island of Oahu. The airline was acquired by Southern Airways Express in 2019

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but continues to operate under its own brand. Both Southern Airways and Mokulele Airlines are
subsidiaries of Surf Air Mobility, which purchased Southern in 2023,

48, Defendant FedEx Express is a major American cargo airline based in
Memphis, Tennessee, United States, As of 2023, it is the world’s largest cargo airline in terms of
fleet size and freight tons flown. It is the namesake and leading subsidiary of FedEx
Corporation, delivering freight and packages to more than 375 destinations over 220 countries
across six continents each day. FedEx Express is also the world's largest express transportation
company. The company's global "SuperHub" is located at Memphis International Airport. In the
United States, FedEx Express has a national hub at Indianapolis International Airport. U.S,
regional hubs are located at airports in Anchorage, Fort Worth, Greensboro, Miami, Newark,
Oakland and Ontario. International regional! hubs are located at the airports in Cologne/Bonn,
Dubai, Bengaluru, Liege, Milan, Osaka, Paris, Shanghai, Singapore, Tokyo and Toronto.

49. Defendant UPS Airlines is a major American cargo airline based in Louisville,
Kentucky. One of the largest cargo airlines worldwide (in terms of freight volume flown), UPS
Airlines flies to 815 destinations worldwide. It has been a wholly owned subsidiary of United
Parcel Service since its launch in 1988. In line with passenger airlines, UPS Airlines operates
under the hub-and-spoke model. The airline's primary hub in the United States is at Louisville
International Airport, where it built a 5,200,000 square foot facility known as UPS
Worldport. In addition to Worldport, UPS has several secondary hubs across the United States
and international hubs in Canada, China, England, Germany, Malaysia, the Philippines, and
Puerto Rico.

50. Defendant WestJet Airlines, founded in 1994 and headquartered in Calgary,

Alberta, is the second-largest airline in Canada. It began operations in 1996 with 220 employees,

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three aircraft, and five destinations, It was launched as a low-cost alternative to the country's
major airlines. Today, WestJet operates scheduled, charter, and cargo air service, transporting
more than 25 million passengers per year. The airline has a significant domestic and
international network, which serves over 100 destinations across North American, Caribbean,
Europe, Asia, and Central America, WestJet has an average of 777 flights per day, solidifying its
position as the eighth-largest airline in North America by frequency.

51. Defendant Japan Airlines (JAL) is the flag carrier of Japan. JAL is
headquartered in Shinagawa, Tokyo, Its main hubs are Tokyo's Narita and Haneda airports, as
well as Osaka's Kansai and Itami airports. The JAIL. group, which includes Japan Airlines, also
comprises J-Air, Japan Air Commuter, Japan Transocean Air, and Ryukyu Air Commuter for
domestic feeder services, and JAL Cargo for cargo and mail services. JAL group operations
include scheduled and non-scheduled international and domestic passenger and cargo services to
220 destinations in 35 countries worldwide, including codeshares, The group has a fleet of 279
aircraft. In the fiscal year ended 31 March 2009, the airline group carried over 52 million
passengers and over 1.1 million tons of cargo and mail, Japan Airlines, J-Air, JAL Express, and
Japan Transocean Air are members of the Oneworld airline alliance network. JAL was
established in 1951 as a government-owned business and became the national airline of Japan in
1953. After over three decades of service and expansion, the airline was fully privatized in 1987.
In 2002, the airline merged with Japan Air System (JAS), Japan's third-largest airline, and
became the sixth-largest airline in the world by passengers carried. Japan Airlines is currently an
official sponsor of Shimizu S-Pulse and Consadole Sapporo.

52. Defendant Air Canada is the flag carrier and the largest airline of Canada, by

size and passengers carried. Air Canada is headquartered in the borough of Saint-Laurent,

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Montreal, Quebec. The airline, founded in 1937, provides scheduled and charter air transport for
passengers and cargo to 222 destinations worldwide. It is a founding member of the Star
Alliance. Air Canada's major hubs are at Toronto Pearson International Airport (Y YZ)
Montréal-Trudeau International Airport (YUL), and Vancouver International Airport (YVR).

53. Defendant US Airways was a major airline in the United States that operated
from 1937 until it merged with American Airlines in 2015. It was originally founded in
Pittsburgh as a mail delivery airline called All American Aviation, which soon became a
commercial passenger airline. In 1953, it was renamed Allegheny Airlines and operated under
that name for a quarter-century. In October 1979, after the passage of the Airline Deregulation
Act, Allegheny Airlines changed its name to USAir. A decade later it had acquired Piedmont
Airlines and Pacific Southwest Airlines (PSA), and was one of the U.S.'s seven
transcontinental legacy carriers. In 1997, it rebranded as US Airways.

54, Defendant Virgin America Inc. was an American low-cost airline
headquartered in the San Francisco Bay Area city of Burlingame. The airline primarily focused
on operating low-fare, higher-quality service between cities on the West Coast of the United
States and other major metropolitan areas. It operated both domestic and international flights,
with hubs in San Francisco and Los Angeles as well as a smaller focus city operation at Love
Field in Dallas.

55, Defendant Southern Airways Express Airlines was a local service carrier, a
scheduled airline certificated by the federal Civil Aeronautics Board, in the United States, from
its founding by Frank Hulse in 1949 until 1979, when it merged with North Central Airlines to
become Republic Airlines. Southern's corporate headquarters were in Birmingham, with

operations headquartered at Hartsfield—Jackson Atlanta International Airport, near Atlanta.

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Following a merger with North Central Airlines in 1979, Southern became Republic Airlines,
which in turn was merged into Northwest Airlines in 1986. Northwest Airlines was then merged
into Delta Air Lines in 2010.

56. Defendant Pfizer Inc. (hereinafter as Pfizer) is an American multinational
pharmaceutical and biotechnology corporation headquartered at The Spiral in Manhattan, New
York City. The company was established in 1849 in New York by two German
entrepreneurs, Charles Pfizer (1824-1906) and his cousin Charles F. Erhart (1821-1891). Pfizer
develops and produces medicines and vaccines for immunology, oncology, cardiology,
oncology, cardiology, endocrinology, and neurology. The company's largest products by sales
are the Pfizer~BioNTech COVID-19 vaccine ($11 billion in 2023 revenues), apixaban ($6 billion
in 2023 revenues), a pneumococcal conjugate vaccine ($6 billion in 2023 revenues),
palbociclib ($4 billion in 2023 revenues), and tafamidis ($3 billion in 2023 revenues). In 2023,
46% of the company's revenues came from the United States, 6% came from Japan, and 48%
came from other countries.

57. Defendant Project Veritas is an American far-right activist group founded
by James O'Keefe in 2010. The group produces deceptively edited videos of its undercover
operations, which use secret recordings in an effort to discredit mainstream media organizations
and progressive groups, Project Veritas also uses entrapment to generate bad publicity for its
targets, and has propagated disinformation and conspiracy theories in its videos and operations.

58, Defendant Johnson & Johnson (hereinafter as J&J) is an American
multinational pharmaceutical, biotechnology, and medical technologies corporation
headquartered in New Brunswick, New Jersey, and publicly traded on the New York Stock

Exchange. Its common stock is a component of the Dow Jones Industrial Average, and the

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company is ranked No. 40 on the 2023 Fortune 500 list of the largest United States corporations.
In 2023, the company was ranked 40th in the Forbes Global 2000. Johnson & Johnson has a
global workforce of approximately 130,000 employees who are led by the company’s current
chairman and chief executive officer, Joaquin Duato. Johnson & Johnson was founded in 1886
by three brothers, Robert Wood Johnson, James Wood Johnson, and Edward Mead Johnson,
selling ready-to-use sterile surgical dressings. In 2023, the company split off its consumer
healthcare business sector info a new publicly traded company, Kenvue. The company is
exclusively focused on developing and producing pharmaceutical prescription drugs and medical
device technologies.

59. Defendant Merck & Co., Inc. is an American multinational pharmaceutical
company headquartered in Rahway, New Jersey, and is named for Merck Group, founded in
Germany in 1668, of which it was once the American arm. The company does business as Merck
Sharp & Dohme or MSD outside the United States and Canada. It is one of the largest
pharmaceutical companies in the world, generally ranking in the global top five by revenue.
Merck & Co. was originally established as the American affiliate of Merck Group in 1891.
Merck develops and produces medicines, vaccines, biologic therapies and animal health
products. It has multiple blockbuster drugs or products each with 2020 revenues including cancer
immunotherapy, anti-diabetic medication and vaccines against HPV and chickenpox. The
company is ranked 71st on the 2022 Fortune 500 and 87th on the 2022 Forbes Global 2000, both
based on 2021 revenues. In 2023, the company’s seat in Forbes Global 2000 was 73.

60. Defendant Moderna, Inc. (hereinafter as Moderna) is an American
pharmaceutical and biotechnology company based in Cambridge, Massachusetts, that focuses

on RNA therapeutics, primarily mRNA vaccines. These vaccines use a copy of a molecule

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called messenger RNA (mRNA) to carry instructions for proteins to produce an immune
response. The company's name is derived from the terms "modified", "RNA", and "modern".
The company's only commercial product is the Moderna COVID-19 vaccine, marketed as
Spikevax. The company has 45 treatment and vaccine candidates, of which 38 have
entered clinical trials. Candidates include possible vaccines for influenza, HIV, respiratory
syncytial virus, Epstein—Barr virus, the Nipah virus, chikungunya, human metapneumovirus,
vaticella zoster virus, as well as a cytomegalovirus vaccine, a Zika virus vaccine funded by the
Biomedical Advanced Research and Development Authority, and three cancer vaccines, The
company's pipeline also includes a cell therapy-based treatment: a relaxin fusion protein being
developed to treat acute decompensated heart failure. It also includes candidates that use OX40
ligand, interleukin 23, IL36G, and interleukin 12 for cancer immunotherapy, specifically
treatment of breast cancer, urothelial carcinoma, lymphoma, and melanoma. Also being
developed by Moderna is a regenerative medicine treatment that encodes vascular endothelial
growth factor A to stimulate blood vessel growth for patients with myocardial ischemia.

61. Defendant American Medical Association (hereinafter as AMA) is an
American professional association and lobbying group of physicians and medical students.
Founded in 1847, it is headquartered in Chicago, Illinois, Membership was 271,660 in 2022.
The AMA's stated mission is "to promote the art and science of medicine and the betterment of
public health."!7! The organization was founded with the goal to raise the standards of medicine
in the 19th century primarily through gaining control of education and licensing. In the 20th
century, the AMA has frequently lobbied to restrict the supply of physicians, contributing to a
doctor shortage in the United States. The organization has also lobbied against

allowing physician assistants and other health care providers to perform basic forms of health

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care, The organization has historically lobbied against various forms of government-run health
insurance.

62. Defendant State of Hawaii (hereinafter as Hawaii) has overall responsibility to
ensure that all individuals living in the State of Hawaii rights are not violated; ensure that each
resident of the State of Hawaii is treated equally and fairly, as such must obey all laws of the
State of Hawaii and United States of America. Defendant is being sued in its official capacity.

63, Defendant Jane/John Does 1-1000 are employees for State of Hawaii, who has
overall responsibility to ensure that all individuals living in the State of Hawaii rights are not
violated; ensure that each resident of the State of Hawaii is not murdered or set up for being
murdered, as such must obey all laws of the State of Hawaii and United States of America.
Defendants Jane/John Does 1-1000 are being sued in their individual and official capacity and
for injunctive and declaratory relief. Defendant Jane/John Does 1-1000 are unknown to
Plaintiffs at this time and will be added to the complaint once discovered.

64, Defendant, Richard T. Bissen, Jr. (hereinafter as Bissen) is the Mayor for
Maui, in the State of Hawaii, as such is mandated to obey the United States Constitution and
Hawaii Constitution providing everyone who lives on the Maui with the protection of the
Laws of the State of Hawaii and both the United States and Hawati Constitution. Defendant
is being sued in his individual and official capacity.

65. Defendant, Mitch Roth (hereinafter as Roth) is the Mayor for Hawaii, the
Big Island, as such is mandated to obey the United States Constitution and Hawaii
Constitution providing everyone who lives on the Big Island with the protection of the Laws
of the State of Hawaii and both the United States and Hawaii Constitution. Defendant is

being sued in his individuai and official capacity.

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66, Defendant Derek Kawakami, (hereinafter as Kawakami) is the Mayor for
Kaui, as such is mandated to obey the United States Constitution and Hawaii Constitution
providing everyone who lives on the Kaui with the protection of the Laws of the State of
Hawaii and both the United States and Hawaii Constitution. Defendant is being sued in his
individual and official capacity.

67. Defendant Rick Blangiardi, (hereinafter as Blangiardi) is the Mayor for
Honolulu, as such is mandated to obey the United States Constitution and Hawaii
Constitution providing everyone who lives on the Oahu with the protection of the Laws of
the State of Hawaii and both the United States and Hawaii Constitution. Defendant is being
sued in his individual and official capacity.

68. Defendant David Ige, (hereinafter as Ige) Former Governor of Hawaii as such
was required to obey all state and federal laws. Defendant Green has overall responsibility of the
State of Hawaii, ensuring that all state and federal laws are obeyed, specifically prohibited from
the act of murdering or causing the murdering of residence of Hawaii, in direct violation of the
laws for the State of Hawaii and the United States Constitution. Defendant is being sued in his
individual and official capacity.

69. Defendant the Department of Land and Natural Resources (hereinafter as
DNLR) plans, directs, manages, and administers the State of Hawaii's public lands, including
forest reserves, state parks, and historic sites. Defendant carries out its responsibilities, functions,
and programs, except on matters relating to water resources. Several divisions within the
department share responsibility for managing Maui lands, including the Office of Conservation
and Coastal Lands, the Division of Conservation and Resource Enforcement, the Division of

Forestry and Wildlife, the Natural Area Reserves Commission, the Land Division, and the State

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Historic Preservation Division. Defendant is being sued in its individual and official capacity
and for injunctive and declaratory relief.

70. Defendant Jane/John Does 1-1000 are employees for the Department of Land
and Natural Resources (DNLR) plans, directs, manages, and administers the State of Hawaii's
public lands, including forest reserves, state parks, and historic sites. Defendant carries out its
responsibilities, functions, and programs, except on matters relating to water resources, Several
divisions within the department share responsibility for managing Maui lands, including the
Office of Conservation and Coastal Lands, the Division of Conservation and Resource
Enforcement, the Division of Forestry and Wildlife, the Natural Area Reserves Commission, the
Land Division, and the State Historic Preservation Division. Defendants Jane/John Does 1-1000
are being sued in their individual and official capacity and for injunctive and declaratory relief.
Defendant Jane/John Does 1-1000 are unknown to Plaintiffs at this time and will be added to the
complaint once discovered.

71. Defendant Board of Land and Natural Resources which heads the DLNR by
an executive board, the Board of Land and Natural Resources (hereinafter as BLNR). It is
composed of seven members, one from each land district and three at large, and the chairperson,
who is the executive head of the department. Members are nominated with the consent of the
Senate and are appointed by the Governor for a four-year term, No more than three members can
be from the same political party and any member having an interest in any matter before the
board must recuse themselves from voting or discussing the matter with the rest of the board.
One member must have a background in conservation while another member must have
demonstrated knowledge of Native Hawaiian traditions and practices. The chairperson is a full-

time position appointed by the Governor of Hawai‘i. The Board convenes twice monthly on the

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second and fourth Fridays of the month, At these meetings, testimony from the public about
programs, development plans, etc. are presented.

72. The Hawaii State Department of Education (hereinafter as HIDOE) is a
statewide public education system in the United States. The school district can be thought of as
analogous to the school districts of other cities and communities in the United States, but in some
manners can also be thought of as analogous to the state education agencies of other states. As
the official state education agency, the Hawai‘i State Department of Education oversees all 258
public schools and 37 charter schools and over 13,000 teachers in the State of Hawai‘i, serving
approximately 167,649 students statewide (School Year 2023-24).

73. Defendant Jane/John Does 1-1000 are employees for the Hawaii State
Department of Education (HIDOE) is a statewide public education system in the United States.
The school district can be thought of as analogous to the school districts of other cities and
communities in the United States, but in some manners can also be thought of as analogous to
the state education agencies of other states. As the official state education agency, the Hawai‘i
State Department of Education oversees all 258 public schools and 37 charter schools and over
13,000 teachers in the State of Hawai'i, serving approximately 167,649 students statewide
(School Year 2023-24). Defendants Jane/John Does 1-1000 are being sued in their individual and
official capacity and for injunctive and declaratory relief. Defendant Jane/John Does 1-1000 are
unknown to Plaintiffs at this time and will be added to the complaint once discovered.

TE.

STATEMENT OF FACTS

74. Plaintiff is filing this suit for declaratory and injunctive relief to declare that

the acts, actions, and inactions by Defendants, their predecessor stated herein have violated the

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United States Constitutions and that such acts, actions, and inactions should be ruled as void and
unconstitutional. Further, this civil rights complaint is seeking monetary compensation against
certain Defendants.

I,

DEADLY VACCINATION

75. The distribution of COVID-19 injections (hereafter referred to as ‘COVID-19
nanoparticle injections’ or ‘mRNA nanoparticle injections’ or ‘COVID-19 injections) must be
halted immediately in the United State. COVID-19 injections have caused countless deaths,
permanent injury, and disability. Plaintiffs intend to demonstrate to the court that; 1- the COVID-
19 injections are dangerous; 2 — it is the duty of the Governors of each State within the United
States and Defendants Biden, Harris, Blinken, Green, Austin, US Military, Cohen, Walenshy,
WHO, FDA, Fauci, NIAID, Pfizer, Project Veritas, J&J, Merck & Co., Inc., Moderna, AMA,
State of Hawaii, Bissen, Roth, Kawakami, Ige, HIDOE, to act immediately to prohibit their
distribution; 3 — it is incumbent on this Court to compel the Governors of each State within the
United States and Defendants to act immediately.

76. The evidence demonstrates that due to shedding, COVID-19 injections pose a
risk of harm, including death and disability, to all citizens within the United States and each
Plaintiff whether ‘vaccinated’ or ‘unvaccinated’. Every person including members of this Court,
and likely the Respondents, were lied to - COVID-19 injections are not safe, nor are they
effective. At all times Defendants CDC, FDA, WHO, Pfizer, Project Veritas, Johnson &
Johnson, Merck, Moderna, American Medical Association all knew or should have known that
such injections would cause serious harm, not unlimited to death, or which it did in thousands of

people worldwide.

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77, Defendant’s acts, actions and inaction with regarding to enforcing and
mandating COVID-19 was nothing more worldwide genocide, History shows that this is not an
act that is not uncommon to governments throughout history. The Political Instability Task
Force estimated that 43 genocides occurred between 1956 and 2016, resulting in about
50 million deaths.° The UNHCR estimated that a further 50 million had been displaced by such
episodes of violence up to 2008.7 Genocide is widely considered to be the epitome of human
evil.8 Genocide has been referred to as the “crime of crimes".’,'°,!! Incitement to genocide is
recognized as a separate crime under international law and an inchoate crime which does not
require genocide to have taken place to be prosecutable.'?

78. Due to the extraordinary nature of the crimes committed against the civilian

population within the United States, and the threat that continued distributions of COVID-19

6 Anderton, Charles H.; Brauer, Jurgen, eds. (2016). Economic Aspects of Genocides, Other Mass Atrocities, and
Their Prevention. Oxford University Press. ISBN 978-0-19-937829-6,

7 Towner 2011, pp. 625-638; Lang 2005, pp. 5-17: "On any ranking of crimes or atrocities, it would be difficult to
name an act or event regarded as more heinous. Genocide arguably appears now as the most serious offense in
humanity's lengthy-—-and, we recognize, still growing—list of moral or legal violations."; Gerlach 2010, p. 6:
"Genocide is an action-oriented model designed for moral condemnation, prevention, intervention or punishment. In
other words, genocide is a normative, action-oriented concept made for the political struggle, but in order to be
operational it leads to simplification, with a focus on government policies."; Hollander 2012, pp. 149-189: "...
genocide has become the yardstick, the gold standard for identifying and measuring political evil in our times, The
label 'genocide' confers moral distinction on its victims and indisputable condemnation on its perpetrators."

® Schabas, William A. (2000). Genocide in International Law: The Crimes of Crimes (PDF) (Ist ed.}, Cambridge
University Press. pp. 9, 92, 227. ISBN 0-521-78262-7.

® Straus, Scott (2022). Graziosi, Andrea; Sysyn, Frank E. (eds.). Genocide: The Power and Problems of a
Concept. McGill-Queen's University Press. pp. 223, 240. ISBN 978-0-2280-095 1-1.

10 Rugira, Lonzen (20 April 2022). “Why Genocide is "the crime of crimes"". Pan African Review. Archived
from the original on 13 June 2024. Retrieved 11 April 2024.

11 *tncitement te Genocide in International Law". United States Holocaust Memorial Museum. Archived from the
original on 9 March 2024, Retrieved 9 May 2020.

2 United Nations 2019; Office of the UN Special Adviser on the Prevention of Genocide 2014; Voice of America
2016

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injections will cause further death and disability, and the potential threat posed to the future
existence of the human race itself, this Court must act immediately to prevent further harm.
In 1948, the United Nations Genocide Convention defined genocide as any of five "acts
committed with intent to destroy, in whole or in part, a national, ethnical, racial or religious
group". These five acts were: killing members of the group, causing them serious bodily or
mental harm, imposing living conditions intended to destroy the group, preventing births, and
forcibly transferring children out of the group. Victims are targeted because of their real or
perceived membership of a group, not randomly.

79, There can be no question that Defendants incentivized murdering patients in
hospitals, as they got paid more for each person that supposedly died of COVID-19.

A, EXECUTIVE SUMMARY

80. A massive mass media and government campaign promoting ‘COVID-19
vaccines’ as safe and effective ‘vaccines’ to prevent infection targeted population of the United
States approximately 336 million people. This campaign narrative was false and misleading and
has led to numerous deaths, permanent injury, and disability.

81. It is well-established that Defendant FDA clinical trials for the COVID-19
injections were not designed to clinically or statistically demonstrate that the COVID-19

nanoparticle injections prevent infection, prevent transmissions, or protect against disease,

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hospitalizations, and death.!3,!4,!5,(6!738 At all times Defendants Biden, Harris, FDA, CDC,
Green, Roth, Bissen, Kawakami, Blanglard, Fauci, Austin, US Military, Cohen, Walensky,
NIAID, CDC, WHO, Pfizer, J&J, Project Veritas, Moderna, AMA, Ige and HIDOE knew or
should have known that such COVID injections were harmful to Plaintiffs, and all citizens
within the United States, subjecting each to a dangerous injections, not unlimited to death.

82. In Defendant Pfizer’s August 23, 2021 approval of their biological license
application, Defendant Pfizer’s approved application even states, “Missing Information: Vaccine

Effectiveness,”

8 Pfizer Inc., BioNTech, initial new drug (IND) application. “A PHASE 1/2/3, PL-ACEBO-CONTROLLED,
RANDOMIZED, OBSERVER-BLIND, DOSE-FINDING STUDY TO EVALUATE THE SAFETY,
TOLERABILITY, IMMUNOGENICITY, AND EFFICACY OF SARS-COV-2 RNA VACCINE CANDIDATES
AGAINST COVID-19 IN HEALTHY INDIVIDUALS.” PE-07302048 (BNT162 RNA-Based COVID-19 Vaccines)
Protacol C4591001; Apr 2020.

i Gruber M. (Dir CBER/OVRR), Naik R., Smith M., Woilersheim S., Huang L., et al. Pfizer Inc. on behalf of Pfizer
and BioNTech; “Emergency Use Authorization (EUA) for an Unapproved Product.” Review Memorandum; Nov
2020. https://Awww.fda.zov/media/144416/download

5 Polack F., Thomas S., Kitchin N., et al. for the C4591001 Clinical Trial Group; “Safety and Efficacy of the
BNT162b2 mRNA Covid-19 Vaccine” New Engl J Med; Dec 10, 2020; 383:2603-2615.
https://www.nejm.org/doi/tull/10.1056/nejmoa2034577

Naik Ramachandra, PhD, Review Committee Chair, DVRPA/OVRR. BioNTech Manufacturing GmbH in
partnership with Pfizer, Inc. “COMIRNATY (BNT1[62b2): Active immunization to prevent coronavirus disease
2019 (COVID-19) caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 16
years of age and older” FDA Approval of the Biological License Application (BLA) for BNT162b2/COMIRNATY;
Submitted May 18, 2021. Reviewed November 8, 2021. hitps://www.fda.gov/media/151733/download

16 Zaks Tal, ModernaTX, Inc. initial new drug (END) application. “A Phase 3, Randomized, Stratified, Observer-
Blind, Placebo-Controlled Sindy to Evaluate the Efficacy, Safety, and Immunogenicity of mRNA-1273 SARS-CoV-
2 Vaccine in Adults Aged 18 Years and Older, mRNA-1273-P301” Aug 20, 2020. https://covid| 9cre.org/wp-

content/uploads/2020/09/mRNA-1273-P30 1-Protocol-2020.pdf

'? Apnihothram Sudhakar, PhD, Review Committee Chair, DVRPA/OVRR. ModernaTX Inc. “SPIKEVAX
(mRNA-1273): Active immunization to prevent coronavirus disease 2019 (COVID-19) caused by severe acute
respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 18 years of age and older” FDA Approval of the
Biological License Application (BLA) for COVID- [8.

8 Modernal’X, Inc. “FDA Briefing Document Moderna COVID-19 Vaccine” Vaccines and Related Biological
Products Advisory Committee (VRBPAC) Meeting, Emergency Use Authorization (UA); December 17, 2620.
hitps://Awww.fda.gov/media/144434/download 19

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83. Defendant Moderna’s January 4, 2022, FDA approval is also missing
“Vaccine Effectiveness.” (Vaccine, mRNA; January 30, 2023
https://www.fda.gov/media/155931/ downland).

84. Defendant Pfizer also states in their approved biological license that they
don’t know how their COVID-19 mRNA vaccine protects against SARS-CoV-2 infection,

85. Defendant FDA clinical trials, US government data, and real-world evidence
have demonstrated that mRNA nanoparticle injections cause clinically significant increases in
- mild-to-moderate disease, serious diseases, disabilities, hospitalizations, and death within days,
weeks and/or months of receiving COVID-19 mRNA nanoparticle injections in formerly healthy

infants, children, and adults,

'9S Agnihothram Sudhakar, PhD, Review Committee Chair, DVRPA/OVRR. ModernaTX Inc, “SPIKEVAX
(mRNA-1273): Active immunization to prevent coronavirus disease 2019 (COVID-19) caused by severe acute
respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 18 years of age and older” FDA Approval of the
Biological License Application (BLA) for COVID-19 Vaccine, mRNA; January 30, 2023.
https://www.fda,gov/media/15593 t/download

ModernaTX, Inc. “FDA Briefing Document Moderna COVID-19 Vaccine” Vaccines and Related Biological
Products Advisory Committee (VRBPAC) Meeting. Emergency Use Authorization (EUA); December 17, 2020,
https://www.fda.gov/media/144434/download

Pfizer, Inc., BioNTech. “Application for Jicensure of a booster dose for COMIRNATY (COVID-19 Vaccine,
mRNA), FDA Briefing Document” Vaccines and Related Biological Products Advisory Committee (VRBPAC)
Meeting. September 17, 2021. https://www.fda.gov/media/152176/download

Anderson Steven, PhD, MPP — Dir. Office of Biostats & Epidemiology, CBER. “FDA/CBER Plans for Monitoring
COVID-19 Vaccine Safety & Effectiveness Vaccines & Related Biological Products Advisory Committee
(VRBPAC) Meeting” October 22, 2020.

https:/Avww.fda.gov/media/143557/download?fbclid=IwAR | SooRjTDuhBPq
M4TID3O07VYeX4eAp3CCqB78zCk04CMve_OzgtMNPIiNke

Senator Ron Johnson, Subcominittee on Investigations, Ranking Member, “United States Senate Letter: The
Honorable Lioyd J, Austin 1” regarding the Defense Medical Epidemiology Database (DMED); Feb 1, 2022.
hittps:/Avww.ronjohnson.senate.gov/services/files/FB6DDD42-4755- 4FDC-BEE9-50E4029 | LEQ2

Wollersheim Susan, MD, Schwartz Ann, MD. Lee Lucia, MD; Team Leader CRB1/DVRPA/OVRR Allende Maria
MD; Chief, CRBI/DVRPA/OVRR, BioNTech Manufacturing GmbH in partnership with Pfizer, Inc. “BLA Clinical
Review MEMORANDUM” Biologica! License

Shresrha N., Burke P., Nowacki., et al. “Effectiveness of the Coronavirus Disease 2019 Bivalent Vaccine.” Open
Forum Infect Dis, April 19, 2023. (Cleveland Clinic) ittps://Awww.ncbi.nlm.nih.gov/pme/articles/PMC 10234376/

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86. The COVID-19 mRNA nanoparticle injections were administered to civilian
adults and children through unlawful human experimentation under the guise of “safe and
effective vaccines. Specifically, Defendant FDA and mRNA manufacturers knew that the
clinical safety risks outweighed any potential clinical benefits.

88. Furthermore, the COVID-19 mRNA injections were administered without
informed consent regarding:

1. The composition and variability of the COVID-19 nanoparticle injections’
vials.

2. The gene-editing mechanism of action of COVID-19 nanoparticle
technologies, and the known harmful, permanently disabling and/or
sometimes deadly clinical outcomes of being injected with engineered
COVID-19 mRNA nanoparticle technologies”?

Nafilyan V., Bermingham C., Ward IL., et al. “Risk of death following SARS-CoV-2 infection or COVID-19
vaccination in young people in England: a self-controlled case series study” MedRxiv. March 23, 2022.

hitps://www.medrxiv.ore/content/10. 1101/2022,03,22,22272775vl

Application (BLA); August 23, 2021. https://www.fda.gov/media/152256/download
Schineling M, Manniche V, Hansen PR. “Batch-dependent safety of the BNT162b2 mRNA COVID-19 vaccine”
European Journal of Clinical Investigation. March 30, 2023. https://doi.org/10. 111 l/eci. 13998

European Medical Agency. “Safety of COVID-19 vaccines.” https:/Avww.ema.europa.eu/en/human-
regulatory/overview/public-health-threats/coronavirus-disease-covid- | 9/treatments-vaccines/vaccines-covid- 19
safety-covid-19-vaccines Assessed January 6, 2023,

European Directorate for the Quality of Medicines and Healthcare. “EDQM initiatives in the context of COVID-19
vaccines and therapies.” https:/Avww.edqm.eu/en/edqm-initiatives-in-the-context-of-covid-19- vaccines-and-
therapies Assessed January 6, 2023.

Gruber M. (Dir CBER/OVRR), Naik R., Smith M., Wollersheim S., Huang L., et al. Pfizer Inc. on behalf of Pfizer
and BioNTech; “Emergency Use Authorization (EUA) for an Unapproved Product.” Review Memorandum; Nov
2020. https://www.fda.gov/nedia/1444 1 6/download

2° Gruber M, (Dir CBER/OVRR), Naik R., Smith M., Wollersheim S., Huang L., et al. Pfizer Inc. on behalf of Pfizer
and BioNTech; “Emergency Use Authorization (EUA) for an Unapproved Product.” Review Memoranduin; Nov
2020. nttos://www.fda.2ov/media/1444 16/download

Naik Ramachandra, PhD, Review Committee Chair, DVRPA/OVRR. BioNTech Manufacturing GmbH in
partnership with Pfizer, Inc. “COMIRNATY (BNT162b2): Active immunization to prevent coronavirus disease
2019 (COVID-19) caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 16
years of age and older’ FDA Approval of the Biological License Application (BLA) for BNT162b2/COMIRNATY;
Submitted May 18, 2021. Reviewed November 8, 2021. https://www.fda gov/media/151733/downtoad

Anderson Steven, PhD, MPP — Dir. Office of Biostats & Epidemiology, CBER. “FDA/CBER Plans for Monitoring
COVID-19 Vaccine Safety & Effectiveness Vaccines & Related Biological Products Advisory Committee

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3. Defendant Pfizer states in their FDA application the COVID-19 mRNA vials
vary in formulation.

4, Defendant Pfizer states in their FDA approved license that their mRNA
injections edit the genetic make-up of human cells through nucleoside
substitution by RNA (modRNA) transcription,

5, Defendant Pfizer states on their corporate website that their mRNA produces
‘editing proteins’ (aka spike proteins) to modify the genome.

6. Arecent in vitro study demonstrated that Defendant Pfizer’s COVID-19
mRNA injection (BNT162b2) introduce foreign DNA into human liver cells
in as fast as 6 hours upon BNT162b2 exposure.

7, The NIH defines nucleoside substitution as a change to one’s genome that can
have profound effects on one’s health.

8. On October 22, 2020, Defendant FDA met with COVID-19 vaccine mRNA
manufacturers to discuss the harmful clinical effects of the COVID-19
injections.

(VRBPAC) Meeting” October 22, 2020.
https://www.fda.gov/media/143557/download?fbclid=IwAR | SooRjTDuhBPq
M4TID3O7vY gX4eAp3CCqB7SzCk04CMve_OzetMNPfNke

Pfizer-BioNTech COVID-19 Vaccine EUA Amendment for Use in Children 6 Months Through 4 Years of Age.
“EUA amendment request for Pfizer-BioNTech COVID-19 Vaccine for use in children 6 months through 4 years of
age.” VRBPAC Briefing Document. June 15, 2022. https:/Avww.fda.gov/media/159195/download

U.S. Department of Health and Human Services Food and Drug Administration, Office of the Commissioner, Office
of the Chief Scientist, Office of Counterterrorism and Emerging Threats. “Emergency Use Authorization of Medical
Products and Related Authorities” Guidance for Industry and Other Stakeholders; January 2017.
https://www.fda.gov/media/9732 L/download

Vaccines and Related Biological Products Advisory Committee Meeting. Licensure and Emergency Use
Authorization of Vaccines to Prevent COVID-19 for Use in Pediatric Populations” FDA Briefing Document; June
10, 2021. https://Avww.fda.gov/media/149935/download

Katragadda, CS., Choudhury, KS, and Murthy, PN. “Nanoparticles as Non-Viral Gene Delivery Vectors” IEEE
Transactions on Nanobioscience,

January 2008 6(4):319-30 https:/Avww.researchgate.net/publication/journal/[EEE-transactions-on-nanobioscience-
1558-2639

Friedrichs S and Bowman D, “COVID-19 may become nanomedicine’s finest hour yet” Nature

Nanotechnology; Volume 16, Pages 362-364. April 14, 2021. https://www.nature.com/articles/s4 1565-021-00901-8

Wang R, Song B, Wu J, et al. “Potential adverse effects of nanoparticles on the reproductive system” Int Jrnl of
Nanomedicine: 2018:13 8487-8506 hitps:/Avww.nebi.nim_ nih, gov/pme/articles/PMC629405 5/pdt/ijn-13-8487.pdf

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9. Moving forward with the FDA emergency use authorization (HUA) of
COVID-19 mRNA LNP injections was in violation of Classification of
products 21 USC § 360bbb-2 clearly stating that an EUA product’s benefits
must outweigh the risks.

10. Moving forward with the FDA emergency use authorization and FDA
approval was in violation of Legal Human Experiments 21 CFR 312,42
(b)(1)(i) for in which subjects are not to be placed at a significant risk for
iliness or injury.

B. IMPORTANT RECENT US STATE GOVERNMENT EVENTS TEXAS IS SUING
PFIZER

89, On November 30, 2023, State of Texas v. Pfizer, District Court of Lubbuck
County, Texas (Pending) Texas Attorney General Ken Paxton filed a lawsuit against Defendant

Pfizer?! for:

1. Misrepresenting Pfizer’s “vaccine efficacy” and relative risk reduction
2. Lying about the durability of alleged “vaccine protection”

3. Lying about Pfizer’s mRNA nanoparticle injections’ ability to prevent
transmission.

4, Lying about Pfizer’s mRNA nanoparticle injections’ ability to prevent
infection from variants

5, Conspiring with social media, specifically Twitter, to suppress the truth
regarding the effects of Pfizer’s COVID-19 mRNA nanopatticle injections.

Detailed Facts of This Case

90. The ‘COVID-19 vaccines’ contain engineered nanoparticle technologies per
the manufacturer’s product labeling, Defendant FDA submissions, US military contracts, peer-

reviewed publications, patents, and manufacturer’s websites.”

21 State of Texas v. Pfizer, District Court of Lubbuck County, Texas, (Pending).
hitps:/Awww .texasaltorneygeneral gov/sites/default/files/images/press/Pfizer %20Vaccine%e20Petition%20Filed.pdf

22 Pfizer Inc., BioNTech, initial new drug (IND) application. “A Phase 1/2/3, Placebo-Controlled, Randomized,
Observer-Blind, Dose-Finding Study To Evaluate The Safety, Tolerability, Immunogenicity, And Efficacy Of Sars-

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91. Defendant Pfizer ignored and violated, Legal Human Experiments 21 CFR
§2.42 (b)(1)(i), Risk Evaluation and Mitigation Strategies 21 USC § 355-1, Current Good
Manufacturing Practice 21 CFR § 225.1. for conducting safe and legal experimentation on
humans with the use of Defendant FDA-regulated products when Defendant Pfizer stated that the
formulations of their COVID-19 injections distributed to US adults and children varied by LOT
number, per Defendant Pfizer’s approved August 23, 2021, biological license application
(BLA).

92. Defendant Pfizer’s criminal experimentation on civilian adults and children
with the use of varying biotechnologies in their COVID-19 mRNA nanoparticle formulations by
‘vaccine’ LOT number (with some lots known to inflict harm, ranging from serious diseases and

disabilities to death), combined with lots that are placebos (known to be harmless), was

Cov-2 Rna Vaccine Candidates Against Covid-19 In Healthy Individuals.” Pf-07302048 (Bnt162 Rna-Based Covid-
19 Vaccines) Protocol C4591001; Apr 2020.

Graber M. (Dir CBER/OVRR), Naik R., Smith M., Wollersheim S., Huang L., et al. Pfizer Inc. on behalf of Pfizer
and BioNTech; “Emergency Use Authorization (EUA) for an Unapproved Product.” Review Memorandum; Nov
2020. hitps://www.fda.gov/media/144416/download

Naik Ramachandra, PhD, Review Committee Chair, DVRPA/OVRR, BioNTech Manufacturing GmbH in
partnership with Pfizer, Inc. “COMIRNATY (BNT162b2): Active immunization to prevent coronavirus disease
2019 (COVID-19) caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 16
years of age and older” FDA Approval of the Biological License Application (BLA) for BNT162b2/COMIRNATY;
Submitted May 18, 2021. Reviewed November 8, 2021. https://www. fda gov/media/151733/download

Zaks Tal, ModernaTX, Inc. initial new drug (IND) application. “A Phase 3, Randomized, Stratified, Observer-Blind,
Placebo-Controlled Study to Evaluate the Efficacy, Safety, and Immunogenicity of mRNA-1273 SARSCoV-2
Vaccine in Adults Aged 18 Years and Older, mRNA-1273-P301” Aug 20, 2020. https://covid | 9cre.org/wp-
content/uploads/2020/09/mRNA-1273-P301-Protocol-2020.pdf

Department Of ‘he Army U.S. Army Contracting Command. “Covid-19 Pandemic—Large Scale Vaccine
Manufacturing Demonstration” RPP #: 20-11 Project Identifier: 2011-003. Statement of Work for Pfizer. July 21,
2020, hitps:/Avww.hhs.gov/sites/defauit/files/pfizer-inc-covid- 19-vaccinecontract.pdf

2 Wollersheim Susan, MD, Schwartz Ann, MD. Lee Lucia, MD; Team Leader CRB1/DVRPA/OVRR Allende
Maria MD; Chief, CRB{/DVRPA/OVRR, BioNTech Manufacturing GmbH in partnership with Pfizer, Inc, “BLA
Clinical Review MEMORANDUM?” Biological License Application (BLA); August 23, 2021.
https:/Awww.fda.gov/media/152256/download

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confirmed by a scientific European analysis of 52 different Defendant Pfizer mRNA nanoparticle
‘vaccine’ LOTS, administered to 4,026,575 persons who received 10,793,766 doses (an average
of 2.7 injections/person) between December of 2020 and January of 2022.

93, Defendant FDA and ‘vaccine’ manufacturers (i.e. Pfizer) clinically established
that the COVID-1L9 injections would cause an unprecedented incidence of disease, permanent
disabilities, and death, when on October 22, 2020 (before the ‘COVID-19 vaccine rollout’) the
Defendant FDA met with the manufacturers and reviewed this ‘working list’ of harmful clinical
outcomes caused by the injections; nervous system disease(convulsions, seizures, Guillain-Barre
syndrome myelitis encephalitis, encephalopathy, encephalomyelitis, narcolepsy, cataplexy,
meningitis, meningoencephalitis acute demyelinating diseases), cardiac disease (acute
myocardial infarction myocarditis, pericarditis, stroke), blood and circulatory disease
(disseminated intravascular coagulation, thrombocytopenia, venous thromboembolism),
musculoskeletal disease (arthritis, joint pain), reproductive and pregnancy disorders (adverse
pregnancy outcomes, adverse birth outcomes), autoimmune disease (VAED, multisystem

inflammatory syndrome), and death.”

*4 Schmeling M, Manniche V, Hansen PR. “Batch-dependent safety of the BNTi62b2 mRNA COVID-19 vaccine”
European Journal of Clinical Investigation, March 30, 2023. https://doiorg/10.111 l/eci, 13998

European Medical Agency. “Safety of COVID-19 vaccines.” https:/Avww.ema.eurapa.eu/en/human-
regulatory/overview/public-healththreats/coronavirus-disease-covid- | 9/treatinents-vaccines/vaccines-
covid 19/safety-covid-19-vaccines Assessed January 6, 2023.

European Directorate for the Quality of Medicines and Healthcare. “EDQM initiatives in the context of COVID-19
vaccines and therapies.” https://www.edqim.eu/en/edqm-initiatives-in-the-context-of-covid-19- vaccines-and-
therapies Assessed January 6, 2023

25 Anderson Steven, PhD, MPP — Dir, Office of Biostats & Epidemiology, CBER. “FDA/CBER Plans for
Monitoring COVID-£9 Vaccine Safety & Effectiveness Vaccines & Related Biological Products Advisory
Cominittee (VRBPAC) Meeting” October 22, 2020.
htips:/Avww.fda.gov/media/143557/download?fbclid-IwARISooRjTDuhBPq

M4 TID3O7TVY 2 X4eA p3CCqB7SzCk04CMve_OzetMNPiNke

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94, There were 696,605 nervous system disorders, 539,299 musculoskeletal and
connective tissue disorders (92,942 pain in extremities), and 317,811 gastrointestinal disorders,
224,633 skin, hair and nail disorders, 190,720 respiratory and chest disorders, 178,353 female
and male reproductive system disorders (erectile dysfunction, infertility, heavy menstrual
bleeding), 167,382 victims developed bacterial, viral, or parasitic infections (24,9010 herpetic
infections), 126,993 cardiac disorders, 100,970 blood and lymphatic system disorders, 77,148
psychiatric disorders, 73,542 vascular disorders, 61,518 eye disorders, 47,038 ear and labyrinth
disorders (15,833 tinnitus), 31,895 autoimmune disorders, 13,647 kidney and urinary disorders,
3,711 cancers and benign cysts, 4,056 pregnancy complications (1,859 spontaneous abortion
complications, 1,143 genetic disorders, and 3,814 deaths were documented in an internal
Defendant Pfizer document as of June 18, 2022.76

95, There were 17,560 deaths, 83,092 hospitalizations, 116,479 urgent care visits,
194,594 doctor visits, 36,014 anaphylaxis/severe allergic reactions, 13,515 cardiac
events/conditions, 17,076 permanent disabilities, and an additional 14,494 life threatening events
have been reported into the CDC’s VAERS database as of June 16,2023, with an estimated 100-

fold underreporting factor per a Harvard Pilgrim Healthcare Analysis commissioned by HHS.??

26 Pfizer. Confidential, “APPENDIX 2.2: Cumulative and Interval Summary Tabulation of Serious and Non-Serious
Adverse Reactions from Post-Marketing Data Sources, BNT162B2.” Data collected from December of 2020
through June 18, 2022, https://www.globalresearch,ca/wpcontent/uploads/2023/05/pfizer-report.pdf

27 Center for Disease Control (CDC). “VAERS COVID Vaccine Adverse Event Reports.” US Data. hine 16, 2023.
https://openvaers.com/covid-data

Lazarus Ross, MBBS, MPH, MMed, GDCompSci, Michael Klompas, MD, MPH. “Electronic Support for Public
Health-Vaccine Adverse Event Reporting System (ESP: VAERS).” Prepared by Harvard Pilgrim Health Care, Inc.
for U.S. Department of Health and Human Services. Inchisive dates: 12/01/07 - 09/30/10
https://digital.ahrq.gov/sites/default/files/docs/publication/r1 8hs0 17045 - lazarus-final-report-201 1 pdf

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96. There were more than one (1) million adverse events were reported in the
VAERS database (1,055,219) in the year 2021 from the COVID-19 injections, including;
hospitalizations, permanent disabilities, anaphylaxis, heart attacks, miscarriages, adult, child, and
newborn deaths which is more than ALL reported adverse events from ALL childhood and adult
vaccines over the past 20 years combined prior to the COVID-19 injection rollout (1990 -
2020).?8

97, Based on data from the Defense Medical Epidemiology Database (DMED), it
was reported that US military men and women experienced a 2,181% increase in hypertension,
1,048% increase in nervous system disorders, a 894% increase in malignant neoplasms of
esophagus, a 680% increase in multiple sclerosis, a 624% increase in malignant neoplasms of
digestive organs, 551% increase in Guillain-Barre syndrome (paralysis), a 487% increase in
breast cancer, 487% increase in demyelinating disease (damage to the myelin sheath protecting
netve fibers of the brain, optic nerve, and spinal cord), a 474% increase in malignant neoplasms
of thyroid and other endocrine glands, a 472% increase in female infertility, a 468% increase in
pulmonary embolism, a 452% increase in migraines, a 437% increase in ovarian dysfunction,
369% increase in testicular cancer, and a 302% increase in tachycardia.”

98, Data collected by the Joint Artificial Intelligence Center (JAIC) of the U.S.
Department of Defense (DoD), demonstrated that among 5.6 million Medicare beneficiaries 65
years and older who received Defendant Pfizer’s or Moderna’s mRNA nanoparticle technology

injections or remained uninjected, 71% of COVID-19 cases occurred in fully-vaccinated seniors

28 Center for Disease Control (CDC), “VAERS COVID Vaccine Adverse Event Reports.” US Data, June 16, 2023.
hitps://openvaers.com/covid-data

29 Senator Ron Johnson, Subcominittee on Investigations, Ranking Member. “United States Senate Letter: The
Honorable Lloyd J. Austin HI” regarding the Defense Medical Epidemiology Database (DMED); Feb I, 2022.
https://www.ronjohnson.senate.gov/services/files/FB6DDD42-4755- 4FDC-BEE9-50E4029 11 E02

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and 60% of COVID-19 hospitalizations occurred in fully-vaccinated seniors as of August 7,
2021.3°

99. Data published by the Defendant CDC on June 15, 2023, demonstrated that in
adults who were fully vaccinated or fully-vaccinated and boosted, and who were formerly
immunocompetent (healthy) experienced an increased risk for hospitalization due to COVID-
193!

100. More than 4 million Americans reported a Grade 3 adverse event (as defined
as ‘unable to perform their daily functions’) and approximately 200,000 (2%) required
admittance to the emergency room or hospital after receiving a COVID-19 injection according to
the CDC’s V-Safe database of 10 million US residents who were early recipients of COVID-19
injections as of July 31, 2022.°

101. A recent systematic review of 100 studies, including case-reports and case
studies, demonstrated that the average rate of myocarditis (a formerly rare disease among healthy
adults and children) is 1.62% post COVID-19 mRNA nanoparticle injection, as well as
demonstrated a clinically significant incidence of cardiomyopathy, pulmonary embolism (PE),

and vaccine-induced thrombotic thrombocytopenia post COVID-19 mRNA injection.

30 47 United States Department of Defense, Joint Artificial Intelligence Center (JAIC), Humetrix data;
“Effectiveness of mRNA COVID-19 Vaccines Against the Delta Variant Among 5.6M Medicare Beneficiaries 65
Years and Older.” September 28.

31 Link-Gelles, Ruth, PhD, MPHLCDR, US Public Health Service COVID-19 Vaccine Effectiveness Program Lead
Centers for Disease Control and Prevention. “COVID-19 Vaccine Effectiveness Updates.” June 13 2023,
https://www.fda.gov/media/169536/download

32 49 CDC V-SAFE Database. Accessed June 28, 2023. hittps://vaxxsafedata.com/about-us/

33 Pfizer, Confidential. “APPENDLX 2.2: Cumulative and Interval Summary Tabulation of Serious and Non-Serious
Adverse Reactions from PostMarketing Data Sources, BNT162B2.” Data collected from December of 2020 through
June 18, 2022. https:/Avww.globalresearch.ca/wpcontent/Aiploads/2023/05/pfizer-report.pdf

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102. It is clinically established that the mRNA ‘spike proteins and ‘lipid’
nanoparticles cross the barrier membranes of the cardiovascular, respiratory, reproductive, and
central nervous system (including the brain); causing inflammation that can result in disease,
disability, and death, per 42 peer-reviewed publications and research & development Defendant
Pfizer documents.*4

103, In an example; the State of Florida there were 195% excess mortality claims

made to Group Life Insurance companies in July-September of 2021, during the time period

when Defendant Biden’s previously announced COVID-19 vaccine mandate was to go into

effect by July 4, 2021, for all employed Americans. Defendant CDC recorded an excess of

492,851 deaths in the United States in 2022, and an excess of 64,375 deaths in the first 14 weeks

(Q1) of 2023.36

34 Rawati J, Kumar V, Ahiwat P, et al. “Current Trends on the Effects of Metal Based Nanoparticles on Microbial
Ecology” Applied Biochemistry and Biotechnology; Feb 17, 2023. https://doi.org/10.1007/s12010-023-04386-0

Wang R, Song B, Wu J, et al. “Potential adverse effects of nanoparticles on the reproductive system” Int Jrn] of
Nanomedicine: 2018:13 8487-8506 https://www.ncbi.nlin nih.gov/pme/articles/PMC6294055/pdf/ijn-13-8487.pdf

Handy RD and Shaw BJ. “Toxic effects of nanoparticles and nanomaterials: Implications for public health, risk
assessment and the public perception of nanotechnology” Health, Risk, & Society; Volume 932007.
https://doi.org/10.1080/1369857070 1306807

Cupaioli FA, Zucca FA, Boraschi D, Zecca L. Engineered nanoparticles. How brain friendly is this new guest? Prog
Neurobiol. 2014 Aug-Sep;119- 120:20-38. doi: 10.1016/).pneurobio.2014.05.002. Epub 2014 May 10.
PMID: 24820405. https://pubmed.ncbi.nim.nih.gov/24820405/

5 Society of Actuators (SoA) Research Institute. “Group Life COVID-19 Mortality Survey Report” Aug 2022.
https://www.soa.org/4a368a/globalassets/assets/files/resources/researchreport/2022/group-life-covid-19-mortality-
03-2022-report.pdf

The White House. “FACT SHEET: President Biden to Announce Goal to Administer at Least One Vaccine Shot to
70% of the U.S. Adult Population by July 4th.” WH Statement made on May 4, 2021.

https:/Avww. whitehouse. gov/briefing-room/statementsreleases/202 1/05/04/fact-sheet-president-biden-to-announce-
goal-(o-administer-at-least-one-vaccine-shot-to-70-of- the-u-s-adult-population-by july-4th/

36 CDC Data submitted to the OECD (Organization for Economic Cooperation and Development) Accessed June 1,
2023. hitps://stats.cecd.org/index aspx ?query id= 1046764

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104, On November 20, 2020, Defendant Pfizer stated in writing that the risk-
benefit ratio of their COVID-19 mRNA nanoparticle injections were not favorable (unfavorable)
for children 12 to 15 years of age, based on Defendant FDA submitted data from 100 injected
children from their Phase 3 trial.>7

105. On June 10, 2021, Defendant FDA Vaccine Related and Biological Products
Advisory Committee (VRBPAC) stated in writing that it would be infeasible (it would be
impossible) to conduct a clinical trial that could clinically and statistically prove that any vaccine
could prevent SARS-CoV-2 infection and/or COVID-19 disease in pediatric populations because
teenagers, children, and infants rarely (if ever) become infected or present with symptoms.”

106. Children who received two (2) COVID-19 injections are 1400% (15x) more
likely to die of any cause than unvaccinated children and children who received three (3)
COVID-19 injections are 4400% (45x) more likely to die of any cause than unvaccinated
children per UK Government data.°?

107. COVID-19 mRNA nanoparticle injections induce anaphylaxis, appendicitis,
fevers of greater than 104 degrees Fahrenheit, seizures (with eye rolling), convulsions, status

epilepticus (seizures lasting more than 5 minutes and multiple seizures that can lead to

37 §7 Gruber M. (Dir CBER/OVRR), Naik R., Smith M., Wollersheim S., Huang L., et al. Pfizer Inc. on behalf of
Pfizer and BioNTech; “Emergency Use Authorization (EUA) for an Unapproved Product.” Review Memorandum;
Nov 2020. https:/Avww.fda.gov/media/144416/downioad

38 58 Vaccines and Related Biological Products Advisory Committee Meeting. Licensure and Emergency Use
Authorization of Vaccines to Prevent COVID-19 for Use in Pediatric Populations” FDA Briefing Document; June
10, 2021. https:/Avww.fda.gov/media/ 14993 5/download

3° 59 Nafilyan V., Bermingham C., Ward IL., et al. “Risk of death following SARS-CoV-2 infection or COVID-19
vaccination in young people in England: a self-contvolled case series study” MedRxiv. March 23, 2022.
https://yww.amedrxiv.org/content/i0.1101/2022.03.22,22272775v1

Swart N. “Pfizer documents, official government data confirm: .75m vaccine deaths in 2022, critical infertility” Biz
News. Nov 23, 2022. https:/Avww.biznews.com/health/2022/1 1/23/pfizer-vaccine-deaths

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permanent brain damage), epilepsy, exanthema subitum (herpes induced fevers and seizures),
hypotonia (limp ‘lifeless-like baby syndrome’), permanent brain damage confirmed by an EEG,
and lissencephaly (genetic-induced brain malformation characterized by the absence of
convolutions/folds), per Defendant Defendant Pfizer’s June 15, 2022, Defendant FDA clinical
trial data submission of 6 month oid babies through 4 year old toddlers; in which a subgroup of
370 toddlers (2 to 4 year old) only 21 toddlers (5%) made it to their 1-month study follow-up
visit after receiving their 3rd COVID-19 mRNA injection, and in a subgroup of 344 babies (6 to
23 months old) only 3 babies (1%) made it to their 1- month study follow-up visit after receiving
their 3rd injection of COVID-19 mRNA injection; reasons for discontinuing or withdrawing
from the study included adverse events, neurological dysfunctions, ICU admission,
hospitalization, and death (but reasons for discontinuation or withdrawal need not be noted by
the investigator).

108, The engineered COVID-19 mRNA nanoparticles can cross the blood brain
barrier causing demyelinating disease (deterioration to the protective covering of nerve cells)
including permanent changes to nerve cell structures, nerve cell damage, and nerve cell death in

the spinal cord and brain leading to permanent brain and neurological disorders and diseases,

such as the 696,605 neurological disorders and diseases documented by Defendant Pfizer.*!

49 Pfizer-BioNTech COVID-19 Vaccine EUA Amendment for Use in Children 6 Months Through 4 Years of Age.
“EUA amendment request for Pfizer-BioNTech COVID-19 Vaccine for use in children 6 months through 4 years of
age.” VRBPAC Briefing Document. June 15, 2022. https:/Avww.fda.gov/media/I59195/download

4] Cupaioli FA, Zucca FA, Boraschi D, Zecca L, Engineered nanoparticles, How brain friendly is this new guest?
Prog Neurobiol. 2014 Aug-Sep;119- 120:20-38. doi: 10,1016/).pneurobio,.2014.05.002, Epub 2014 May 10. PMID:
24820405. https://pubmed ncbi.nim.nih gov/24820405/

Pfizer. Confidential. “APPENDIX 2.2: Cumulative and Interval Summary Tabulation of Serious and Non-Serious
Adverse Reactions from Post-Marketing Data Sources, BNT162B2.” Data collected from December of 2020
through June 18, 2022. https://www.globalresearch.ca/wp-contentAiploads/2023/05/pfizer-report.pdf

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109. Plaintiffs have kids, nieces and nephews who are subjected to such
dangerous shots.

110, The engineered mRNA nanoparticles cross the biological barriers of the
male reproductive system accumulating in the testis and epididymis adversely affecting sexual
health in men, including; sperm quality, quantity, morphology, and motility, and affecting male
hormones causing reproductive organ dysfunction such as the 178,353 female and male
reproductive system disorders documented by Defendant Pfizer (including male erectile
dysfunction, infertility, and testicular pain),

111, The engineered COVID-19 mRNA nanoparticles cross the biological barriers
of the female reproductive system accumulating in the ovaries, placenta, and uterus, causing
reproductive dysfunction including damage to eggs and follicle development, and adversely
affecting the health of women, unborn babies and newborn babies, as was demonstrated by the
178,353 female and male reproductive system disorders and 4,056 pregnancy complications
(including heavy menstrual bleeding, irregular menstruation, spontaneous abortions, and
infertility).

112, The engineered mRNA nanoparticle technologies in the COVID-19

injections are classified as electromagnetic devices per Defendant Pfizer’s Operation Warp

2 Wang R, Song B, Wu J, et al. “Potential adverse effects of nanoparticles on the reproductive system” Int Jrnl of
Nanomedicine: 2018:13 8487-8506 https:/Avww.ncbi.nlm.oih.gov/pinc/articles/PMC629405 5/pdf/ijn- 13-8487 pdf

43 Pfizer Inc. Japan. “SARS-CoV-2 mRNA Vaccine (BNT162, PF07302048) Luciferase RNA-encapsulated LNP
administered intravenously to Wistar Han rats at a dose of | mg RNA/ke. Plasma and Liver Concentrations of ALC-
0345 and ALC-0159"

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Speed contract and Adulterated Drugs and Devices 21 USC § 351, and the 2017 Defendant FDA
Guidance on Drugs and Devices.”4

113. The engineered nanoparticle technologies in COVID-19 mRNA injections
are gene-editing technologies per Defendant Pfizer’s May 18, 2021 Defendant FDA submitted
biological license application stating that the COVID-19 mRNA mechanism-of-action is through
RNA transcription (nucleoside substitutions) substituting the genetic material of human cells
within human bodies with foreign genetic material.”

114. The engineered nanoparticle technologies in COVID-19 mRNA injections
are gene-editing nanotechnologies that use cationic liposome technologies to alter human DNA

through RNA transfection; as has been described in Defendant Pfizer’s biological license

application (BLA), on Defendant Pfizer’s website; and as is demonstrated in multiple scientific

4 Department Of The Army U.S. Army Contracting Command, “Covid-19 Pandemic—Large Scale Vaccine
Manufacturing Demonstration” RPP #: 20-11 Project Identifier: 2011-003. Statement of Work for Pfizer. July 21,
2020. https://www_hbhs.gov/sites/default/files/pfizer-inc-covid-19-vaccine contract.pdf

U.S. Department of Health and Human Services Food and Drug Administration, Office of Combination Products,
Office of Special Medical Programs Office of the Commissioner “Classification of Products as Drugs and Devices
& Additional Product Classification Issues: Guidance for Industry and FDA Staff’ September 2017.

https:/Avww. fda.gov/inedia/803 84/download 48

4 US, Departinent of Health and Human Services Food and Drug Adininistration Center for Biologics Evaluation
and Research. “Design and Analysis of Shedding Studies for Virus or Bacteria-Based Gene Therapy and Oncolytic
Products” Guidance for Industry; Aug 2015. https://Awww.fda. gov/media/89036/download

Berkinan BE, Deputy Director, NHGI Bioethics Core. “SUBSTITUTION” NIH National Human Genome Institute
Website visited June 27, 2023.
hitps:/Avww.genome.gov/geneticsglossary/Substitution#:—-text=Substitution%2C%20as02 Orelated%o20to%2
Ogenomics, with%20a%20different’o20amino%20acid

Ganguly P, PhD, Chief Communications Officer, Nucleus Genomics, NHGI Office of Communications.

“TRANSLATION” NIH National Human Genome Institute Website
https://www.genome.gov/geneticsglossary/Translation

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papers and Defendant Pfizer’s internal report of 1,143 genetic diseases spontaneously reported
post COVID-19 mRNA nanoparticle injection.”

115, It is an established scientific fact that the engineered nanoparticle
technologics in the COVID-19 mRNA injections are gene-editing technologies with known and
unknown risks for; integrating non-human DNA into the human genome, transmission of foreign
DNA into the germline (genetic mutations passed from parent to child through sperm or egg),
passage foreign genes into sperm, embryo/fetal and perinatal toxicity, genotoxicity (DNA
damage that can lead to birth defects and diseases i.e. cancers), and the potential for horizontal
transmission (i.e., shedding) is further confirmed in a June 9, 2023 peer-reviewed publication in
the International Journal of Molecular Science.”

116. The COVID-19 mRNA nanoparticle injections were NEVER proven to
prevent infection, disease, hospitalization or death, per Defendant Pfizer’s November 20, 2020,
Defendant FDA submission, in which Defendant Pfizer stated in writing that out of 18,198
human subjects originally injected with BNT162b2, 11% or two thousand and fifty-three (2,053)

developed mild, moderate, or severe COVID-19 disease within 2 months of the Ist or 2nd

mRNA nanoparticle injection.*

“© Pfizer Website. “Unlocking the Power of our Body’s Protein Factory” Pfizer Websitevisited June 28, 2023.
https://www.pfizer.com/news/behindthe-science/unlocking-power-our-bodys-protein-factory

Pfizer Website. “Turning Your Bedy into Medicine Factories” Pfizer Website visited Aine 28, 2023,
https://www.pfizer.com/news/behind-thescience/how-once-little-known-molecuie-disrupting-medicine

47 Banoun H. “mRNA: Vaccine or Gene Therapy? The Safety Regulatory Issues.” International Journal of Molecular

Sciences. 2023; 24(13):10514, https://doi.org/16.3390/ijms24 13 10514

48 Pfizer Inc., BioNTech, initial new drug (IND) application. “A Phase 1/2/3, Placebo-Controlled, Randomized,
Observer-Blind, Dose Finding Study To Evaluate The Safety, Tolerability, hnmunogenicity, And Efficacy Of Sars-
Cov-2 Rna Vaccine Candidates Against Covid-19 In Healthy Individuals.” PF-07302048 (BNT162 RNA-Based
COVID- 19 Vaccines) Protocol C4591001; Apr 2020.

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117. In addition, 19 (0.1%) deaths were reported by Defendant Pfizer within 3
days - 142 days (less than 4 months) post- Pfizer mRNA nanoparticle injections in previously
healthy human subjects per Defendant Pfizer’s May 18, 2021, post-hoc analysis.”

118. The rotovirus vaccine (RotaShield) was pulled off the US market in 1999
due to five cases (0.05%) of respiratory infection among 10,054 pediatric vaccine recipients.°°

119. The manufacturers of the COVID-19 nanoparticle injections NEVER
submitted clinical trial evidence demonstrating clinically and statistically significant protection
against; infection, symptomatic illness, medically attended illness, including emergency
department and urgent care visits, or severe illness, including hospitalization and death, but did
submit clinical data demonstrating an increased risk of heart inflammation, vaccine-related
enhanced respiratory disease, and vaccine related enhanced autoimmune diseases per Defendant
Pfizer’s August 23, 2021 Defendant FDA approval and Defendant Moderna’s January 30, 2022,

Defendant FDA approval.>!

Gruber M. (Dir CBER/OVRR)}, Naik R., Smith M., Wollersheim S., Huang L., et al. Pfizer Inc. on behalf of Pfizer
and BioNTech; “Emergency Use Authorization (EUA} for an Unapproved Product.” Review Memoranduin; Nov
2020. https://www.fda.cov/media/144416/download

Polack F., Thomas S., Kitchin N., et al. for the C4591001 Clinical Trial Group; “Safety and Efficacy of the
BNT1I62b2 mRNA Covid-19 Vaccine” New Engl ] Med; Dec 10, 2020; 383:2603-2615.
https:/Avww.nejm.org/doi/full/ 10, 1056/nej7m0a2034577

49 Naik Ramachandra, PhD, Review Committee Chair, DVRPA/OVRR. BioNTech Manufacturing GmbH in
partnership with Pfizer, Inc. “COMIRNATY (BNT162b2): Active immunization to prevent coronavirus disease
2019 (COVID-19) caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 16
years of age and older” FDA Approval of the Biological License Application (BLA) for BNT162b2/COMIRNATY;
Submitted May 18, 2021. Reviewed November 8, 202. https://Avww.fda.gov/media/151733/download

5° CDC “Monitoring Vaccine Effectiveness.” CDC COVID-19 website visited June 29, 2023.
https:/Avww.cde.gov/coronavirus/20 19- ncov/vaccines/effectiveness/how-cdce-monitors. html

5} COMIRNATY Prescribing Information. Purple Cap. Dilute. April 2623.
hétps://labeling.pfizer.com/ShowLabeling.aspx?id= 15623

COMIRNATY Prescribing Information. Grey Cap. Do NOT dilute. April 2023.
https://labeling.pfizer.com/ShowLabeling aspx?id=1635 1

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120. The engineered nanoparticles in the COVID-19 injections are
nanotechnologies designed to force human cells to preduce disease causing pathogens known as
spike proteins, spike proteins that are established lab-made pathogens that cause disease,
disabilities, and death per dozens of scientific and clinical publications, abstracts, and patents as
well as Defendant Pfizer’s internal documents and website.>*

121. Dark field live blood analysis demonstrated that not only are hydrogels,
which is programable matter, and evidence of nanotechnologies present in the blood of the
vaccinated, they are also present in the blood of the unvaccinated due to shedding of this
technology. Approximately 73% of embalmers are reporting white fibrous blood clots never seen
before. These biosynthetic blood clots are now being seen in children and infants and appear to

grow post mortem.?

SPIKEVAX Prescribing Information, November 2022. https:/Awww.fda.gov/media/155675/download

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Study No. 185350 Sponsor Reference No, ALC-NC-0552. Nov 9, 2020.
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3 Rvidence of Crimes Against Humanity - Darkfield Blood Microscopy. Video Presentation of evidence by Ana

Mihalcea, M.S., PhD. (August 2023) https://rumble.com/v307b3m-evidence-of-crimes-against-humanitydarkfield-
blood-micrescopy. html ?mref=6zof&mrefe=2

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122. The engineered nanoparticle technologies (aka vaccine nanotechnology) in
the COVID-19 mRNA injections are patented for use as a nanocarrier of an ‘agent of
biowarfare,’ per US Patent Number 9539210, Vaccine Nanotechnology.”

123. COVID-19 injections containing engineered mRNA nanoparticle
technologies meet the legal definition of biological weapons see Biological Weapons 18 USC §
175, “which is a biological agent, toxin and/or delivery device for use other than prophylactic
(preventative), protective, bona fide research, or other peaceful purpose.”

124, Studies estimate that COVID 19 injections caused over 17 million dead
worldwide, and estimates as high as approximately 600 million dead and injured worldwide.»

125. Doctors are reporting that in addition to other diseases and disorder, that the
evidence indicates that all those that received COVID injections have developed an autoimmune

disease.*°

Interview by video with Retired Major Thomas Haviland via video (1/3 1/2024) National Survey of Embalmers.
https://josephsansone,substack, com/p/major-thomas-haviland-on-mind-matters

Interview by video with Embalmer Richard Hersman and Ana Mihalcea, M.D., PhD. (2/15/2024). While Fibrous
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54 NIH Patent for “Vaccine Nanotechnology” US 9,539,210 B2 Jan 10, 2017.
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* Rancourt, Denis G., et al. "COVID-19 vaccine-associated mortality in the Southern Hemisphere." Correlation
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Interview by video with James Thorp, M.D., (December |2, 2023) Estimates, approximately 602 rnillion dead and
injured worldwide. https://twitter.com/VigilantFox/status/!734759332804 | 82240?ref_src=twsre
%S5Etiw%7Ctwcamp5 Etweetembed%7CtwtermS5E | 734759332804 1822

40% 7Ctwer%5E980b9b38569b4 af08 974 [613 1d5903 60dbbI08d%7Ctweo

n%S5Esl &ref_url=https%3A%2F%2Fwww.thegatewaypundit.com%2F202 3%2F12%2Fthis-is-unprecedented-
injury-kill-ratio-dr-james%2F90

*¢ Interview by video with Marivic Villa, M.D. Status of 2000 pins COVID 19 injection patients/victims
(12/27/2023) https://josephsansone.substack.com/p/dr-villa-on-mind-matters-and-everyth ing

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126, Remdesivir for Ebola Preclinical data Remdesivir was first identified during
a broad screening for compounds with activity against emerging viruses. The original screening
program was primarily geared toward identifying candidates that could inhibit RNA viruses,
namely Coronaviridae and Flaviviridae. Subsequent to the 2013-2016 EVD outbreak in West
Africa, some previously screened compounds were further investigated against EBOV.
Remdesivir was observed to have high potency against EBOV across multiple cell lines, with an
anti-EBOV half maximal effective concentration (EC50) of 0.086 uM in human macrophages.
Remdesivir was chosen for continued clinical development based upon its potency and a
chemical structure amenable to rapid scale-up. The first in vivo efficacy evaluation was
completed in an non-human primate (NHP) model of EVD. In the NHP EVD model, previously
healthy rhesus monkeys received an intramuscular inoculation of EBOV, which results in death
after a clinical course mimicking human EVD. NHP was challenged with EBOV followed by
receipt of various remdesivir dosing regimens. The time from inoculation to remdesivir
initiation varied between study groups (as soon as 30 minutes after viral challenge and up to 3
days after viral challenge), Lower doses (3 mg/kg daily) demonstrated a measurable antiviral
effect with survival rates between 33 and 66%. However, higher doses were most promising,
with 6/6 NHP surviving after receiving remdesivir 10 mg/kg daily starting on day 3. This was the
first report of a molecule providing post-exposure protection from EVD and supported the
further evaluation of remdesivir in human EVD.

127. A randomized multi-intervention trial was later conducted during the EVD
outbreak in the DRC, Patients of any age, including pregnant women, were eligible for
enrollment if they tested positive for EBOV. Patients received standard supportive care along

with an assignment to one of four treatment arms in a [:1:1:1 ratio. Study treatments included

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ZMapp (a triple monoclonal antibody), MAb1 14 (a single human monoclonal antibody derived
from an Ebola survivor), REGN-EB3 (a mixture of three human immunoglobulin G1 [IgG1]
monoclonal antibodies), and intravenous remdesivir, Remdesivir was administered at a dose of
200 mg on day 1, followed by 100 mg daily for 9-13 days. Weight-based doses were used for
pediatric patients. The primary outcome was mortality at day 28. Nearly 700 patients had been
randomized when an interim analysis led to early cessation of the trial. The data and safety
monitoring board found higher mortality in the ZMapp and remdesivir groups compared to the
MAbI1 14 and REGN-EB3 groups. Further, the REGN-EB3 group had met a prespecified
threshold for efficacy. A total of 673 patients were included in the final analysis. The mean age
of enrolled patients was 29 years and 56% of patients were women (6% of whom were
pregnant). At day 28, mortality rates were: remdesivir (53.1%), ZMapp (49.7%), MAb114
(35.1%), and REGN-EB3 (33.5%). For remdesivir, 85 and 29% of patients with high- and low-
viral loads at baseline died, respectively.

128. Further showing that Defendants has the deliberate and willful act of
genocide is vaccines for babies. The United States has highest infant, Maternal Mortality rates
despite the most health care spending. Of all countries in 2020, the United States possessed the
highest infant mortality rate at 5.4 deaths per 1000 live births, which is markedly higher than the
1.6 deaths per 1000 live births in Norway, which has the the lowest mortality rate. United States
maternal mortality in 2020 was over 3 times the rate in most of the other high-income counties,
with almost 24 (23.8) maternal deaths for every 100,000 live births.

129. This is due to Vitamin K. shots that have Polysorbate 80 which is harmful to
babies was linked to infertility. Vitamin K shots also have aluminum, 100 mcg/L and coupled

with the Hepatitis B shot which has 250 mcg/L of aluminum, thereby giving a baby 350 mcg/L

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of Aluminum in the body, Aluminum is a known neurotoxin and goes straight to the vital organs
of a baby, giving rise to the highest mortality rate for babies.

130. So the COVID “Conspiracy Theory” was a Reality. There is so much
evidence that the COVID shots damage cognition. This was deemed a “conspiracy theory,” but
now the data backs it up.

131. A study from South Korea showed the COVID-injected experienced: 68%
rise in depression; 44% surge in anxiety and related disorders; 93.4% increase in sleep disorders;
A staggering 138% jump in mild cognitive impairment and a 23% rise in Alzheimer's disease.
Millions of health records were analyzed for this study, comparing vaccinated versus
unvaccinated groups over a three-month period.

132. Plaintiffs would claim that Hospitals throughout the United States Murdered
COVID Patients. This was a known fact by Defendants Biden, Harris, FDA, CDC, Green, Roth,
Bissen, Kawakami, Blanglardi, Fauci, Austin, US Military, Cohen, Walensky, NIAID, CDC,
WHO, Pfizer, J&J, Project Veritas, Moderna, AMA, Ige and HIDOE. The more they killed, the
more money they made. Aside from ventilators, the death protocol of choice was Defendant
Fauci’s pet drug, Remdesivir. “Remdesivir is so iethal it got nicknamed “Run Death Is Near’
after it started killing thousands of Covid patients in the hospital,” wrote Stella Paul in a previous
report,

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CHEMTRAILS - GEOENGINEERING

133. For decades, it has been known that heavy metals and chemicals can cause
grave physical harm. Going back to Rachel Carson’s “Silent Spring,” it has known and been

amply warned of the serious consequences of using or being exposed to these poisons in

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Plaintiff's daily activities. Thousands of these are well-documented carcinogens. At all times
Defendants Biden, Harris, Blinken, Austin, US Military, FAA, EPA, Alaska Airlines, American,
Delta, Hawatian, Southwest, United, Go Mokulele, FedEx Express, UPS, WestJet, Japan, Air
Canada, US Airways, Virgin America Inc., Southern Airways Express, State of Hawaii knew or
should have known that such poisons were being released into the skis,

134, Building on Carson’s ground-breaking research, it is also known that certain
kinds of chemicals can and do disrupt human [and other animals’| entire immune system. Going
back 30 years, researchers were investigating what became known as endocrine [hormone]
disrupting chemicals and how they were affecting frogs [who sometimes had five legs or
hermaphroditic characteristics], other aquatic animals, and mammals. These animals were the
proverbial canaries in the coal mine, In another pioneering book, “Our Stolen Future,” authors
Dr. Theo Colburn, Dianne Dumanoski, and John Peterson Myers clearly demonstrate that 1 + 1
hormone-disrupting chemicals did not equal 2. Rather, in a nightmare of mathematical
proportions, these poisons acted synergistically; and 1+1 could equal up to 1,600 times the
original dose. Plaintiffs are also exposed to more than 100,000 chemicals regularly. Most of
them have never been tested for human safety. So, almost nothing has been done to reduce
human exposure to a myriad of hazardous chemicals, In fact, over the past decade, the Bush
administration dismantled many environmental laws in existence for 30 years, to let corporations
off the proverbial hook, [Just look at what’s unfolded in the Gulf with the BP oil spili.]

135. Although this information, on the dangers of hormone disruption, is now
more widely available on Internet sites, it still is not well known by the average person who gets

news mostly from mainstream media.*’ Most of these highly toxic chemicals are invisible; and,

57 See: www.ourstolenfuture.org

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therefore, are easily off our collective radar. With the high stress level created by the deliberately
orchestrated financial! crisis --where millions have lost their jobs and homes— a
degraded/collapsing environment or serious health problems are not priorities —especially, if very
little is reported in mainstream news. This disaster scenario is part of the larger picture of what
Naomi Klein writes about in her book “The Shock Doctrine. We have so many major crises, one
after another, that it is hard just to keep up with one’s daily routine let alone have time to read
and consider the toxicological health ramifications of massive amounts of thousands of heavy
metals and chemicals that have poisoned our entire food chain and, thus, our own supposed
health. We are at the very top of this wrecked food chain.”

136. Now, however, there is another far more msidious layer of toxicity that is not
being addressed at all in any mainstream, corporate-controlled news, and it is affecting our very
survival. It is, however, being addressed more and more by independent researchers who have
supporting evidence to back up their Internet reports.

137. For more than a decade, Plaintiffs and United States citizens have been
subjected to a 24/7/365 day aerosol assault over our heads made of a toxic brew of poisonous
heavy metals, chemicals, and other dangerous ingredients. None of this was reported by any
mainstream media, Defendants US Department of Defense [DOD] and Defendant military have
been systematically blanketing all our skies with what are known as Chemtrails (also known as
Stratospheric Aerosol Geoengineering).*® Alone with all Defendants Alaska, American, Delta,
Hawaiian, Southwest, United, Go Mokulele, Fedex, UPS, Westjet, Japan, Air Canada, US

Airways, Virgin American, Southern Airways, Airlines, acting in a conspiratorial action by

58 Seo Michael J. Murphy. “What in the World Are They Spraying?” March 3, 2010:
www.counercurrents.org/murphy0303 1 0.him; and G. Edward Griffin, “Chemtrail vs. Contrail” April 14, 2010:
www. youtube, com/watch?v=1s WpSPBwA-w

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subjecting Plaintiffs to life threatening health hazards. These differ vastly from the usual plane
contrails that evaporate rather quickly in the sky, Chemtrails do not dissipate. Rather, planes
(fitted with special nozzles) release aerosols “lines” in the sky that do not evaporate. Multiple
planes are deployed, flying parallel (or often “checkerboard” patterns) overhead; and soon the
sky is blanketed with many grayish-white lines [miles and miles long, although this is changing].
At first, these lines are thin; but soon they expand and, in a short time, merge together. Our once-
blue sky has vanished and has been replaced by a grayish-white toxic haze that blots out and
greatly diminishes our usual sunshine.

138. Defendants Military and Alaska, American, Delta, Hawaiian, Southwest,
United, Go Mokulele, Fedex, UPS, Westjet, Japan, Air Canada, US Airways, Virgin American,
Southern Airways, commercial planes are involved in more than 60 secret operations. Plaintiffs
have flown across the country, seeing a various Defendants Airlines jet spraying a black and
white aerosol that went for miles and miles across the sky. This clandestine program now
includes aerosol-spraying planes in throughout the United States, in fact it is done in all NATO
countries, Defendants Biden, Harris, Austin, US Military, FAA, EPA, Alaska, American, Delta,
Hawaiian, Southwest, United, Go Mokulele, Fedex, UPS, Westjet, Japan, Air Canada, US
Airways, Virgin American, Southern Airways, are aware of this illegal and life-threatening
actions, yet fail to do anything to stop it a deliberate cover-up. No one is held accountable, while
United States citizens and Plaintiffs continued to be poisoned daily. Plaintiffs have also
witnessed this spraying while on land, looking up watching such spraying of dangerous aerosol
in the sky. This ts not the first time, however, that citizens are being used as experimental
laboratory test subjects, The US government and Defendant Military have a very long and sordid

history of using us, without informed consent, in this illegal manner. As Carole Pellatt notes:

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“The U.S. military has been spraying chemical and biological weapons in open air testing
over civilian populations since the 1940’s, They are called “vulnerability tests”. This is
not a controversial statement. The military has admitted to this practice on many
occasions and there’s plenty of documentation from the government to corroborate it.
There is also documentation of intentional, experimental releases of radiation on civilian
populations, Unfortunately, this information tends to surface long after it could have
saved lives, or eased the suffering of victims.”

139, Over the past decade, independent testing of Chemtrails around the country
has shown a dangerous, extremely poisonous brew that includes: barium, nano aluminum-coated
fiberglass [known as CHAFF}, radioactive thorium, cadmium, chromium, nickel, desiccated
blood, mold spores, yellow fungal mycotoxins, ethylene dibromide, and polymer fibers. Barium
can be compared to the toxicity of arsenic.°° Barium is known to adversely affect the heart.
Aluminum has a history of damaging brain function. Independent researchers and labs continue
to show off-the-scale levels of these poisons. A few “anonymous” officials have acknowledged
this on-going aerosol spraying.°!

140, Numerous tests have been done to verify that these poisons are off the scale
in their toxicity. They are documented in our water, in our soi, and in our air. For more than 10

years, researcher Clifford Carnicom has been valiantly and systematically reporting on the

various detrimental aspects of these aerosols —and what they are doing to our entire environment,

» Carole Pellatt, Connections, “What’s going on in the air? Yes, we are being sprayed.” Aug, 8m 2007:
http://homepage.mac.com/carolepellatt/yeswearebeingsprayed; and
http://homepage.mac.com/carolepellatt/(MA TRIX/INDEXCHEMTRAILS html

See Pesticide Action Network North America [PANNA]:
http:/Avww.pesticideinfo.org/Detail_ Chemical.jsp?Rec_Id=PC41 174

5! March 12, 2010: www.lightwatcher.com/chemtrails/text/faa_confirms_ Chemtrails. An interesting conference at
the University of California, San Diego [UCSD], “Atmospheric Aerosols: Health, Environment, and Climate
Effects” addresses some of the cardio-vascular increases due to “atmospheric aerosols” but these academics never
use the word Chemtrails. Yet, satellite photos they show clearly indicate the atmospheric impact of Chemtrails, See:
Jan. 31, 2008: UCSD: www. youtube.com/watch?v-ztHV5RF-xyw

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as well as our blood. Various “sky watch” groups also have been carefully documenting and
diligently reporting about these daily assaults.

141. With all these poisons surrounding our every breath, it is not surprising to
see a dramatic increase in illnesses. There are numerous reports of the increase in cardiac deaths
and upper respiratory illnesses (asthma, chronic bronchitis, lung cancer, and often multiple
chronic illnesses). Chemtrails toxicity has already dramatically affected our deteriorating
“collective health.” The significant increase in heart disease and various upper respiratory
illnesses has been linked to a vast increase in “particulate matter” in our air. This can be seen by
some revealing statistics:

1. Coronary heart disease is now the leading cause of death in the US.
According to the CDC, in 2006, 631,636 died of heart disease. This means 1
out of every 5 Americans are affected,

2. In Canada, every seven minutes someone dies of heart disease.

3. Asthma and upper respiratory illnesses. Between 100-150 million people
suffer from asthma worldwide. In the US, 16.4 million adults have asthma and
7 million children have it. Chronic bronchitis and emphysema: 9.8 million
Americans were diagnosed with chronic bronchitis this past year; for
emphysema the figure is 3.8 million. Total: 37 million Americans afflicted.

4, In Canada, 2.4 million have been diagnosed with asthma.

5. Particulate matter in air pollution. Particulate matter [PM] consists of tiny
particles LO microns or less, [1 micron is about 1/70 the thickness of a single
human hair.] These particles can lodge in the deepest part of your lungs; and
over a period of time, they can damage lung function. This kind of pollution,
that we breathe daily, can and does cause various upper respiratory illnesses,

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® For numerous detailed reports, see: www.carnicom,com; www.carhicominstitute.org; www.bariunblues,com; and
Dr. Marijah McCain. “Chemtrails and Barium Toxicity.” April 6, 2002; www.rense.com/general? | /tox.htm:;
Material Safety Data Sheet, University of Utah: www.chemtrails9 1 1.com/docs/bariumhealth.htm. This last cited
website is very outdated. It does not address the increased amounts of barium now found in our air. Additional info:
“Local News Station Confirms Barium in Chemtrails.” Nov. 10,2007: www.youtube.com/watch?v=okB-48916MI

® See: www. newyorkskywatch, com; www.californiaskywatch.com; www.arizonaskywatch.com
“+ Heart Disease Facts, CDC; www.cdc.gov/heartdisease/facts htm
& www, heartandstroke.com/site/c. /KIOLCM WJtE/b.348399 1/k.34A8/Statistics. htm#heartdisease

6° Asthma. CDC: www.cde.gov/nchs/fast ats/asthma.htm; and chronic bronchitis and emphysema: CDC:
www.cde.gov/nchs/fastats/copd.him

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coronary heart disease, and premature aging and death. Particulate matter can
also exacerbate any existing illness.°’ Unanswered questions: Does hazardous
particulate matter act in synergistic ways in human bodies (as do endocrine
disrupting chemicals)? How does PM affect millions who already have
multiple chronic illnesses?

A, Brain Injury

142, Even with the increases in preventable illnesses, the issue that has not been
linked or addressed —with what Clifford Carnicom rightly calls “aerosol crimes’— is the
deterioration of cognitive function. The human immune system is already under siege daily; and
this has resulted in millions (possibly billions) of people with not just one illness, but often
multiple ones. The skin, the largest organ in our body, is a permeable membrane. This means that
invisible toxins in our air, including Chemtrails and other highly dangerous chemicals, go right
into our skin. Poisoned rainwater (or snow touching our skin) does the same thing. When the air
we breathe is filled with a dangerous assortment of toxins, with each breath we take, these
poisons assault our entire immune system. These poisons also affect our brain and, thus, our
cognitive function.

143. Aluminum is a major component in these aerosols. Although it is our
planet’s most abundant metal, our body has no biological need for it. Pesticide Action Network
North America [PANNA] lists it as “toxic to humans, including carcinogenicity, reproductive
and developmental toxicity, neurotoxicity, and acute toxicity."** Yet, aluminum is commonly
used [this is a very short list] in vaccines, deodorants and anti-perspirants, over-the-counter

medications, soft drink and beer cans [aluminum leeches from the cans], baking powder, cake

§7 Rosalind Peterson’s report: “The impacts of air pollution on health.”
wwwwww.californiaskywatch.com/health_issues.htm

68 PANNA: www. pesticideinfo.org/Detail_Chemical.jsp?Rec_Id=PC33881

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mixes, processed cheeses, and other food products and additives. Over years, aluminum
accumulates in the brain, tissues, and to a lesser amount the bones. It causes brain degeneration,
dysfunction and damage —due to the blockage and reduced blood flow and oxygen of brain
arteries. The brain shrinks, as brain cells die. This causes dementia. Symptoms include:
emotional outbursts, paranoia, forgetfulness and memory loss, speech incoherence, irritability,
diminished alertness, changes in personality, and poor/bad judgment. All these are on the rise, as
more than 4-million Americans are afflicted. Brain deterioration and dementia take decades to
cause serious and visible harm. Eventually, however, dementia ts fatal. “Alzheimer’s” is now
being used incorrectly as a catch-all term for all kinds of dementia. Just a few days ago, the front
page of the New York Times had a headline: “More with Dementia Wander from Home.”
People afflicted with, what the Times terms “Alzheimer’s” were interviewed. One person
mentioned he “has a diagnosis of Alzheimer’s.” This is patently wrong. Alzheimer’s dementia
can only be accurately diagnosed after death when a post-mortem can be done. However, heavy
metals poisoning can be diagnosed through lab testing; but this is rarely done for basic check-
ups.

144, What is not addressed in this increase in dementia is the more than 10 years
of breathing Chemtrails with nano aluminum-coated fiberglass. Billions of tons have been
sprayed on us.

145. With all these sources of aluminum added to the air we breathe with each
breath; the cumulative toxicity is very high. Even in daily events, it is obvious —-to anyone who is
paying attention— that many people are behaving oddly. While it may be considered “anecdotal”

reporting, there are millions of people whose behavior is strange. There have been numerous

® May 4, 2010: www.nytimes.com/2010/05/05/us/0Ssearch.html?hpw

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times in just the past year when I have asked someone a question and received an answer that is
totally unrelated. There have been more and more uncontrolled outbursts in public areas:
someone “snaps” for no apparent reason. Violence levels are up. Look at all the shootings on
school campuses. There are more unexplained auto accidents that never should have happened.

146. Add to this already highly toxic body burden is the Defendant US military’s
use of aluminum in its aerosols. It is used because of its electrical conductivity, durability, and
light weight. The US Air Force reported in 1997 that it released “2 million, 6-7-ounce bundles of
CHAFF.” These are laid by military aircraft form 15-50 miles in length.’”® Another unanswered
question: Why is the USAF not releasing up-to-date figures?

147, A 2002 report notes that: “over the last 25 years, the Defendant US Navy
[has released from planes] several hundred thousand pounds of aluminized chaff during flight
operations over a training area on the Chesapeake Bay.””! If the Defendant Navy used hundreds
of thousands of pounds in just this small area of the US, what could be extrapolated for the
release of possibly billions of tons of nano aluminum by all the military divisions throughout the
US and Canada more recently than 2002? CHAFF is being stored that has lead in it. Has that
been released, without our knowledge, and added to these aerosols? What enormous, yet
invisible, harm has that created for all of the Plaintiffs,

148. Dr. Hildegarde Staninger reported in 2009 that “exposure to aerial emissions

of nano composite materials resulted in cholinesterase inhibition,””? The human body has three

114, See: Rosalind Peterson. “Public and federal agencies concerned about the potentially harmful or undesirable
effects of chaff on the environment.” www.californiaskywatch.com/documents/htmidocs/chaff goa, dod.htm]

1 “Effects of Navy chaff release on aluminum levels in an area of the Chesapeake Bay.” PubMed. US National
Library of Medicine. June 2002: www.nebi.nl.nih.gov/pubmed/12061831

% Sept. 7, 2009: www.hildegarde-staninger.com/exposure-to-acrial-emissions-html

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kinds of cholinesterase: for the brain, for plasma (manufactured by the liver), and red blood cells.
Some pesticides and nerve gases (such as VX, an organophosphate) inhibit cholinesterase. The
chronic inhibition of this enzyme (that normally circulates in red blood cells), caused by the
spraying of these Chemtrails aerosols [for weather modification, but also used for mosquito and
other insect eradication], causes chronic poisoning, This exposure causes severe neurological
disorders, including paralysis in humans.

149, In a ground-breaking 2003 online essay, Dr. Kaye Kilburn, asks: “Why is
Chemical Brain Injury Ignored?””? His article lists 13 concealed factors that affect our
willingness to believe that dangerous chemicals do affect the brain. They include:

1. “It’s all in your head” [meaning teal symptoms are ignored by allopathic
medicine].

2. Resistance to vulnerability [individuals, and society collectively, cannot
believe the brain is at risk].

3. The acceptance of mind-altering prescription drugs [such as Paxil} that can

and do affect the brain [millions are on anti-depressants —what long-term

damage does that also do to cognitive thinking?].

Chemical brain injury is considered not to be “an imminent threat.”

Competition from other serious threats [causing indifference or denial];

Delay in acknowledging health risks.

Economic interests [delaying tactics by big corporations are well known —

delay continues profits and ignores taking responsibility —We are all

expendable for corporate profits].

8. The field of neurology has been slow to consider causes [how many
independent researchers are left who do not have any ties to the
pharmaceutical/chemical companies?].

SAMS

150. In all these valuable reasons for not addressing this human crisis, the one that
Dr. Kilburn has not addressed directly is the chronic assault of breathing/absorbing these now
billions of tons of hazardous aerosolized chemicals and heavy metals over more than a decade

without our informed consent. When one does not look for or address primary causes, then other

® Kaye H, Kilburn. “Why is Chemical Brain Injury Ignored. Pondering Causes and Risks.” Editorial. Archives of
Environmental Health. March !, 2003: www.mindfully.org/Health/2003/Chemical-Brain-Injury lmar03.htm

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issues can be blamed. This, on top of a government’s silence or refusal to respond and the
corporate media’s complicity, make for an extremely dangerous combination that puts Plaintiffs
and all citizens in the US at grave and daily risk. As brain function is diminished, and other
things are blamed for it, any population is easier “to control.”

151. Dr, Kiburn’s research clearly shows that chemicals do affect and seriously
harm the brain [and, thereby, cognitive function]. Chemicals -especially a daily onslaught of
toxic chemicals over many year's— can damage our ability to think clearly. Even if we find this
hard to believe, the evidence is there. Dr. Kilburn has expanded this essay inte the first book to
research this: “Chemical Brain Injury” (published in 1998), Dr, Kilburn notes:

“The brain’s preservation represents the only possibility of survival for mankind. To
find in many parts of the country and in many individual patients that its function is
eroded seriously by chemicals, chemicals that have been introduced into the
environment basically in the last 50 years, is bad news indeed,”

152. It seems almost unbelievable that millions/billions of people could look up at
the sky and not notice the dramatic changes that have occurred from what it was, for instance, in
the mid-1990s. Then our sky was a gorgeous, deep blue. Clouds were a beautiful assortment of
shapes. The sun was glorious. But people under 30, may not have a real sense of recollection
about looking up every day and seeing this panoramic magnificence.

153, Principle in place.” It’s not the way the political game of deception works.

Precaution is not part of an equation that is broken from the beginning. Humans are gullible and

want to believe the Orwellian deceptions.

74 www.neuro-test.com/aboutKilburn/aboutkK burn. html

* Dr, Ilya Sandra Perlingieri. “Worldwide Environmental Crisis. Gone Missing: The Precautionary Principle.”
Global Research. Feb. 11, 2009: www.globalresearch.ca/index.php?context=vakaid=|2268

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154, If, however, millions of people are already on prescription pharmaceuticals
to “calm them down” [long term, what is this doing to their ability to think clearly?] and, in
addition, are breathing poisoned air rife with mind-distorting chemicals, then how clearly (f at
all) is anyone able to think? How can anyone feel well and safe, if the very air Plaintiffs breathe
is deliberately poisoned and is affecting our ability to think cogently? It is already evident that no
one in any official capacity is willing to tell the truth. It is like Diogenes, the ancient Greek,
searching for a truthful individual. No one seems to have the desire, or courage, or authority to
stop this massive poisoning, because it is the secret plan of the elite insiders to deliberate destroy
everything we once knew.

155, Our BASIC human rights, constitutional and international laws are mere
paper. These rights and laws have all been torn asunder by those in charge. It has been done by
stealth. We must organize peacefully. PEACEFULLY is the operative word. If these many-
pronged aerosol attacks by military and commercial planes can spray these horrific toxins on us,
year after year with impunity —against all laws— then it is absolutely imperative that we organize
peacefully. As Peter Dale Scott notes in Jason Bermas’ new DVD “Invisible Empire”: we must
use the Internet and our peaceful intellectual powers to come together and shut this nightmare
down. It is possible to do this,

156. Defendants Department of Defense and US Military commitment to achieve
Full Spectrum Dominance by 2020, the fact that the MoD and the US Air Force had the
capability to destroy an entire village with 90 million tons of rainfall as far back as the 1950s,
means we must take seriously the possibility that weather weaponization is being used, under the
cover of anthropogenic global warming (which is no doubt happening, but provides a perfect

cover for freak weather events). Defendant US Air Force 2025 think-tank stated in a long-term

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study that weather weaponization ‘provides opportunities to impact operations across the full
spectrum of conflict and is pertinent to all possible futures.’ Defendant US Air Force is counting
on the fact that ‘some segments of society will always be reluctant to examine controversial

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issues such as weather-modification.’’

B. A BRIEF HISTORY OF WEATHER WEAPONS

‘The nation which first learns to plot the paths of air masses accurately and learns
to control the time and place of precipitation will dominate the globe.’

157. So said General George C, Kenney, Commander of the US Strategic Air

Command, in the 1940s.”’ Soon after came Project Cirrus, the first explicit, military rainmaking
effort in the West.” Fifty years later, the United States Air Force, in collaboration with the
World Meteorological Office, had come a long way technologically. Under the Director of
Weather, the US Air Force operates a Deputy Chief of Staff for Air and Space Operations, who
oversees nine Operational Weather Squadrons, each of which has an assigned geographical Area
of Responsibility; the Air Force Weather Organization; the Air Force Weather Agency; the 55th
Space Weather Squadron; the Air Force Combat Climatology Center; and the Air Force Combat
Weather Center. Continental United States Operational Weather Squadrons ‘are also responsible
for CONUS [Continental US] regional weather support. They produce and disseminate terminal

forecasts, weather warnings and advisories, planning and execution area forecasts, and other

% Col. Tamzy J. House, Lt. Col. James B. Near, Jr., LTC William B. Shields, Maj. Ronald J. Celentano, Maj. David
M. Husband, Maj. Ann E. Mercer, Maj. James E. Pugh, ‘Weather as a Force Multiplier: Owning the Weather in
2025’, Air Force 2025, August 1996,

7 Kenney quoted in James R. Fleming, ‘The Climate Engineers: Playing God to Save the Planet’, Wilson Quarterly,
Spring, 2007, p. 55.

78 Arnold A, Barnes, ‘Weather Modification: Test Technology Symposium 797: Session B: Advanced
Weapons/Instrumentation Technologies’, Air Force Materiel Command, 19 March 1997,

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operational products to Combat Weather Teams’, the US Air Force explained over a decade
ago.”

158. Collectively, these unit staff are known as the ‘weather warriors’, who
ensure that fighter jets can take off, fly, and land, and they often accompany the Air Force —
equipped with mobile weather stations —— into combat zones. The US Navy has a comparable
amount of weather units. Given the dependence on weather information of the Department of
Defense, and, increasingly, the Space Command, the Woodrow Wilson Center’s James R.
Fleming observed that ‘it is virtually impossible to imagine that the world’s powers would resist
the temptation to explore the military uses of any potentially climate-altering technology.’®
Indeed, the US Air Force 2025 think-tank of the Air War College explained in 1996:

‘A global network of sensors provides “weather warriors” with the means to
monitor and accurately predict weather activities and their effects on military
operations. A diverse set of weather modification tools’.

- which they hoped to have ready by 2025 (if they haven’t already) —

‘allows manipulation of small-to-medium scale weather phenomena to enhance
friendly force capabilities and degrade those of the adversary’ (emphasis added).*!

160. These ideas are hardly new, and neither is the technology to induce floods or
droughts. What is new, however, is the electromagnetic weaponry available to do these things on
a global scale, and to accurately plot global weather patterns using a complex array of network-

centric weather stations and, in the future, space-based thermal lasers.

® 12 United States Air Force, ‘Department of Defense Weather Programs’, undated, circa 1999
® Fteming: see note 67.

Lt, Col. Jack A. Jackson, Jr. et al ‘An Operational Analysis for Air Force 2025; An Application of Value-Focused
Thinking to Future Air and Space Capabilities’, Air Force 2025, May 1996.

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161. In 1945, the mathematician and later US government advisor, John von
Neumann, predicted ‘forms of climatic warfare as yet unimagined’.* In 1948, Fortune magazine
reported that the US:
‘Army, Navy and Air Force are spending close to a million dollars a year on
weather modification and their tremendous interest suggests that military
applications extend far beyond visiting a few showers upon an enemy. It does not
require a sharp mind to figure out that wartime storms might readily be infected
with virulent bacteriological and radiological substances.’*
162. The US Air Force (USAF) reported over a decade ago that their Boundary
Layer Meteorology and Aerosol Research Branch:
‘conducts a research program in the micrometeorological processes and structure
of the atmospheric boundary layer. This program focuses on the interaction of the
land-air interface with wind fields, turbulence, and fluxes and on optical methods
of detection of aerosols (primarily chemical-biological agents) and the modeling
of their transport and dispersion in the tactical environment’ (emphasis added).™4
163. This suggests that the USAF is spraying the American public with biological
and chemical agents in order to test the efficacy of satellite detection —- something that activists
call chemtrails.®° In a 2005 Parliamentary debate, David Drew MP asked the then Secretary of

State for Rural Affairs to ‘look into the polluting effects of chemtrails for aircraft’ in the UK.°¢

US Congressman Dennis Kucinich’s Space Preservation Act (2001) also mentions chemirails by

82 15 ‘Perhaps more dangerous than nuclear war itself’, Spencer Weart commented in his ‘Environmental Warfare:
Climate Modification Schemes’, Global Research, 5 December 2009.

83 ‘Case Study 2: Weather Modification: The Evolution of an R&D Program into a Military Operation’, United
States Military, undated, p.4, archived.

* United States Air Force, ‘Department of Defense Weather Programs’, undated, circa 1999.
*5 For this author’s experiences with chemtrails.
86 David Drew MP, ‘Part 1; Written Questions for Answer on Wednesday 2 November 2005, House of Commons,

Session 2005—06 Publications on the internet’, The Questions Book, Paragraph 124, Questions for Oral or Written
Answer Beginning on Wednesday 2 November 2005.

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name.*? Although the US Air Force dismisses the phenomenon as ‘a hoax’ ,** declassified
records show, however, that the MoD did the same thing to the British public from 1940 through
to 1979,

164. The Fortune magazine quote above concerning biological substances
strategically placed in storm cells has resonance with the Lynmouth floods of the 1950s. The
Guardian reported that the MoD also experimented with putting radiological substances into the
clouds ~~ what they would call a ‘dirty bomb’ today.°” More recently, Dennis M. Bushnell gave
a talk to NASA in which he outlined plans for dispersing airborne viruses, such as Ebola and
new, specially engineered nanoviruses.”!

165, In 1953, after Lynmouth had been destroyed, the US established the
Presidential Committee on Weather Control, the director of which, Navy Captain H.T. Orville,
said that ‘If an unfriendly nation gets into a position to control the large-scale weather patterns
before we can, the results could be more disastrous than nuclear warfare.’ He went on to claim
that the Soviets had developed technologies designed to melt the polar icecaps; and it is true that

for decades Russia has experimented with ionospheric heating.” The latter may well be being

"7 Dennis Kucinich, ‘The Space Preservation Act (2001}’, United States Library of Congress, HR 2977 IH, ist
Session, 2 October, 2001.

48 United States Air Force, ‘Contrails Facts’, undated, AFD-051013- 001.
8° Antony Barnett, ‘Millions were in germ war tests’, The Observer, 21 April, 2002,
°° John Vidal and Helen Weinstein, ‘RAF rainmakers “caused 1952 flood” *, Guardian, 30 August 2001,

*l Dennis M. Bushnell, ‘Future Strategic Issues/Future Warfare [Circa 2025]’, NASA Langley Research Center,
undated.

» Orville cited in ‘Case Study 2’ (see note 73) pp. 4-S.

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used today in order to ‘liberate shipping and open potentially vast oil and mineral deposits for
exploitation’, according to James R. Fleming.”

166. Just as America has been deliberately provoking a race to weaponize space
under the pretext of preventing ‘a space Pearl Harbor’, evidence has emerged that the US has
been weaponizing the weather under similar pretexts. “The lowest price for procrastination in this
regard (immediate establishment of a rigorous atmosphere research program) will be political,
economic, social and military paralysis’, a US Navy report alleged in 1960, concluding that ‘The
highest price will be absolute obedience to the leaders in the Kremlin.” Henry G. Houghton, a
meteorologist at MIT, told the US Department of Defense in 1960 that ‘An unfavorable
modification of our climate in the guise of a peaceful effort to improve Russia’s climate could
seriously weaken our economy and ability to resist.’ This was echoed in a Congressional hearing
which claimed to ‘know that the Russians are devoting great energy and scientific talent to
learning how to control the weather. It is urgent that the United States not fall behind in this
race.’

167. America’s Rear Admiral Luis De Florez reiterated in the early 1960s the
importance of weather control on ‘the operations and economy of an enemy [which] could be
disrupted,’ Such control ‘in a cold war (sic) would provide a powerful and subtle weapon to
injure agricultural production, hinder commerce and slow down industry.’ (emphasis added)”* In

the 1960s, it was realized that ‘Large-scale weather control techniques might be used to cause

extensive flooding in strategic areas or even to bring a new “ice age” upon the enemy’, the US

3 Fleming, see note 67, p. 48.
4 These quotations ate from ‘Case Study 2’ (see note 73) pp. 5-8.

* Florez cited in Fleming (see nofe 67) p. 55.

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Navy reported, concluding that ‘some exploratory research has been conducted on ways to
change the heading of major storms.’ (emphases added),°

168, This drive Jed to the storm modification programmed, allegedly undertaken
for the benign use of slowing down major storms, called ‘Project Stormfury’.®”

169. There is no such claim of climate change, but it is the weather manipulation
by Defendants and other countries. Tax payer’s money that is used for the so called climate

change is a fraud, and miss use of Tax payer’s money.

C. Historical Use

170. In 1962, the Pentagon’s Advanced Research Projects Agency (ARPA, now
DARPA with ‘Defense’ tagged on) initiated a classified project entitled Some Upper
Atmosphere Aspects of Chemical Geophysical Warfare. A year later, the CIA began a cloud
seeding operation designed to rain off Buddhist protests in Saigon. It was later revealed to be a
common practice by the US in Indochina. By the end of the decade, continuing the excuse of
needing to prevent a ‘weather Pearl Harbor’, ARPA launched ‘Project Nile Blue’, with the stated
aim of researching weather modification, because ‘it now appears highly probable that major
world powers have the ability to create modifications of climate that might be seriously
detrimental’ to America.”

171. Jimmy Carter’s National Security Advisor, Zbigniew Brzezinski, reiterated

that the emerging ‘techniques of weather modification could be employed to produce prolonged

% ‘Case Study 2 (see note 73) p. 8.
°? See, of the many examples on the Net.

8 «Case Study 2’ (see note 73)

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periods of drought or storm’,”? about which the Vietnamese knew all too well. After the
Pentagon Papets leak, Seymour Hersh revealed in the New York Times that America had been
manipulating the weather in Vietnam in order to cause floods. The project was also employed in
several other countries and codenamed ‘Operation Popeye’ (also ‘Intermediary’ and
‘Compatriot’). The US Air Force also confirmed that ‘Positive results during this initial program
led to continued operations from 1967 to 1972’, which ‘resulted in a significant reduction in the
enemy’s ability to bring supplies into South Vietnam along the trail.’!°

172. Weather modification was not limited to enemy territories. ‘[A] 1972 U.S.
government rainmaking operation in South Dakota was followed by a disastrous flood, and came
under attack in a class-action lawsuit. One cloud-seeding airplane was even shot at’, Spencer
Weart reported.!°! In Rogue State, William Blum noted how the US also tried to flood Cuba’s
harvests with weather weapons.!

173. According to James Fleming, ‘Operation Popeye’ was not limited to
Vietnam: it also flooded Laos, India, Pakistan, the Philippines, Panama, Portugal, and
Okinawa.! The goals were: ‘(1) Softening Road Surfaces (2) Causing Landslides Along

Roadways (3) Washing out River Crossings (4) Maintain[ing] Saturated Soil Conditions beyond

the Normal Time Span’. !4 Does this sound familiar? This is what we are witnessing across the

°? Brzezinski cited in Michel Chossudovsky, ‘The Elephant in the Room at Copenhagen: Washington’s New World
Order Weapons Have the Ability to Trigger Climate Change’, Global Research, 4 January 2002.

100 Col. Tamzy J. House et al. See note 66.
91 See note 72.

102 William Blum, 2000, Rogue State: A Guide to the World’s Only Superpower (Maine, Common Courage Press,
2000), p. 109.

'03 Fleming: see note 67.

f “Case Study 2° (see note 73) p. 28

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world (mostly in Third World nations) today. Mudslides are particularly affecting America’s
‘backyard’, as Nixon called Central and South America, with devastation in Colombia, Brazil,
Venezuela, and other emerging economic and political threats to US hegemony.

174. Referring to weather modification in general, ‘the effects of these uses on

men, animals, and ecology in general are much milder and more transient than those of guns,
bombs, defoliants, and napalm’, US Secretary of Defense James Schlesinger informed the Pell 2
|

Committee in 1974, adding, ‘there is reason to argue for the use of localized weather

modification where possible, as a humane replacement for modern weaponry,’!®

175, The Red Cross did not agree with Schlesinger’s assertion about the nicety of
weather warfare. In 1974 it held a conference in which it was stated that:

‘The expert who put forward the subject of geophysical warfare for consideration
stated that it included such activities as the modification of weather or climate and
the causing of earthquakes. He stated that man already possessed the ability to 2
bring about on a limited scale certain geophysical changes for which military |
applications were conceivable, In his view these would inevitably be
indiscriminate, and could give rise to unforeseeable environmental changes of

prolonged duration.’!°

D. Weather Modification Today?

176. The World Meteorological Organization, the UN Environmental

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Programmed, and the World Health Organization have each confirmed that since 2000, hydro-
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meteorological phenomena, or water-related weather disasters, have reached record heights;!°”

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|
105 Schlesinger cited in ‘Case Study 2” (see note 73) p. 28 |
0% Tnternational Committee of the Red Cross, ‘Conference of Government Experts on the Use of Certain |
Conventional Weapons’, Lucerne, 24.9, 18 October 1974, Geneva: ICRC. |
107 World Meteorological Organization, 2006, Preventing and mitigating natural disasters: Working together for a

safer world, Geneva: Switzerland, Theresa Braine, ‘Was 2005 the year of natural disasters?’, World Health

Organization, news release, undated (circa December, 2005), ; United Nations Environmental Program, ‘2005

Breaks a String of Disastrous Weather Records’, 6 December, 2005, Brynjar Gauti, Julie Reed Bell and Seth

Borenstein, ‘2010’s world gone wild: Quakes, floods, blizzards’, Associated Press, 19 December, 2010.

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80 .
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and this is at a time when the UK Ministry of Defense confirmed that ‘Weather modification will
continue to be explored.’ Chemtrail activists have documented thousands of hours of military
aerial spray operations,'®® beginning 1996 when the US Air Force announced that by 2025 it
would ‘own the weather.’

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FIFTH-GENERATION TECHNOLOGY STANDARD FOR ©
CELLULAR NETWORKS STATUTES AND REGULATIONS

A. National Environmental Policy Act (NEPA)

177. Signed into law in 1970 by President Nixon, NEPA is an action-forcing
statute applicable to all federal agencies. Its commitment is to “prevent or eliminate damage to
the environment ... by focusing government and public attention on the environmental effects of
proposed agency action.” Marsh v. Or, Nat. Res. Council, 490 U.S. 360, 371 (1989) Ginternal
quotations omitted), The statute requires “that the agency will inform the public that it has indeed
considered environmental concerns in its decision-making process.” Balt. Gas and Electric Co. v.
NRDC, 462 U.S. 87, 97 (1983). NEPA is designed to ensure that agencies look before they leap.

178. NEPA established the Council on Environmental Quality (CEQ) “with the
authority to issue regulations interpreting it.” New York v. Nuclear Regulatory Commission, 681
F.3d 471, 476 (D.C. Cir, 2012), quoting Dep’t of Transp. v. Public Citizen, 541 U.S. 752, 757
(2004). CEQ regulations require that “environmental information is available to public officials
and citizens before decisions are made and before actions are taken.” 40 C.F.R. §1500.1(b). See

Oglala Sioux Tribe v. Nuclear Regulatory Comm/’n, 896 F.3d 520 (D.C. Cir, 2018).

8 Don’t Talk About the Weather, 2008, Til Eagle Films,

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179. CEQ’s NEPA regulations require agencies to “ensure the professional
integrity, including scientific integrity, of the [agency’s] discussions and analyses....” 40 C.F.R,
§1502,24, Where data is not presented in the NEPA document, the agency must justify not
obtaining that data. 40 C.F.R. §1502.22. In addition, the regulations provide that the “[hjuman
environment shall be interpreted comprehensively to include the natural and physical
environment and the relationship of people with that environment.”!

B. Telecommunications Act of 1996 (TCA)

180. Pursuant to the TCA, Defendant Federal Communications Commission
(FCC) regulates use of spectrum that makes wireless communication possible. Providers of
personal wireless services must obtain an FCC license. 47 U.S.C. §§301, 307, 309; 47 C.FLR,
§1.903. In addition, a construction permit is required before certain wireless infrastructure can be
built. 47 U.S.C. §319. The FCC’s regulations require that “[s]tations in Wireless Radio Services .
.. be used and operated... with a valid authorization granted by the Commission under the
provisions of this part... .” 47 C.F.R. §1.903.

181. Defendant FCC’s responsibilities include setting standards to protect the
public from the environmental effects of radiofrequency (RF) radiation. While several agencies
had engaged in research regarding the health and other environmental impacts of RF radiation,
Congress in 1996 concentrated regulatory authority over human exposure to RF radiation from
communication services and facilities in the FCC. The TCA required Defendant FCC to

“prescribe and make effective rules regarding the environmental effects of radio frequency

10° CEQ amended its NEPA regulations on July 16, 2020. 85 Fed, Reg. 43304. The language quoted herein refers to
the version of CEQ’s mules that were in effect af the time the FCC issued its challenged order.

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emissions” within 180 days of the Act’s enactment.!!® The Act also prohibited state and local
regulation of wireless facililies based on environmental effects of RF emissions so long as those
facilities complied with relevant FCC regulations, 47 U.S.C. §332(c)(7)(B)(iv). That same year,
Congress eliminated funding for Defendant Environmental Protection Agency (EPA) activities
related to RF radiation.'!!

182, Defendant FCC has failed to protect Plaintiffs and US citizens from
radiofrequency emissions, The Commission’s legal obligations flow from two statutes — the
National Environmental Policy Act and the Telecommunications Act. NEPA requires the
Commission to analyze the environmental impacts — including those of radiofrequency radiation
— of its authorization of wireless service providers. The Telecommunications Act goes further

and imposes an affirmative duty on Defendant FCC to protect the public from environmental

effects of radiofrequency radiation. Defendant FCC’s December 4, 2019, 5 order misinterprets

the Commission’s responsibilities. Defendant FCC fails to support its decision to rely on its 1996
standards.

183. When Defendant FCC first addressed RF exposure standards, it did so in
response to the Commission’s obligations under NEPA, In 1985, the FCC recognized that it was

“required to make a threshold determination as to whether the facilities it approves are ‘major

40 pr, 104-104, February 8, 1996, 110 Stat 56, §704(b) (“RADIO FREQUENCY EMISSIONS.—Within 180 days
after the enactment of this Act, the Commission shall complete action in ET Docket 93-62 to prescribe and make
effective rules regarding the environmental effects of radio frequency emissions.”)}. The FCC’s regulations
governing exposure to RF radiation are found at 47 C.F.R. $§1.1307(b}, 1.13 10.

Mt Sen. Report 104-140, Department of Veterans Affairs and Housing and Urban Development, and Independent
Agencies Appropriations Bill, 1996, (Sept. 13, 1995}(to accompany H.R. 2099)(hereafter “Senate Report 104-140"),
at 91. 5 FCC, In the Matter of Proposed Changes in the Commission's Rules Regarding Human Exposure to
Radiofrequency Electromagnetic Fields Reassessment of Fed. Comme'ns Comm'n Radiofrequency Exposure Limits
& Policies Targeted Changes to the Cominission's Rules Regarding Human Exposure to Radiofrequency
Electromagnetic Fields, Docket Nos. ET 03-137, 13-84, 19-226, FCC Red, 2019 WL 6681944 (Dec, 4,
2019)(hereafter “2019 Order” or “Order”)

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Federal actions significantly affecting the quality of the human environment,’ thus triggering
environmental review, regardless of whether federal guidelines or standards currently exist for
general public exposure to RF radiation,”!!? The Commission’s duty under NEPA is to inform.’
As Defendant FCC itself recognized, it could not authorize the use of the electromagnetic
spectrum for wireless services without analyzing the environmental impacts.

184, Congress gave the FCC additional duties in the TCA, including the
responsibility to set standards adequate to protect the environment (including humans) from
radiofrequency emissions. The TCA limits state and local regulation of wireless service facilities
to the extent they comply with FCC emission regulations. In restricting state and local authority
to protect the public from radiofrequency emissions, Congress placed the responsibility to
protect on the FCC. Congress further concentrated responsibility in the FCC by eliminating
funding for EPA activities related to electro-magnetic fields (EMF).''4 The Senate Report on
EPA appropriations declares that “EPA should not engage in EMF activities.”!!

185, Once entrusted with the authority to protect the public from RF emissions,
the FCC had the responsibility to exercise that authority. The Commission has failed to do so,

The FCC’s December 4, 2019, order terminates the Commission’s inquiry into the adequacy of

its RF standards without making any change to limits that were set over twenty years ago. This

12 FCC, In the Matter of Responsibility of the Fed. Comme'ns Comm'n to Consider Biological Effects of
Radiofrequency Radiation When Authorizing the Use of Radiofrequency Devices. Potential Effects of A Reduction
in the Allowable Level of Radiofrequency Radiation on FCC Authorized Commercial Services and Equipment,
General Docket No. 79-144, Report and Order, 100 FCC 2d 543, 546 (48) (1985)(hereafter “1985 Order’),

‘1 As Petitioners explain, this duty to inform includes the responsibility to complete an Environmental Impact
Statement to inform its rulemaking to set health standards for RF radiation. Pet. Br. at 76-78.

1H Electromagnetic fields (EMF) refer to the complete electromagnetic spectrum, which includes radiofrequencies
(RF) — a large band of EMF, See Figure 1, at 17. The EPA researched EMF effects in many ranges, including RF.

415 See Senate Report 104-140, supra at note 4 at 91.

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action lacks the support in the record that the Administrative Procedure Act (APA) requires.
Without meaningful RF limits and an effective way to ensure that they are met, the FCC leaves
the public without the protection or even the information that Congress required the FCC to
provide.

186. Defendant FCC’s 2019 Order violates fundamental principles of the APA.
The FCC finalized several actions in the December 4, 2019, order. Most important, it resolved
the inquiry it had initiated in 2013 regarding the adequacy of its RF radiation limits. Despite
numerous scientific studies of potential harm from exposure below the limits set by the FCC in
1996, the Commission chose not to change them.!'® The FCC misunderstands its responsibilities
under NEPA and the TCA, As a result, the record lacks the support for the FCC’s decision to
continue to rely upon its 1996 limits for RF exposure.

C. Exposure to Radiofrequency Radiation Has Increased with Proliferation of Wireless
Services,

187. Wireless services such as cell phones operate by using a form of
electromagnetic radiation — energy moving through space as a series of electric and magnetic
waves. The spectrum of electromagnetic radiation ranges from very low frequencies, such as
electrical power from power lines to extremely high frequencies such as gamma rays. The
portion of the spectrum used by mobile phones and other telecommunications such as radio and
television broadcasting is referred to as the radiofrequency (or RF) spectrum,!!7

188. Scientific studies have raised concern about the health and environmental

effects of non-ionizing radiation from wireless communication services. lonizing radiation from

6 9019 Order, supra note 5, at [2 (“we find no appropriate basis for and thus decline to propose amendinents to our
existing limits at this time”).

71.8, Government Accountability Office, GAO 12-771, Telecommunications: Exposure and Testing
Requirements for Mobile Phones Should be Reassessed (2012), at 5.

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x-rays and nuclear power plants, which vibrates at high frequencies and produces large amounts
of energy, has long been regarded as extremely dangerous to humans and other living
creatures.!'!§ With enough energy to knock electrons free from their orbit around the nucleus of
an atom, ionizing radiation creates unstable atoms with positive and negative charges. Scientists
are now realizing that non-ionizing radiation also can cause biological effects in all systems of
the body and in wildlife, including changes in DNA.!!?

189. From its earliest days, Defendant EPA'”® investigated adverse health and
environmental effects of non-ionizing radiation, Pursuant to authority under 42 U.S.C. §2021(h),
EPA published notice of its intent to develop guidance for federal agencies to limit public
_exposure to radiofrequency radiation in 1982.'*! FCC Chairman Mark Fowler wrote to EPA
encouraging the agency to complete guidance “as expeditiously as possible so that a uniform
federal standard will be available for use by the FCC and other affected agencies.”!”? In 1986,
Defendant EPA published a report discussing the sources and levels of radiofrequency radiation
to which the public was exposed and other analysis relevant to the development of exposure

guidelines. !?4

118 12 Martin Blank, Overpowered: What Science Tells Us About the Dangers of Cell Phones and Other WIFI-Age
Devices (2013), at 29-30.

119 See, ¢.,g., Id. at S8CEME can damage DNA even at low EMF-exposure levels”); 58(“exposure not only causes
immediate danger, but also unieashes a chain of processes that continue to produce damage well after the exposure
itself”); 63(“The type of cellular damage caused by EMF is similar to that caused by aging. The residual errors and
genetic mutations accumulate, leading to malfunction and disease.”).

120 GAO, Efforts by the Environmental Protection Agency to Protect the Public from Environmental Nonionizing
Radiation (CED 78-79) (March 29, 1978), at 4-5,

121 EPA, Federal Radiation Protection Guidance for Public Exposure to Radiofrequency Radiation, 47 Fed. Reg.
57338 (December 23, 1982).

227 etter from FCC Chairman Mark S. Fowler to Anne Burford, EPA Administrator re Docket 81-43 (February 22,
1983).

3 Norbert M. Hankin, EPA, Office of Air and Radiation, The Radiofrequency Radiation Environment:
Environmental Exposure Levels and RF Radiation Emitting Sources (July 1986)(EPA-520/1-85-014).

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190. Even as Defendant EPA investigation was underway, Defendant FCC
recognized that it had its own legal obligation under NEPA to determine whether the facilities it
approves are major federal actions triggering an environmental review. The Commission issued
its first regulations addressing RF radiation in 1985. The Commission’s obligation to assess the
environmental impacts of the actions it authorized did not depend on whether federal guidelines
or standards otherwise existed for general public exposure to RF radiation. In the Commission’s
words, “an agency ‘cannot refuse to give serious consideration to environmental factors merely
because it thinks that another agency should assume the responsibility for promoting the policies
of NEPA,’”!4

191. The Commission based its 1985 action on privately promulgated health and
safety guidelines for RF radiation established by the American National Standards Institute
(ANSI) in 1982,'2° which were based on short-term, acute thermal effects of exposure to RF
radiation. The assumption underlying these standards was that electromagnetic fields were
harmful to humans only at levels powerful enough to increase the temperature of human

tissue. !26

(24 Td., quoting Natural Resources Defense Council, Inc. v. S.E.C., 432 F.Supp. 1190, 1207-1208 (D.D.C. 1977),
rev'd on other grounds, 606 F.2d 1031 (D.C. Cir, 1979),

125 Yd. at 551 (424). ANSI is an organization comprised mainly of industries that set voluntary national standards for
numerous industrial applications and processes. The industry subcommittee for radiofrequency radiation is the
Institute of Zlectrical and Electronics Engineers (IEEE). The subcommittee title is C-95.1 for the microwave bands.
The standards they recommend are titled ANSI/TEEE C.95.! with the last revision year then added. The FCC uses
ANSI/IEEE recommendations for “controlled” environments comparable to professional exposures. For
“uncontrolled” environments where civilians are likely to be exposed, the FCC uses standards developed by the
National Council on Radiation Protection (NCRP), B. Blake Levitt, ed., Cell Towers, Wireless Convenience? Or
Environmental Hazard? (Safe Goods/New Century Publishing 2000), at 35-36.

126 J. Elder, RADIOFREQUENCY RADIATION: ACTIVITIES AND ESSUES. U.S. Environmental Protection

Agency, Washington, D.C., EPA/600/D-86/135 (NTIS PB86217155), 1986,
https://efpub.epa.gov/si/si_public_record_Report.cfim?Lab-NHEERL&dirEntryID 47568.

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192. At the time, Defendant FCC did not impose specific radiation limits on all
the industries it regulated. Rather than prohibiting services that exceeded the voluntary
ANSI/IEEE guidelines, the FCC used the guidelines as a trigger to require an analysis of
environmental impacts by wireless service providers.!??

193. The worldwide explosion of wireless services has dramatically increased
exposure of humans and wildlife to radiofrequency radiation. The International
Telecomimunications Union (ITU) reported an increase in global cellular subscriptions from
15.5% of the population in 2001 to an estimated 96.2% in 2013,!28

194, Ninety-six percent of Americans own a cell phone, over three-quarters of
which are smartphones. In contrast to the largely stationary internet of the early 2000s,
Americans today are connected to the world of digital information while “on the go” via these
smartphones and other mobile devices.'?° According to the FCC’s recent wireless competition
report, “American demand for wireless services continues to grow exponentially.”"°
195, So-called 5G — the fifth generation of wireless service technology —

dramatically increases human exposure to RF radiation. Previous generations of macro towers

could be built several miles apart, but the SG “millimeter wave spectrum simply cannot

RT Id,, at 251(9184)(citing 42 U.S.C. §4332(2)(C)).

28 United Nations, International Telecommunication Union, Global ICT Developments, available at

http:/Avww. itu int/en/ITUD/Statistics/Pages/stat/default.aspx. See generally, Kenneth A. Jacobsen, A Tale of Two
Circuits: Curbs on Legal Remedies for Exposure to Potentially Harmful Cell Phone Radiation Emissions, 10 Seton
Hall Circuit Review 1, 2-3 (2013).

129 Pew Research Center, Mobile Fact Sheet une 12, 2019), available at https://www.pewresearch.org/internet/fact-
sheet/mobile/ .

39 FCC, In the Matter of Accelerating Wireless Broadband Deployment by Removing Barriers to Infrastructure Inv.,

WT Docket No. 17-79, Declaratory Ruling and Third Report and Order, 33 FCC Red 9088, 9096 (423)
(2018)(hereafter “2018 Declaratory Order”).

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propagate long distances over a few thousand feet—let alone a few hundred.”"?! As a result,
Defendant FCC anticipates “hundreds of thousands of wireless facilities” will be deployed in the
next few years, “equal to or more than the number providers have deployed in total over the last
few decades.”'"* As the 5G buildout continues, Americans are forced to “live with involuntary
24/7 radiation.”

196, Defendant FCC’s December 4, 2019, action ignores this new technology and
its impacts. Such failure to “consider an important aspect of the problem” is exactly the kind of
arbitrary and capricious decision-making the Administrative Procedure Act prohibits. United
Keetoowah Band of Cherokee Indians, 933 F.3d at 738, citing Motor Vehicle Mfrs. Ass’n of
US., Inc. v. State Farm Mut, Auto. Ins. Co., 463 U.S. 29, 43 (1983).

C. FCC Has Not Satisfied its Obligations under NEPA

I. FCC Has Recognized Since 1985 that It Has Obligations under NEPA

197, Defendant FCC itself acknowledged, the Commission is “required to make a
threshold determination as to whether the facilities it approves are ‘major Federal actions
significantly affecting the quality of the human environment,’ thus triggering environmental
review.” Providers of personal wireless services must obtain an FCC license. 47 U.S.C. §§301,
307, 309; 47 C.F.R. §1,903, In addition, a construction of certain wireless infrastructure such as a
cell tower sometimes requires an FCC permit. 47 U.S.C. §319. Courts have confirmed the

application of NEPA to FCC actions. See, e.g., Am. Bird Conservancy, Inc. v. FCC, 516 F.3d

BlId., at 9133 (991), note 250,
32 Td, at 9112 (947), citing comments by Verizon, AT&T and Sprint.

3 Christopher Ketchum, Is 5G Going to Kill Us?, New Republic (May 8, 2620).

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1027 (D.C. Cir. 2008) (failure to consider potential impacts of cell towers on migratory birds
violated NEPA); Washington Utilities and Transp. Comm’n v. FCC, 513 F.2d 1142, 1167 (9th
Cir. 1975)(The Commission is required “to consider environmental values ‘at every distinctive
and comprehensive stage of the (agency's) process.””), abrogated on other grounds by Booth v.
Churner, 532 U.S. 731, 741 n. 6 (2001).

If. 2019 Order Fails to Fulfill the FCC’s NEPA Oblivations

198. Defendant FCC’s Order fails to satisfy its duties to inform the public as well
as to inform its own decision. First, the FCC failed to complete any NEPA analysis to support its
order or explain why the order did not trigger the FCC’s NEPA obligations. Numerous scientific
studies were available to the FCC if it had taken its environmental review responsibilities
seriously. Instead, the FCC stuck its head in the sand and did not even mention many of these
studies of potential environmental harm in its 2019 order.

199, Second, the 2019 order limits the environmental review that occurs when
companies construct facilities to provide the services that the FCC has licensed. As amended by
the December 4 order, the FCC’s rules excuse companies from submitting an environmental
assessment of the impacts of proposed wireless services and facilities as long as such actions
meet the FCC’s RF limits.2* Whether environmental review occurs rests upon whether the FCC
has done its job in setting adequate RF radiation limits. Defendant FCC has failed to complete

the job Congress gave it.

49019 Order, 47 C.F.R. §1.1307 (“With respect to the limits on human exposure to RF provided in Section 1.1310
of this chapter, applicants to the Commission for the grant or modification of construction permits, licenses or
renewals thereof, temporary authorities, equipment authorizations, or any other authorizations of radiofrequency
sources must either: (i) determine that they qualify for an exemption pursuant to Section 1.1307(b}(3); (if) prepare
an evaluation of the human exposure to RF radiation pursuant to Section 1.1310; or (iif) prepare an Environmental
Assessment if those RF sources would cause human exposure to levels of RF radiation in excess of the Jimits in
Section |.1310.”). .

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200. Hf allowed to stand, the FCC’s 2019 order eviscerates the environmental
review this court recently ruled that the Commission must provide. On August 9, 2019, this court
held that the FCC had failed to justify its elimination of review under NEPA and the National
Historic Preservation Act. United Keetoowah Band of Cherokee Indians, 933 F.3d 728. The FCC
did not appeal that decision.

201. Instead, the FCC tries to circumvent the court’s prior decision with the
challenged order. The Commission ended its inquiry into the adequacy of its 1996 limits on RF
radiation without changing them or providing sufficient evidence to justify them. Moreover, the
Commission offered no meaningful response to the numerous peer-reviewed scientific studies
received as part of the inquiry that raised concerns about the environmental effects from
exposure to radiation below the FCC’s limits. Pet. Br. 65. The FCC’s inadequate RF standards
preclude adequate environmental review.

203. As a result of its 2019 order, the FCC avoids providing the information that
NEPA requires. As wireless service providers propose to construct hundreds of new towers and
other infrastructure across the country to use the spectrum pursuant to Defendant FCC licenses,
the FCC is unlikely to conduct new environmental analysis. Instead, the Commission will invoke
the determination that its health standards are adequate as satisfaction of its duty to look at
potential harm. This might be fine had Defendant FCC analyzed recent science and changed its
standards to reflect this science. Instead, the Commission chose to stick its head in the sand —
exactly the kind of government action that NEPA is designed to prevent.

204. Under Defendant FCC’s Order, no environmental review under NEPA is
required if proposed wireless services fall below the FCC’s RF standards. And the wireless

service provider determines on its own whether it has met the standards. A wireless service

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provider’s determination that its facilities are exempt excuses completion of an environmental
assessment under NEPA, 47 C.F.R. § 1.1312(a). As a result of the provider’s determination that
it is exempt, the FCC receives no information from the company about the environmental effects
of RF radiation from those facilities and the devices they support. The public does not get any
information either.

IT. FCC Failed Its Obligations under the TCA

A, Congress Gave the FCC the Responsibility to Protect the Public from RF Hazards

205. As wireless communication expanded, Congress fundamentally changed the
legal framework governing telecommunications, The Telecommunications Act of 1996 was the
first major revision to federal telecommunications law since 1934. In deregulating the radio,
television, cable and telephone industries, the Act touched off an explosion of wireless
communication services. One way the Act facilitated rapid deployment of new technologies was
by concentrating regulatory authority over the environmental effects of RF radiation in the FCC,

206, Congress prohibited state and iocal regulation of wireless facilities based on
environmental effects of radiofrequency emissions so long as the facilities complied with FCC
regulations concerning such emissions.!*5 The Act required Defendant FCC to “prescribe and
make effective rules regarding the environmental effects of radio frequency emissions” within
180 days.

207. Seeking to avoid a patchwork of standards across the country, Congress gave
Defendant FCC the authority and responsibility to establish exposure limits to address the

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environmental effects of RF radiation.'“° Wireless service providers did not want the difficulty

5 USC. § 332(c)(7)(BYiv).

86 Report by. Rep, Bliley, Committee on Commerce, H.R, Rep, No. 204(D, 104th Cong., Ist Sess. 1995,

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and expense of complying with different local and state regulations.'>’ The regulatory
responsibility that Congress gave the FCC in 1996 to limit the environmental impacts differed
from its previous responsibility under NEPA to understand the impacts.

208, In addition to barring state and local regulation of the environmental effects
of RF radiation, Congress limited EPA oversight by eliminating EPA’s funding for activities
related to RF radiation.'"* At the time, EPA was poised to issue new standards for RF radiation.
It had briefed both the FCC and the National Telecommunications and Information
Administration regarding its work to develop RF exposure guidelines. In Phase 1, EPA
recommended moving forward immediately to address thermal impacts of RF radiation. In Phase
2, acknowledging potential non-thermal effects, EPA proposed convening a group of national
experts to address “modulated and nonthermal exposures.” Three months later, EPA informed
the FCC that it would have final guidelines by early 1996 based on technical input from the
Radiofrequency Interagency Work Group (RFIA WG) in which the FCC participated.

209, Defendant EPA never completed this work.'*? By eliminating EPA’s funding
for it, Congress gave Defendant FCC the authority to control limits on RF radiation from

wireless services. With that authority came responsibility.

37 See, e.g., Carol R. Goforth, “A Bad Call: Preemption of State and Local Authority to Regulate Wireless
Communication Facilities on the Basis of Radiofrequency Emissions,” 44 N.Y.L. Sch. L. Rev, 311, 364 (2001)
(“compliance [with different state and local regulations] would be difficult and time-consuming for the
telecommunications industry”).

138 See Senate Report 104-140, supra note 4, at 91(EPA shall not engage in EMF activilies.”).
139 ty a July 8, 2020, letter to Theodora Scarato, Executive Director, Environmental Health Trust, EPA’s Director of
the Radiation Protection Division, Lee Ann B. Veal, confirms that EPA’s “last review [of the research on damage to

memory by cell phone radiation] was in the 1984 document Biological Effects of Radiofrequency Radiation (EPA
600/8-83-026F). The EPA does not currently have a funded mandate for radiofrequency matters,”

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B. 2019 Order Fails to Fulfill the FCC’s Responsibility to Protect the Public

210. Defendant FCC fails in the 2019 order to recognize its regulatory
responsibility {o protect the public from RF radiation. Although the FCC has aggressively limited
state and local authority to protect the public from the environmental effects of RF radiation, it
has failed to collect and review the information it needs to support its own RF radiation
standards, which were last updated in 1996,

C. ECC Failed to Justify its RF Standards

211. In its 2019 order, Defendant FCC resolved the inquiry it had initiated in 2013
regarding the adequacy of its RF radiation limits. Despite numerous scientific studies of potential
harm from exposure below the limits set by Defendant FCC in 1996, the Commission made the
decision not to change them.

212. The Commission had not updated its RF standards since 1996. Following
issuance of the FCC’s original standards in 1985, ANSI/IEEE adopted new guidelines in 1992
for RF radiation exposure that applied to additional categories, including cell phones. The FCC
proposed updating its NEPA regulations to reflect ANSI/IEEE’s new findings. While the FCC’s
proposal was pending, Congress passed the Telecommunications Act, which directed the FCC to
“prescribe and make effective rules regarding the environmental effects of radio frequency
emissions.” Recognizing the importance of these standards, Congress dictated that the FCC
complete its pending rulemaking within 180 days of enactment of the TCA, The Commission
finalized its rules on August 1, 1996.

213. Defendant FCC’s responsibility did not end with its 1996 rulemaking. Just
like EPA must ensure that its public-health protections reflect current science, the FCC must

ensure ifs RF standards are up-to-date based on current knowledge. The Commission has failed

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to do so. As early as 1999, the RFIAWG, which included scientists and officials from across the
government, criticized the FCC’s standards for failing to be based on biological factors. Based
instead on dosimetrist factors, the standards were designed to make the technology work rather
than to protect life. Over ten years later, Defendant FCC still has not changed the limits to
address the RFIAWG’s criticism. The Commission ignored the critical issues raised by the
RFIA WG even though the group included the FCC’s own Senior Scientist in the Office of
Engineering & Technology, Robert Cleveland.

214. Defendant FCC’s obligation to “prescribe and make effective rules” is
especially critical given the limit on the ability of state and local governments to set their own
health standards applicable to radiofrequency emissions.'*° The TCA prohibits state and local
regulation of “the placement, construction and modification of personal wireless service facilities
on the basis of the environmental effects of RF emissions to the extent that such facilities comply
with the [FCC’s] RF standard.”!*! Adding more force to this prohibition, the Act gives
companies the right to sue a state or local government challenging “any final action or failure to
act” inconsistent with the TCA’s limitations on state and local authority.'4* The Act requires
courts to resolve such lawsuits on an expedited basis.

215. Such large limitations on state and jocal authority have left elected officials
across the country reluctant to restrict industry proposals for new wireless services and towers
and other infrastructure necessary to provide them. In approving use permits for three Verizon

wireless telecommunications towers in Sonoma, for example, the Sonoma County Commission

40 47 U.S.C. §332(e)(7(BY(iv).
Mi 47 U.S.C. §332(c\(7(B)(iv).

2 47 U.S.C. §332(e)(7(B)(V).

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felt “there was no other option that wouldn’t invite a lawsuit from Verizon.” In fact, Verizon
had previously filed suit against multiple jurisdictions in California that refused their
applications, including Monterey, Danville, Piedmont, Hillsborough, Seaside and Los Altos,

216. Courts have frequently struck down local government attempts to regulate
siting of wireless facilities, In Pennsylvania, for example, a court held the Smithfield Township
Board of Supervisors unlawfully denied a permit application because the proposed use was
“detrimental to the health, safety and general welfare of the present or future residents of
Smithfield Township.” The court granted the application. According to the court, the permit
applicant Verizon Wireless did not bear the burden to establish that its proposed activity did not
have detrimental effects to health, safety and welfare. Ne. Pennsylvania SMSA LP v. Smithfield
Twp. Bd. of Supervisors, 433 F. Supp. 3d 703, 717 (M.D. Pa. 2020). Given the cost of litigation,
local governments are reluctant to spend taxpayer dollars to defend efforts to regulate wireless
infrastructure even when they might prevail in the end. The result is local governments feet
powerless to respond to citizen concerns about the wireless infrastructure including the potential
impacts to constituents’ health.

217. Congress gave the FCC responsibility to protect the public from RF hazards.
The Commission has the burden to justify that its standards are effective, Rather than provide
such justification, the Commission’s 2019 order decides that its 1996 limits are adequate despite
significant evidence suggesting that they are not.

D. FCC Failed to Respond to Evidence of Envivoumental Harm

218, Radiofrequency radiation generated by wireless service has biological effects
that can harm human health as well as other living creatures in the environment. In 2012, in

twenty-four technical chapters, the Biolnitiative Working Group authors discussed the content

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and implications of about 1,800 peer-reviewed scientific studies conducted since 2007.'° These
studies indicate, among other things, DNA damage, carcinogenicity and reproductive effects.
Over 250 scientists from over 44 nations have signed an International Appeal calling for
protection from non-ionizing electromagnetic field exposure.'“4 Such information was in the
record before Defendant FCC, but the Commission failed to address it.

219. In addition to its impact on humans, radiofrequency radiation poses harmful
effects to flora and fauna. In a review of 113 studies from peer-reviewed publications, seventy
percent of the studies concluded that radiofrequency electromagnetic fields had a significant
effect on birds, insects and plants.'*° In a 2013 literature review, the authors concluded that even
for short exposure periods (15 mins to a few hours), non-thermal effects were seen that can
persist for long periods.!“°

220. Scientific research also indicates that electromagnetic fields can disrupt

navigation abilities of migratory birds.'4” In five field studies analyzing the impact of RF-EMF

‘3 Biolnitiative Working Group, A Rationale for Biologically-based Exposure Standards for Low-Intensity
Electromagnetic Radiation (2012), https://bioinitiative.org/, The Biolnitiative Working Group Report is cited to
mumerous times in the record before fhe FCC in this matter.

'44 Tnternational Appeal, Scientists Call for Protection from Non-ionizing Electromagnetic Field Exposure,
https://em fscientist.org/index php/em f-scientist-appeal. The International Appeal is cited to numerous times in the
record before the FCC in this matter. See also, Comments of B. Blake Levitt and Henry C. Lai, In Matter of
Reassessment of Federal Communications Commission Radiofrequency Expesure Limits and Policies (E.T. Docket
No. 13-84)(Aug. 25, 2013}. The comments can be found in the FCC docket at
https://ecfsapi.fec.gov/file/7520939733 pdf.

M5 §, Cucurachi, W.L.M. Tamis, M.G. Vijver, W.J.G.M. Peijnenburg, J.F,B, Bolte & G.R. de Snoo, A review of the
ecolopical effects of radiofrequency eleciromagneticfields (RF-EMF), 51 ENVTL. INT’L, 116 —~ £40 (20133,
https://doi.org/10.!016/j.envint.2012.10.009.

46 Senavirathna Mudalige, Don Hiranya Jayasanka and Takashi Asaeda, The significance of microwaves in the
environment and its effect on plants, Environmental Reviews, 2014, 22(3): 220-228, https://doi-org/10.1139/er-
2013-0061.

47 Peter Thalau, Dennis Gehring, Christine NieBner, Thorsten Ritz & Wolfgang Wiltschko, Magnetoreception in

birds: the effect of radiofrequency fields, 12 J. R. SOC. INTERFACE, (Dec. 2, 2014),
hitps://royalsociety publishing .org/doi/0.1098/rsif.2014.1103 .

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exposure on bird populations living near cell phone towers or base-stations, a significant effect
was observed in breeding density, reproduction, or species composition,’ The Department of
the Interior raised concerns regarding the harm that non-ionizing electromagnetic radiation may
cause to migratory birds.'”” These are just a few of the many scientific studies that were available
to the FCC if it had chosen to take its duty to protect the public from environmental harm
seriously. As Petitioners explain, such failure to consider and respond to the studies addressing
the potential of environmental harm violated fundamental principles of the Administrative
Procedures Act as well as the responsibility that Congress gave the FCC in the TCA. Pet. Br. at
50-51, 62-68,

221. With authority comes responsibility. When Congress concentrated authority
over radiofrequency radiation in the FCC, it imposed a duty to protect as well as inform. The
Telecommunications Act of 1996 required the FCC to “prescribe and make effective rules
regarding the environmental effects of radio frequency emissions.” As a result, the record
supporting the FCC’s December 4, 2019, action must show that its RF standards are safe and
reliable. The environmental review required by NEPA is indispensable to such determination.
The burden is on the FCC to justify its RF standards. It is a burden the Commission has failed to

meet.

48 Cucurachi ef al., supra, note 60, at 122.

Letter from Willie R. Taylor, Director, Office of Environmental Policy and Compliance, Dept. of Interior, to Eli
Veenendaal, National Telecommunications and Information Administration, Dept. of Commerce (Feb, 7, 2014),
https://ecfsapi. fcc. gov/file/ 106 18237899075/Department-of-Interior-Feb-20 1 4-letter-on-Birds-and-RF%20(1).pdf .

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IV.

TREASON AGAINST THE UNITED STATES

222. Defendants, Biden, Harris, EPA, FEMA Austin, FBI, Mayorkas, Gerland,
Senate, Representative have committed treason against the United States through their open
boarder policy allowing terrorist groups and individuals into the United States. Said Defendants
have aided and given comfort to such terrorist groups and individuals, by and through giving
them money, housing and food. Such terrorist groups and individuals are given shelter and
money by Defendants Biden, Harris, EPA, FEMA Austin, FBI, Mayorkas, Gerland, Senate,
Representative. Such would appear to aid them in committing terrorist acts against the citizens
of the United States, different States within the United States and the United States Government.
223. Article III, Section 3 of the United States Constitution states:
“Treason against the United States, shall consist only in levying War against them,
or in adhering to their Enemies, giving them Aid and Comfort. No Person shall be
convicted of Treason unless on the Testimony of two Witnesses to the same overt
Act, or on Confession in open Court.
The Congress shall have Power to declare the Punishment of Treason, but no
Attainder of Treason shall work Corruption of Blood, or Forfeiture except during
the Life of the Person attainted.”
224, New York reporters have stated that it is facing an "extremely serious"
terrorism threat following the arrest of eight Tajik nationals with suspected ties to ISIS,

according to Port Authority of New York and New Jersey Security Chief Greg Ehrie. Reports

emerged earlier this week that eight men originating from Tajikistan who may be associated with

ISIS-Khorasan, or ISIS-K, had been arrested in New York, Philadelphia and Los Angeles after

illegally entering the country through the U.S.-Mexico border.
225. Reports coming out of New York from the New York Post and NBC claimed

that the ISIS-linked Tajik men had been arrested in three sting operations carried out by U.S.

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Immigration and Customs Enforcement (ICE). At least two of the men are believed to have
entered the U.S. in spring 2023. ISIS-K terrorists from Tajikistan are believed to be responsible
for the March terror atlack at Crocus City Hall in Moscow, which killed 145 people and
wounded hundreds more.

226. Ehrie on Friday suggested that multiple "fronts" were "in play" after being
asked by CNN's Burnett on the severity of the threat posed by suspected ISIS terrorists crossing
into the U.S. "It's extremely serious,” Ehrie said. “I liken it to a weather front. You're seeing all
the fronts coming into play: We have a border issue. We have an ideological issue. We have
ISIS-K—which is increasing their external operations—and then we find these individuals who
we don't really know a lot about in our borders."

227. Defendants Biden, Harris, EPA, FEMA Austin, FBI, Mayorkas, Gerland,
Senate, Representative have willfully encouraged such terrorist groups to enter the United States
based on their open boarder policy. In facts Defendant Mayorkas has sent flyers across the
borders to Mexico encouraging illegal to come to the United States so that they can illegally vote
for the Democrat party. Further Mayorkas worked with dark money NGOs to finance the illegal
alien invasion of America. Millions of illegal from other countries have entered into the United
States and Defendants have provided buses, flights and other forms of transportation to ensure
that these illegals and terrorist groups are provide the necessary means and ability to get to
vatious location within the United States in order to commute a wide variety of violent crime
against citizens of the United States. Such crimes consist of, but are not limited fo: rape; murder,
violate attacks, robbery, etc,

228. Ehrie went on to say that U.S. targets making "the biggest splash" for

terrorists were particularly vulnerable.

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“In the business of terrorism, you want the notoriety, you want the media
attention," he said. "You start to think: What's the next target that would get them
the most notoriety, that would make the biggest splash for them? It's hard not to
come back to the United States,"

229, New York City Council member Robert Holden told Fox News on
Wednesday that he feared "another 9/11" was on the way due to “who's coming into our country"
at the southern border. "It's frightening, and we're headed for another 9/11," Holden said. “I
predicted that, I think we should have a secure border. We should know who's coming into our
country— we don't." “And millions of migrants and illegal aliens have gotten through," he
added. "So it's a situation that we're just, you know, really rolling the dice here."

230, Defendants FBI and Department of Homeland Security acknowledged in a
joint statement that "ICE agents arrested several non-citizens" in "close coordination with the
FBI's joint terrorism task forces," it is not clear that those arrested, or anyone else linked to ISIS-
K, had plans to carry out terrorist attacks within the U.S.

231. Pima County, Arizona is running an illegal migrant aid program funded
through Defendant FEMA money. Providing shelter, goods & transportation to their next
destinations Reminder there was ESSENTIALLY NO FEMA MONEY available for the Maui
Fire Victims “At border towns in Arizona may be dealing with a new immigration problem,
Pima County received $12,000,000 from FEMA in 2023. With these funds, city officials and
nongovernmental organizations have been providing transportation and sheiters to illegal
immigrant and/or terrorists groups until they get to their next destination.” Pima County and
Arizona are requesting Defendant FEMA money for illegal immigrant and/or terrorists’ groups
which they call asylum seeker aid programs. Pima County has been running an aid program for
asylum seekers and migrants released by the Border Patrol across southern Arizona to pursue

immigration cases in the U.S. since 2019. Pima County and the state of Arizona are submitting

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new applications this week for the next round of federal funding for asylum seeker (illegal
immigrant and/or terrorists groups) care programs. Pima County has been running an aid
program for asylum seekers and migrants released by the Border Patrol across southern Arizona
to pursue immigration cases in the U.S. since 2019. It is largely funded through a Defendant
FEMA program that Pima county and others apply to get a share of throughout the year. The
county received almost $22 million from Defendant FEMA in April. Arizona Congress Rep
Grijalva says now they likely have enough funds to take the program at least through the end of
2024. The latest funding request is due this month and Grijalva says whatever money they're
awarded will be used to keep the program afloat next year and ensure resources make it to Pima
County.

232. Senator Shelley Moore Capito from the Environment and Public Works
Committee has even found that Defendant EPA has given money to groups linked to terrorist
groups in the sum of 50 million dollars.'"° It has also been shown that Defendants are funding
terrorist groups and providing them with aid and comfort in a treasonist act through providing
them with 66 Billion Dollars in 2023. Such spending consists of 5.8 billion on SNAP; 10 billion
in medicate; 8.2 billion in uncompensated hospital expenditures; 3 billion for primary and
secondary education for illegal immigrant; billions on housing.'*!

233. There can be no doubt that Defendants Biden, Harris, EPA, FEMA Austin,
FBI, Mayorkas, Gerland, Senate, Representative have acted in actus reus a fundamental concept
in criminal liability, often referred to as the “guilty act.” This Latin term encapsulates the

external or objective component of a criminal offense. Essentially, it pertains to the actions or

50 News conference held by Sen. Shelley M. Capito. bttps://x.com/RickyDoggin/status/1822377698498585059
151 https://x.com/JDunlap1974/status/18224 17848985 100665
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omissions that constitute the physical aspects of a crime, as defined by statute. Having a mens
rea mental state.

234. Defendants have literally started a war against the United States of America
and the citizens of the United States including all names Plaintiffs. Defendants Biden, Harris,
EPA, FEMA Austin, FBI, Mayorkas, Gerland, Senate, Representative are aiding and providing
comfort to enemies of the United States.

235, Defendant United State Senate and House of Representative are in violation
of the United States Constitution, based on these Defendants are providing funding for sure
illegal immigrant and/or terrorists groups. There is no constitutional provision for Defendants to
provide tax payers money for such illegal immigrant and/or terrorists groups, thereby also aiding
and abetting illegal immigrant and/or terrorists groups.

Vv.

ILLEGALLY TAKING TAX PAYER’S
MONEY AND GIVING IT TO OTHER COUNTRIES

236. For several years Defendants Biden, Harris, US Senate, and US
Representative have been giving money to other countries under the guide of providing aid to
such countries while they are in a war with another country.

237. Defendants are authorized te collect tax money pursuant to Article I, Section
8 of the United States Constitution states that:

“The Congress shall have Power To lay and collect Taxes, Duties, Imposts and
Excises, to pay the Debts and provide for the common Defense and general

Welfare of the United States; but all Duties, Imposts and Excises shall be uniform
throughout the United States...”

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Further the Sixteenth Amendment holds:
“The Congress shall have power to lay and collect taxes on incomes, from
whatever source derived, without apportionment among the several States, and
without regard to any census or enumeration,”

238, There is no constitutional provision to authorized Defendants State Senate
and House of Representative, Biden and Harris fo give tax payers money to other countries. This
is nothing more than taking tax payers money without due process or constitutional authority.

239, A perfect example of illegal use of tax payers money is Defendant Congress
paying $17 million in sexual misconduct for members in congress.

Vi.

DANGEROUS MOSOUITO RELEASED IN HAWAII

240. Plaintiff alleges Defendant BLNR and DLNR are in direct violations of the
Hawaii Environmental Policy Act (“HEPA”), Hawaii Revised Statutes (“HRS”) chapter 343, in
failing to require an environmental impact statement (“EIS”) for the “Use of Wolbachia-based
Incompatible Insect Technique for the Suppression of Non-native Southern House Mosquito
Populations in Hawaii, which is a multi-agency partnership project to release biopesticide
mosquitoes in Hawaii. Defendant EPA, State of Hawaii, Green, Bissen, Roth, Kawakami,
Blangiardi, DNLR, BLNR are releasing biopesticide lab-reared Wolbachia-bacteria-infected
mosquitoes in the fragile ecosystems of Kaua‘i’s Ha‘ena State Park, Halele‘a Forest Reserve,
Hono O Na Pali Natural Area Reserve, K6ke‘e State Park, Kuia Natural Area Reserve, Lihu‘e-
Koloa Forest Reserve, Na Pali Coast State Wilderness Park, Na Pali-Kona Forest Reserve, Na
Pali-Kona Forest Reserve/Alaka‘i Wilderness Preserve, Pu‘u Ka Pele Forest Reserve; as well as

in private reserve lands and throughout Hawaii and the United States, This could result in

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billions of mosquitoes being released in one of the most unique and fragile ecosystems in the
world.

241. Defendant’s mosquito biopesticide project is under the pretense to save
endangered native birds from avian malaria using the Incompatible Insect Technique (“IIT”) for
mosquito population control. The Fina! Environmental Assessment (“FEA”) states that it will
not have no significant impact on the environment. However, documentation and studies from
several sources (including government agencies) confirm that the experiment may not even work
for its intended purpose and has the potential for significant environmental impacts. Further, the
IIT method has never been implemented in the State of Hawaii, and there is no prior documented
use anywhere in the world of the specific experimental technique planned for use in Hawaii.
Contrary to the assertions in the FEA, the plan could actually pose serious risks to native birds,
wildlife, the ‘dina, and public health, Such subjects Plaintiff living in Hawaii to harmful health
hazards, not unlimited to death,

242. The recreational, educational, aesthetic, spiritual and subsistence interests of
Plaintiff is harmed by Defendants’ failure to ensure fuil and proper disclosure of the proposed
project’s harmful environmental and cultural impacts and available mitigation and alternatives,
because the proposed project would be allowed to move forward without candid and transparent
consideration and analysis of these issues. Subjecting Plaintiffs living in Hawaii to the potential
of getting dangerous virous from these mosquitoes.

243. Plaintiff and the public have repeatedly presented documented, compelling
evidence of the risks and impacts of the biopesticide mosquito project to the BLNR. Rather than
acknowledge and address these concerns, the BLNR has acted in a consistently dismissive and

disruptive manner towards this testimony. The rights of Plaintiff, and of the public, to open

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governmental processes have been infringed upon by the BLNR in their effort to silence
discussion about the risks and impacts of their actions.

244, Microorganisms that control pests (microbial pesticides) are called
biopesticides. Biopesticides are regulated by Defendant EPA. Wolbachia bacteria is a
microorganism. The mosquito species planned for Wolbachia bacteria microorganism infection,
Culex quinquefasciatus, has never been documented as used for stand-alone IIT field release.
Before Defendant EPA approves a biopesticide, an applicant must submit information about the
mode of action along with scientific data on its efficacy and safety, including potential
environmental impacts. These data are typically obtained through an Experimental Use Permit
(“EUP”). Defendant EPA has not issued an EUP for the biopesticide mosquitoes for this project.
7 US.C, §136 et seq. (1996).

245. These Genetically modified mosquitoes have gotten the green light to be
released in America too. Reports say that these mosquitoes don't bite people. That just mate with
the females, and they're modified so that the offspring die off. The lethality gene they put in, it
actually doesn't kill all the mosquitoes. It only kills the females. The males go on living. In
other words, the GMO mosquitoes do bite humans. Some of the programs are about using the
mosquitoes for other things, like vaccinating people against their will, In September 2022, NPR
declared that the researchers had successfully vaccinated people using these GMO mosquitoes.
One of the lead scientists on the program stated: “we use the mosquitoes like they're 1,000 small
flying syringes.” Now, look, what's the big concern here? These programs are linked to others
that could be used to involuntary vaccinate people.

246, Here Plaintiff and all citizens can be given illegal and dangerous vaccination

which has shown to lead to serous health problems, not unlimited to death.

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A, Documented Risks and Potential Significant bnpacts of the Biopesticide Mosquito
Project

247. There are serious risks, and the outcome is admittedly unknown,

248. The species planned for use in this project, Culex quinquefasciatus, has
never been documented as used for a stand-alone Incompatible Insect Technique (IIT)
biopesticide mosquito field release. The Culex quinquefasciatus mosquito has never been
documented as lab-bred and Wolbachia-bacteria-infected and then released for mosquito
suppression or population replacement. Although Culex quinquefasciatus was lab-bred and
infected with Wolbachia in a 2020 study by Ant et al., the mosquitoes were not released for the
purpose of mosquito suppression or population replacement, Ant et al. were studying the ability
to make the mosquitoes incompatible, but they did not release any Culex quinquefasciatus
mosquitoes. Wolbachia transinfections in Culex quinquefasciatus generate cytoplasmic
incompatibility (2020),

249, Wolbachia bacteria is parasitic, manipulating the reproductive biology of the
host to increase its own transmission. Parasitic organisms can also alter the behavior of the hosts
they live inside, and it is unknown how this might affect our native bird habitats. Parasites
brainwash grasshoppers into death dive (2005).

250. The final EA fails to adequately address the accidental release of lab-bred
Wolbachia-infected females who bite, breed, and spread disease.

251. Male mosquitoes transmit bacteria and pathogens to females. Infected
females can spread disease to birds (including endangered native birds), other animals, and
humans,

252. Male Culex quinquefasciatus mosquitoes are known to spread viruses to

female mosquitoes through mating (e.g., St. Louis encephalitis virus), as has been shown for

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dengue virus in Aedes albopictus mosquitoes. Venereal Transmission of St. Louis Encephalitis
Virus by Culex quinquefasciatus Males (Diptera: Culicidae) (1990); Sexual transmission of
dengue viruses by Aedes albopictus (1987).

253. As this project involves the interstate transport of Culex quinquefasciatus
mosquitoes, a known vector of poultry diseases, there are potential impacts to local poultry farms
and egg production in Hawaii. There is no mention in the final EA of United States Department
of Agriculture (“USDA”) inspection of the biopesticide mosquito lab insectary/insectartes.

There is no mention in the final EA of a USDA permit (e.g., OV VS 16-6 permit from APHIS)
for the interstate transport of poultry pathogen vectors. The USDA Animal and Plant Health
Inspection Service (“APHIS”) states: “The Veterinary Services, Organisms and Vectors (OV)
Permitting Unit regulates the importation into the United States, and interstate transportation, of
organisms and vectors of pathogenic diseases of livestock and poultry. The Code of Federal
Regulations, in 9 CFR, §122.2, mandates that ‘no organisms or vectors shall be imported into the
United States or transported from one State or Territory or the District of Columbia to another

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State or Territory or the District of Columbia without a permit.” Given that interstate transport
of the vector (live Culex q.) is planned to oceur, and those Culex g. may contain a highly
contagious poultry pathogen, namely avian pox virus, this transport would require a federal
permit. USDA Animal and Plant Health Inspection Service (APHIS): Organisms and Vectors
Guidance & Permitting (2022); 9 CFR, § 122.2; Detection and molecular characterization of
Avipoxvirus in Culex spp. (Culicidae) captured in domestic areas in Rio de Janeiro, Brazil
(2022),

254. The final EA lists numerous potential impacts that require mitigation

measures. These impacts are not adequately addressed, Concerns include, but are not limited to:

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Project activities introducing or spreading invasive species, causing negative ecological
consequences to new areas or islands, resulting in potential impacts to fish, wildlife, and their
habitat; Rapid ‘Ohi‘a Death; fire potential from project-related activities; noise disturbances;
disturbances to nesting bird during breeding season; birds nesting on structures where they cause
conflicts, may endanger themselves, or create a human heaith and safety hazard; bird entrapment
and entanglement hazards; collisions; human disturbance near nesting birds; artificial lighting
stressors of native habitats during bird breeding season; risk that endangered young ‘6pe‘ape‘a
(Hawaiian hoary bats) could inadvertently be harmed or killed; disturbances to Hawaiian hoary
bat birthing and pup rearing; outdoor lighting resulting in endangered seabird disorientation,
fallout, and injury or mortality; risks to threatened néné (Hawaiian geese) of introduced
mammalian and avian predators, wind facilities, and vehicle strikes; impacts to endangered koioa
rmaoli (Hawaiian ducks); increased wildfire and tnvasive species threats to endangered Hawatian
forest birds; and threats to endangered picture-wing flies (Drosophila musaphilia) and aquatic
invertebrates.

GROUND ONE

255, That Defendants, their predecessor and each of them are aware that the acts,
actions, and inactions of subjecting Plaintiffs, and citizens within the United States, was in direct
violation of the United States Constitution, In that Defendants required deadly vaccination in
order to participate or travel, violating Plaintiff's very basis right to travel freely or to participate
in other activities. Further subjects Plaintiff and citizens within the United States to health

hazards, not unlimited to death.

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256, That Defendants, their predecessor and each of them knew or should have
known that their acts, actions and inactions mandating a deadly vaccination was in direct
violation of the United States Constitution.

257. Plaintiff alleges and avers that Defendants and each of them subjected
Plaintiffs to unconstitutional conditions.

GROUND TWO

258. That Defendants, their predecessor and each of them are aware that the acts,
actions, and inactions of subjecting Plaintiff to cruel and unusual punishment, was in direct
violation of the United States Constitution through releasing poisonous heavy metals, chemicals
and other dangerous ingredients into the sky throughout the United States. Such acts, actions
and inactions subject Plaintiffs and citizens within the United States to dangerous conditions, not
unlimited to death.

259, That Defendants, their predecessor and each of them knew or should have
known that their acts, actions and inactions of subjecting Plaintiff to cruel and unusual
punishment was in direct violation of the Eighth Amendment to the United States Constitution.

260. Plaintiff alleges and avers that Defendants and each of them subjected
Plaintiffs to unconstitutional conditions, not unlimited to death.

GROUND THREE

261, That Defendants, their predecessor and each of them are aware that the acts,
actions, and inactions of subjecting Plaintiffs and citizens within the United States, was in direct
violation of the United States Constitution. In that Defendants are subjecting Plaintiffs and

citizens within the United States to harmful radiofrequency emissions, through 5G.

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262. That Defendants, their predecessor and each of them knew or should have
known that their acts, actions and inactions through release harmful radiofrequency emissions,
through 5G was in direct violation to the United States Constitution.

263. Plaintiff alleges and avers that Defendants and each of them subjected
Plaintiffs to unconstitutional conditions.

GROUND FOUR

264. That Defendants and each of them are aware that the acts, actions, and
inactions of subjecting Plaintiffs and citizens within the United States, to terrorist acts and
attacks, by and through having an open border wherein terrorist groups are entering in the United
States, in fact Defendants are inviting such terrorist groups in the United States was in direct
violation of the United States Constitution and is treason against the United States.

265. That Defendants and each of them knew or should have known that their
acts, actions and inactions in permitting terrorist into the United States is in violation of United
States Constitution and is treason.

266, Plaintiff alleges and avers that Defendants and each of them subjected
Plaintiffs and all citizens in the United States to unconstitutional conditions, not unlimited to
death.

GROUND FIVE

267. That Defendants and each of them are aware that the acts, actions, and
inactions of subjecting Plaintiff and citizens within the United States, to taking tax payer’ money
and giving it to other countries, Ukraine, wherein there is no constitutional provisions for such

actions.

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268, That Defendants and each of them knew or should have known that their
acts, actions and inactions of illegally taking tax payer’s money did not have any constitutional
authority,

269. Plaintiff alleges and avers that Defendants and each of them subjected
Plaintiffs and all citizens in the United State to unconstitutional taking of tax payer’s money.

GROUND SIX

270, That Defendants and each of them are aware that the acts, actions, and
inactions of subjecting Plaintiff and citizens in the United States to harmful and deadly infectious
mosquito being released in the sky of the State of Hawaii, Texas and throughout the United
States is in direct violation of the United States Constitution, Hawaii rules and procedures.
Further such deadly infectious mosquito are being released throughout the United States,

271. That Defendants and each of them knew or should have known that their
acts, actions and inactions of illegally releasing harmful and deadly infectious mosquito subjects
Plaintiffs and all citizens within the United States to dangerous and harmful conditions, not
unlimited to death

272. Plaintiff alleges and avers that Defendants and each of them subjected

Plaintiffs to unconstitutional conditions, not unlimited to death.

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IV.

REQUEST FOR RELIEF

WHEREFORE, Plaintiff is entitled to the required relief.

1)

2)

3)

4)

5)

Injunctive and declaratory relief that mandates each Defendant, their
subordinates, and/or other employees to immediately stop all deadly COVID
vaccination throughout the United States.

Injunctive and declaratory relief that mandates each Defendant, their
subordinates, and/or other employees to immediately stop all releasing deadly
poisonous heavy metals, chemicals and other dangerous ingredients
(chemtrails) into the sky throughout the United States.

Injunctive and declaratory relief that mandates each Defendant, their
subordinates, and/or other employees to immediately stop all deadly
radiofrequency emissions (5G) and remove all 5G towers throughout the
United States.

Injunctive and declaratory relief that mandates each Defendant, their
subordinates, and/or other employees to immediately stop all illegal migrants
from crossing the boarders between the United States and other countries.
That Defendants stop their actions of aiding and comfort to illegal migrants
who are enemies to the United States.

That Defendants acts, actions and inactions are treasonous in nature in
permitted terrorist groups to enter in the United States and be declared as

such,

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12) Punitive damages in the amount of Ten Million ($10,000.000) Dollars from

each Defendant and Jane/John Does 1-20 in their individual capacity;

13) For an award of damages or equitable relief in the amount to be proven at trial

or other hearing of this matter;

14} Appointment of counsel, and attorney fees if applicable.

15) Any and all Court costs, as well as any other relief this Court may deem just

and proper,

gu Sef0 /p
DATED; this £7" day of Augast, 2024.

Christy K. Albinson
In Pro Se

Ohalyy callansor

O55 TA93543GA42F.,.

Sarah Bowes
In Pro Se

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Dustin I. DeKneef
In Pro Se

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